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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



CENTER FOR BIOLOGICAL
DIVERSITY, et al.,

     Plaintiffs,                      CASE NO. 1:21-cv-00119 (RDM)

     v.

U.S. ENVIRONMENTAL
PROTECTION AGENCY, et al.,

     Defendants.




                      SUPPLEMENTAL JOINT APPENDIX

                                 VOLUME 5
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 Listed Species
  Coordination
               September 2020



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          Introduction
Mary J. Duncan, Environmental Consultant
Department of Environmental Protection (DEP)
Submerged Lands and Environmental Resources
Coordination Program

Jennifer Goff, Director
Florida Fish and Wildlife Conservation Commission (FWC)
Conservation Planning Services

Heath Rauschenberger, Regional Section 7 Coordinator,
U.S. Fish and Wildlife Service (USFWS)
South Atlantic, Gulf & Mississippi Basin Regions

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          Contents

Florida’s State 404 program requires Federal and
State-listed species protection. The following topics
will be covered in this presentation:

• Listed species protection regulatory requirements
• Technical assistance with FWC and USFWS
• Coordination process


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 Listed Species Protection
Federal:
   Clean Water Act (CWA) &
   Endangered Species Act (ESA)

State:
   Florida Constitution, Chapters 68A-27, F.A.C.,
   62-330, F.A.C., and 62-331, F.A.C.

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         Clean Water Act

Environmental Protection Agency
CWA Section 404(b)(1) Guidelines

In 40 CFR § 230.30, impacts and possible loss of values
regarding threatened and endangered species should be
considered during the review of proposed discharge of
dredged or fill material.

Where consultation with the Department of Interior
occurs under section 7 of the Endangered Species Act,
their conclusions shall be considered final.

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          Clean Water Act
40 CFR § 233.51(b)(2)

There are categories of State 404 program activities that
EPA may be able to waive their Federal review, but the
following cannot be waived:
“Discharges with a reasonable potential for affecting
endangered or threatened species as determined by FWS”

EPA is required to review State 404 permit applications
that have a reasonable potential for affecting listed
species

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            Endangered
            Species Act
The State 404 permit:
•   Shall avoid and minimize adverse effects;

•   Is prohibited from jeopardizing the continued
    existence of a listed or proposed to be listed species

•   Is prohibited from destroying or adversely modifying
    designated or proposed to be designated critical
    habitat



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       Florida
       Chapter 68A-27 FAC
Chapter 67A-27, F.A.C., Rules relating to
Endangered or Threatened Species




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       Florida
       Constitution
For State-listed species in Chapter 67A-27, F.A.C.
as threatened, or proposed to be listed:




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          Chapters
          62-330 & -331, FAC
Chapters 62-330 and 62-331, F.A.C. require that
for federally and state-listed species, the State
must ensure that:
• No adverse impact to fish and wildlife, including
  threatened and endangered species and their
  habitats.
• Secondary and cumulative impacts must be
  addressed1
 1Discussed in ERP Applicants Handbook Volume I and the 404

 Handbook                                                                         10
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            Chapter
            62-331, FAC
For federally listed species, the State 404 program
requires that:
“The Agency shall incorporate as permit conditions all
recommended impact avoidance and minimization
measures (protection measures) provided by the FWC, FWS,
or NMFS under their respective authorities, to avoid
jeopardizing listed species or adversely modifying
designated or proposed critical habitat.”

*NMFS = National Marine Fisheries Service

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           Chapter
           62-331, FAC - 2
For federally listed species, Chapter 62-331, F.A.C.
requires that:
“If the FWC, FWS, or NMFS concludes that a permit
application is likely to jeopardize or adversely modify
designated critical habitat and no protection measures are
available to reduce the risk to an acceptable level, the
Agency shall deny the permit or shall take no action and
notify EPA and the applicant of the decision in accordance
with sub-subparagraph 62-331.052(3)(b)6.b., F.A.C.”

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             Chapter
             62-331, FAC - 3
No additional permit conditions for federally listed species
is required for a project with a valid and active biological
opinion (or similar binding agreement) issued by the
USFWS or NMFS.
• This is true only when all the species and activities for a proposed
  State 404 permit application is covered in the opinion.
• DEP must send the documentation to USFWS or NMFS for
  verification.
• The avoidance and minimization measures outlined in the biological
  opinions must be incorporated as permit conditions into the State
  404 permit.

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         Differences between
         State 404 & ERP
Upland nexus – State 404
The project area and related activities are defined
by including upland species that may be affected by the
proposed activities when applying the “but for” test:

Additional areas or activities (not just the immediate
project boundaries) are included in the review if:

The proposed activity results in other activities that
would not occur “but for” the approval of the proposed
work
                                                                                 14
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          Differences between
          State 404 & ERP - 2
Upland nexus - ERP
The project area and related activities are defined
by including upland species, if wetland dependent1,
that may be affected by the proposed activities



1As discussed in ERP Applicants Handbook Volume I,

Wetland Dependent Species List:
https://floridadep.gov/water/submerged-lands-environmental-
resources-coordination/documents/listed-wildlife-species-are
                                                                                  15
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             Differences between
             State 404 & ERP - 3
General Permits - State 404

Anticipated effects to listed species and critical habitat must be
reviewed and addressed. If pre-determined criteria and general
conditions included in rule do not adequately avoid and minimize
effects, additional special conditions can be added to the State 404
permit after species coordination and review.

General Permits – ERP
The permit is issued based on pre-determined criteria included in the
regulations, and may include general conditions. Additional special
conditions cannot be added to the ERP permit.


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   Technical Assistance
• State listed species (FWC)

• Federally listed species (USFWS)

• Memorandum of Understanding (MOU)


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              FWC Technical
              Assistance
Technical assistance by FWC provided by Section 20.331(10),
F.S.

“Comments submitted by the commission to a permitting agency regarding
applications for permits, licenses, or authorizations affecting the
commission’s jurisdiction must be based on credible, factual scientific
data, and must be received by the permitting agency within the time
specified by applicable statutes or rules, or within 30 days, whichever is
sooner.”

The Commission typically responds to due dates specified by DEP or within
30 days if a due date is not requested. However, DEP and FWC need to
maintain communication regarding exact timelines due to commenting
workloads
                                                                                      18
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              FWC Technical
              Assistance - 2
Technical assistance by FWC provided by Section 20.331(10),
F.S.
“Comments provided by the commission are not binding on any permitting
agency. Comments by the commission shall be considered for consistency
with the Florida Coastal Management Program and ss. 373.428 and
380.23.”


This Statute, establishing FWC as a State agency, does not place
requirements on other State agencies, such as requiring incorporation of
Commission comments as permit conditions. However, any authorizing
actions by a regulatory agency must be consistent with all Florida law, and
the Commission is the final authority for state-listed species.

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             USFWS Technical
             Assistance
DEP provided EPA with a programmatic biological assessment as
supplemental information to the State’s request to assume section 404
of the CWA.

This information assists in the section 7 ESA consultation between EPA
and USFWS during their review of the Assumption application package.

As a result of the consultation, a USFWS biological opinion for the State
404 program will:
• Provide the required processes to ensure compliance with the ESA
• Outline the USFWS’s role in providing comments to the State through
  technical assistance
• Provide reasonable and prudent measures to avoid take

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             USFWS Technical
             Assistance – 2
Technical assistance as defined by the biological assessment
for the State 404 program:

Technical assistance refers to a coordination process described in the
ESA section 7 Consultation Handbook (1998) that outlines a variety of
ways in which the USFWS provides expertise and guidance on an
individual project basis. In the context of State 404 permit application
reviews, the USFWS assists the State of Florida by providing information,
reviews, and recommendations on effect determinations and protective
measures to ensure compliance with the ESA and Chapter 62-331, F.A.C.




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             NMFS Technical
             Assistance
• NMFS is not part of the ESA section 7 consultation for the State 404
  program between EPA and USFWS

• A letter from NMFS states that ESA-listed species under NMFS’
  jurisdiction do not occur in waters that are assumable by the State.

• There is shared jurisdiction between NMFS and USFWS for Gulf
  Sturgeon in some riverine habitat units, and the USFWS would be
  responsible for technical assistance with the State if not located in
  retained waters.

• If species under NMFS jurisdiction appears to be in assumed waters
  and affected by proposed activities, coordination will occur as
  currently existing between FWC and NMFS
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             Memorandum of
             Understanding (MOU)
A coordination agreement between
FWC, USFWS and DEP, the purpose of the MOU
is to formalize existing ERP coordination and
establish additional State 404 program
coordination processes.

Ensures that DEP’s permitting and lease programs
under Part IV of Chapter 373, F.S., and Chapter
253, F.S. are consistent with all applicable federal
and state regulations regarding fish, wildlife and
their habitats.

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       Coordination Process
•   Applicants provide all the needed information to adequately
    assess and address effects to species
•   FWC & USFWS provide technical assistance to identify
    adverse effects to species and provide permit conditions
•   EPA reviews and provides oversight
•   DEP ensures listed species protection regulatory
    requirements are met prior to permit issuance

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      Overview




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            Overview - 2
•   All State 404 permit applications must be sent to FWC and
    USFWS with due dates and a request to comment

•   Typically, FWC will coordinate with USFWS for federally listed
    species concurrently with their review of State-listed species,
    combining the reviews for DEP

•   An exception are those projects preliminarily determined by
    FWC to have “No Effect” on any federal species or critical
    habitat. DEP will coordinate with USFWS

•   All agency reviewers (DEP, FWC and USFWS) should copy each
    other on all correspondence regarding federally listed species

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      Coordination Process




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               Process prior to
               Public Notice
                                                                                    FWC drafts
                                                   FWC and
                                                                                  questions and/
                                                USFWS receive
                                                                                  or requests for
                                                 information
                                                                                      missing
                                                  from DEP
                                                                                   information



                                                               FWC contacts
                                                             USFWS with draft
                                                            and requests review




                                                      FWC adds any
                                                     USFWS additional                 FWC responds to
All days are counted from DEP’s                       questions and                      DEP and
                                                      information to                   copies USFWS
receipt of application or receipt                          draft
of additional information, unless
stated otherwise.                                                                                       28
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            Process prior to
            Public Notice - 2
Important Points regarding information requests:
•   DEP Requests for Additional Information (RAI) must not be sent
    to the applicant without FWC/USFWS input (responses are
    questions, request for information, or statement that they need
    no further information)


•   DEP must incorporate FWC/USFWS questions and requests for
    information into the official DEP correspondence

•   DEP and FWC reviewers need to communicate timelines
    frequently

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      Process Prior to
      Public Notice - 3
                                     FWC and USFWS                      FWC drafts preliminary
                                    review information                    determinations for:
                                    concurrently as it is                Project area, Affected
                                    received from DEP                       species list and
                                                                         Anticipated effects to
                                                                          species and habitat



                                                      FWC coordinates
                                                       with USFWS on
                                                       determinations




                                      FWC drafts response to                      Effect
                                       DEP incorporating any               determinations are
                                      USFWS suggestions and                 included in Public
                                     includes correspondence                      Notice
                                           from USFWS

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          Effect Statements in
          Public Notices
Why are effect statements important in Public Notices?
Assists EPA with deciding:
   • Whether they want to review a project
   • Whether an issued State 404 permit has a
      “reasonable potential for affecting endangered or
      threatened species” (40 CFR § 233.51(b)(2))
Assists USFWS with:
   • Finalizing the review of a project
   • Allowing them to reconsider “No Effect”
      determinations
                                                                                  31
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             Projects with
             “No Effects”
If all potential effects to federally listed species and critical habitat is
preliminarily determined to be “No Effect”, FWC will notify DEP.
DEP will request comments from the USFWS.
            Outcome                                           Action
If USFWS disagrees with the              FWC continues review of federally
preliminary review,                      listed species
DEP notifies FWC
If USFWS agrees, they will make Review of federally listed species
a statement of “No Comment”     ends; DEP continues permit review
                                process
If the USFWS does not respond            Review of federally listed species
within the 10-day time frame,            ends; DEP continues permit review
DEP assumes “No Comment”                 process

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             Minimal Information
Minimal Listed Species information in Public Notice:
•   No recommendations for proposed permit conditions, or
    only some of the species will be addressed
•   Some listed species and critical habitat effect determination
    statements will be one of the following:
    1) No Effect
    2) May Affect
“No Effect” may be because a species is not anticipated to be onsite, or
there are no anticipated effects, or because effects have been avoided
and minimized with permit conditions.
“May Affect” represents a point in the review process where it is
determined that adverse effects may occur, but it has not been
determined if it can be avoided and minimized.
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             Maximum Information
Maximum Listed Species information in Public Notice:
•   All proposed permit conditions are included
•   All listed species and critical habitat effect determination
    statements will be one of the following:
    1) No Effect
    2) Not Likely to Affect
    3) Likely to Affect
    4) Likely to jeopardize the continued existence of a species
    5) Adverse modification or destruction of critical habitat

These statements of effect are determined after the final review of
listed species impacts. They are statements as to whether adverse
effects can be avoided and minimized, or cannot be avoided even with
project modifications or permit conditions.
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      Neither USFWS or
      EPA comment
                                        Will most likely occur when:

                                        • No Effect on any species or
                                          critical habitat
                                        • Proposed permit conditions are
                                          included in the Public Notice

                                        • When all effects to species
                                          are addressed through USFWS
                                          decision tools

                                       • When all effects to species
                                         are addressed through
                                         standardized conditions

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      USFWS comments
      to DEP                            Most likely will occur when:

                                        • Final review and/or
                                          protective measures for
                                          permit conditions still need to
                                          be developed
                                        • USFWS randomly reviews
                                        • USFWS reconsiders “No
                                          Effect” determinations and
                                          has further comment

                                     Coordination between FWC and
                                     USFWS is similar to earlier, only it
                                     occurs after the Public Notice and
                                     during the comment period
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      EPA comments to DEP
                                      EPA considers USFWS
                                                              EPA provides written statement to
                                      comments and makes
                                                              DEP with comments, objections or
                                    recommendations to DEP
                                                              recommendations, and the actions
                                                                 that must be taken by DEP to
                                                                   eliminate any objections



                                       Most likely will occur when:

                                       • EPA believes a proposed permit has
                                         “reasonable potential for affecting
                                         endangered or threatened species”
                                       • EPA randomly reviews
                                       • EPA decides to review at the
                                         request of a third party
                                       • DEP requests that EPA review due
                                         to heightened concern about the
                                         project
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      Elevation Process




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             Elevation Process - 2

• Any one agency can initiate the elevation process or elevate to the next
  level. Level 3 is anticipated to be very rare.

• All applicable deadlines must be met during the elevation process,
  including subsequent levels of review.

• Supervisory level staff may differ for each agency and may differ
  depending upon the issue in dispute or conflict that needs resolution.

• When elevating to Level 2 or Level 3, agencies will jointly prepare a
  summary document that will be shared with the reviewing supervisors.
  The document will contain a statement of facts and succinctly state
  each agency’s position and recommendations for resolution.

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           End of the
           Review Process
• After the public comment period, there may be an EPA
  public meeting and/or a DEP public meeting
• The species coordination process must be reinitiated with
  FWC/USFWS if the project or the proposed conditions are
  modified after the listed species review
• DEP may issue a permit, may deny a permit, or may do
  neither and notify EPA of that decision
• DEP neither satisfies EPA objections or requirement for a
  permit condition nor denies permit, EPA will request the
  USACE process permit application (40 CFR § 233.50(j))

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        Next Webinar

How FWC performs Listed Species Assessments
• Assessment process
• Using USFWS decision tools
• Species specific analysis when decision tools are not
  available




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               FWC


The CPS email address
should be used for the
following:

•   Applications with a request for comments
•   Sending responses to questions
•   Asking for the name of the species lead for a specific project
•   Asking questions that are not related to a specific project


Conservationplanningservices@MyFWC.com
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                USFWS
Applications should be sent to the following
email addresses:

verobeach@fws.gov
South Florida ESO
https://www.fws.gov/verobeach/
StaffDirectory.html

jaxregs@fws.gov
North Florida ESO
https://www.fws.gov/northflorida/Staff3.htm

panamacityregs@fws.gov
Panama City ESO
https://www.fws.gov/panamacity/stafflist.html
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      Contact
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Mary.J.Duncan@FloridaDEP.gov




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                     MEMORANDUM OF UNDERSTANDING
                              BETWEEN THE
          FLORIDA FISH AND WILDLIFE CONSERVATION COMMISSION,
             THE UNITED STATES FISH AND WILDLIFE SERVICE AND
         THE FLORIDA DEPARTMENT OF ENVIRONMENTAL PROTECTION
                             AUG86T 5, 2020

This Memorandum of Understanding (“Understanding”, or “MOU”) is entered into by and
between the Florida Fish and Wildlife Conservation Commission (“FWC”), the United States
Fish and Wildlife Service (“USFWS”), and the Florida Department of Environmental Protection
(“FDEP”), to formally memorialize existing coordination and collaborative efforts and to
establish future processes and procedures that will ensure that the State of Florida’s assumption
of the CWA 404 program, as well as other permitting programs executed under FDEP’s
authority, will 1) fulfill state rule requirements regarding fish and wildlife under Part IV of
Chapter 373 Florida Statutes (F.S.), including Chapters 62-330, F.A.C., and 62-331, F.A.C., 2)
be compliant with the State of Florida requirements under Article IV, Section 9 of the Florida
Constitution, Chapter 253, F.S., Chapter 379, F.S., and Rules Relating to Threatened and
Endangered Species under Chapter 68A-27, F.A.C., and 3) comply with the Endangered Species
Act (ESA; 16 U.S.C. § 1531 et seq) and the Marine Mammal Protection Act (MMPA; 16 U.S.C.
§1361 et seq.).

I. PURPOSE

The purpose of this MOU between the FWC, the USFWS, and FDEP is to formalize the existing
coordination between these agencies and establish additional coordination processes to ensure
the conservation of Florida’s federally and State-listed wildlife and their habitats. This MOU is
to ensure that FDEP’s permitting and lease programs under Part IV of Chapter 373, F.S., and
Chapter 253, F.S., are consistent with all applicable requirements of the ESA, the MMPA, 16
U.S.C. § 1531-43, and are in keeping with the State of Florida requirements under Article IV,
Section 9 of the Florida Constitution, Chapter 379, F.S., and Chapter 68A-27, F.A.C..

This MOU is focused on FDEP’s implementation of the State of Florida’s permitting programs
under Part IV of Chapter 373, F.S. These programs include the Environmental Resource
Permitting program (ERP Program), 62-330, F.A.C., and the anticipated State 404 Permitting
Program (State 404 Program), 62-331, F.A.C., contingent upon the Environmental Protection
Agency (EPA) approval of Florida’s request for State assumption of Section 404 of the Clean
Water Act (CWA) under 40 C.F.R. Part 233.

These permitting programs authorize FDEP to regulate proposed activities in surface waters and
wetlands. Alteration of wetlands and other surface waters may have a detrimental impact on the
environment. Wetlands produce the basic food material used by many fish and other aquatic life
and some also serve as nursery grounds for fish and rookery areas for birds. Many wildlife
species, some of which are threatened or endangered, depend on wetlands to complete all or part
of their life cycle. Dredging and filling can degrade water quality during and after construction
and can impact aquatic invertebrates, fish, and wildlife in that area. It has been estimated that as
much as 80 percent of our recreationally and commercially important fish species are dependent

Memorandum of Understanding Between the Florida Department of Environmental Protection,               Page 1
the Florida Fish and Wildlife Conservation Commission and the United States Fish and Wildlife Service



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upon wetlands for at least some portion of their life cycle.

The purpose of this MOU is to:

    x    Improve the existing framework and develop new processes as needed for meeting
         responsibilities under the ERP Program, State 404 Program, Chapter 68A-27, F.A.C.,
         Florida’s Constitution, MMPA, and the ESA.
    x    Create a State and Federal Endangered and Threatened Species Technical Team to better
         assist FDEP’s district, regional, and field offices to conserve and protect Florida’s aquatic
         and terrestrial species and their habitats, natural resources and ecosystems through the
         State permitting processes.
    x    Develop a coordination process for the State 404 Program that will maximize efficiencies
         and consistency in order to successfully balance the permitting workload, while
         minimizing administrative processing for all involved parties. See Attachment 1 for a
         species coordination process flowchart.
    x    Develop a coordination plan that will include guidance on how to elevate any conflicts or
         disagreements between agencies.
    x    Ensure consistent internal coordination processes between regional offices of the
         USFWS, FWC, and FDEP Districts.
    x    Ensure the state permitting processes implemented by FDEP meet the requirements of the
         rules and statutes governing protection of state imperiled species.

         A. Authorities

         1. Environmental Resource Permitting

The State of Florida’s ERP Program regulates activities involving the alteration of surface flows,
including new activities in uplands that generate stormwater runoff, as well as dredging and
filling in wetlands and other surface waters. Dredging and filling in the surface waters of Florida
has been regulated since the early 1970s. Established under Chapter 403, F.S., the “dredge and
fill permit” program protected surface waters from degradation caused by the loss of wetlands,
and from pollution caused by construction activities. This program was phased out in 1995, and
replaced by the new environmental resource permit program under Part IV of Chapter 373, F.S.
The ERP program provides a mechanism for protection for all fish and wildlife and their
habitats, particularly federally and State-listed wildlife and plant species, and can provide
protection measures in perpetuity.

The FWC is Florida’s state wildlife agency established in the State Constitution to exercise the
regulatory and executive powers of the state with respect to wild animal life and fresh water
aquatic life. The FWC has permitting authority over species identified in Chapter 68A-27,
F.A.C., which include the species identified within FDEP’s ERP program. Permits issued by
FDEP cannot authorize impacts, specifically take, of species identified in Chapter 68A-27,
F.A.C. As such, the FDEP has historically coordinated protection and conservation of aquatic
and terrestrial fish and wildlife species with the FWC. FWC’s permit commenting authority was
codified upon the agency’s creation in Section 20.331(10), F.S. The FWC provides a list of

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potentially affected federally and State-listed species to FDEP during ERP application review. It
also evaluates potential impacts to State-listed fish and wildlife for ERP Program project
applications that are expected to affect species and habitat, and provides recommendations for
permit conditions to the FDEP.

        2. State Lands

The state of Florida acquired title to sovereignty submerged lands on March 3, 1845, by virtue of
statehood. Sovereignty submerged lands include all submerged lands, title to which is held by the
Board of Trustees (Governor and Cabinet) of the Internal Improvement Trust Fund. FDEP is
Florida’s lead agency for environmental management and stewardship, serving as staff to
the Board of Trustees. As such, the FDEP’s role includes acquiring lands for protection, and
providing oversight for the management of activities on more than 12 million acres of public
lands including lakes, rivers and islands. These public lands include sovereignty submerged
lands, which include, but are not limited to, tidal lands, islands, sandbars, shallow banks, lands
waterward of the ordinary or mean high water line, and those beneath navigable fresh water or
beneath tidally influenced waters. These publicly owned lands are managed under Chapter 253,
F.S., and the rules promulgated thereunder, to provide for areas of natural resource-based
recreation, to ensure the survival of plant and animal species, and the conservation of finite and
renewable natural resources. Section 18-21.004(2)(i), F.A.C. states: “Activities on sovereignty
lands shall be designed to minimize or eliminate adverse impacts on fish and wildlife habitat, and
other natural or cultural resources. Special attention and consideration shall be given to
endangered and threatened species habitat.

        3. Section 404 of the Clean Water Act

The United States Army Corps of Engineers (USACE) currently regulates proposed activities
through a federal permit review process, administering Section 404 of the CWA. The USACE
permitting program regulates the discharge of dredged or fill material into waters of the United
States, including wetlands. Activities in waters of the United States regulated under this program
include fill for development, water resource projects (such as dams and levees), infrastructure
development (such as highways and airports), and mining projects. Section 404 requires a permit
before dredged or fill material may be discharged into waters of the United States, unless the
activity is exempt from Section 404 regulation (e.g., certain farming and forestry activities). An
individual permit is required for potentially significant impacts. Individual permit applications
under USACE review are evaluated for public interest, as well as the environmental criteria set
forth in the CWA Section 404(b)(1).

The USACE consults with the USFWS, the federal agency charged with wildlife protection, to
ensure protection of federally listed fish, wildlife and plants. The USFWS evaluates impacts on
federally listed fish, wildlife, and plant species for all federal projects and federally permitted
projects expected to affect species and their critical habitat, including projects subject to the
requirements of Section 404.




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The State of Florida, through FDEP, is requesting assumption of this permitting authority. If
approved, this program will be referred to as the State 404 Program.

        4. Section 6 of the Endangered Species Act

Section 6(a) of the ESA directs the USFWS to "cooperate to the maximum extent practicable
with the States" to further the conservation of federally threatened and endangered species. The
purpose, processes, and procedures described in this MOU are consistent with this mandate. This
MOU does not conflict with or limit the longstanding section 6(c) cooperative agreement
between the USFWS and FWC, which has been annually renewed since its establishment in
1976.

        B. Background

In 2020, FDEP will be submitting its application to the EPA seeking to assume authority to
administer Section 404 of the CWA for certain waters of the United States (assumption). If
approved, the State 404 Program will be a separate permitting program from the ERP Program,
with separate authorizations. Assumption of the permitting program is limited to “state-assumed”
waters, which is not defined in the CWA but is described as all waters of the United States that
are not under the jurisdiction remaining with the USACE (retained waters, such as those waters
subject to section 10 of the Rivers and Harbors Act). Retained waters are defined in the State 404
Program Applicant’s Handbook, as:

     “Retained Waters” means those waters which are presently used, or are susceptible to use
     in their natural condition or by reasonable improvement as a means to transport interstate
     or foreign commerce shoreward to their ordinary high water mark, including all waters
     which are subject to the ebb and flow of the tide shoreward to their mean high water mark,
     including wetlands adjacent thereto. The Corps will retain responsibility for permitting for
     the discharge of dredged or fill material in those waters identified in the Retained Waters
     List (Appendix A), as well as all waters subject to the ebb and flow of the tide shoreward
     to their mean high water mark that are not specifically listed in the Retained Waters List,
     including wetlands adjacent thereto landward to the administrative boundary. The
     administrative boundary demarcating the adjacent wetlands over which jurisdiction is
     retained by the Corps is a 300-foot guide line established from the ordinary high water
     mark or mean high tide line of the retained water. In the case of a project that involves
     discharges of dredged or fill material both waterward and landward of the 300-foot guide
     line, the Corps will retain jurisdiction to the landward boundary of the project for the
     purposes of that project only.”

Based on a comparison of the last five years of USACE and FDEP reviewed applications, it is
anticipated that the majority of future projects will require both a State 404 and an ERP
authorization. It is the intent of FDEP to establish a State 404 Program coordination process for
protection of federally listed species and designated critical habitat that is similar, and as
protective as, the ESA’s Section 7 interagency consultation process that currently exists between
the USACE and the USFWS for federal Section 404 permits. As part of the State of Florida’s
assumption of Section 404, FDEP will continue to utilize FWC’s biologists and species

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specialists that are already involved in the review of both 404 applications and ERP applications.
Currently, FWC already provides a list of federally and State-listed species to FDEP and the
USACE as part of their review. FWC also provides comments and recommendations on State-
listed species, provides technical assistance on federally listed species, and currently provides
comments and recommendations on aquatic species such as manatees and sea turtles under the
Florida Manatee Sanctuary Act and Florida’s Marine Turtle Protection Act. FWC also regulates
intentional and incidental take of State-listed species under Chapter 68A-27, F.A.C. exclusive of
the ERP Program and the State 404 Program. Nothing in this MOU, the ERP Program, nor the
State 404 Program supersede nor otherwise affect FWC’s permitting programs or authorities. For
State 404 Program application reviews, FWC proposes to provide preliminary effect assessments
for federally listed species and their critical habitat, as well as provide preliminary impact
avoidance and minimization measures that will become permit conditions during the FDEP
review of project applications. These project-specific preliminary lists of affected federally listed
species, assessment determinations, and proposed impact avoidance and minimization measures
may be coordinated with the USFWS during technical assistance review and/or as part of the
Public Notice process for concurrence. This will be in addition to FWC’s role in reviewing the
ERP Program applications for state listed species impacts, which will remain unchanged. The
benefits of this MOU, and FWC’s involvement with Part IV of Chapter 373, F.S. concern the
authorizations as outlined in Section V of this MOU.

II. COORDINATION FRAMEWORK

        A. The Permit Application Review Process Framework

The current ERP species coordination process includes FWC’s involvement upon initial receipt
of the application, allowing FWC’s review to begin early in the process and proceed during the
ERP Request for Additional Information and Completeness phases. State 404 permit applications
are proposed to be processed in a similar manner, where FWC and USFWS will receive
applications from FDEP as soon as possible after receipt. Upon assumption of the Section 404
Program, coordination between the USFWS and FDEP related to the proposed action’s effects on
species will occur through the technical assistance process, which is anticipated to be outlined in
the USFWS’s biological opinion based on information included in the biological assessment
submitted by EPA. FWC and FDEP will jointly decide which agency will be the species
coordination lead to coordinate the federally listed species review with the USFWS for each
application. The State species coordination lead is responsible for making a preliminary
determination for affected federally listed species, affected action area and critical habitats, and
assessing whether, and what type of, adverse impacts to federally endangered or threatened
species and their critical habitats is expected. The FDEP and FWC reviewers will work as a
team. This coordination between reviewers will ensure that the preliminary information and
impact/effect determinations for federally listed species that is to be sent to the USFWS
represents all needed aspects of the State review. The designated State species lead will always
include the other State agency’s reviewer on all correspondence with the USFWS.
Disagreements between agencies will be handled in accordance with Section IV of this MOU.
Upon receipt of a permit application, the State species lead will coordinate with the USFWS and
provide to DEP the preliminary assessment and additional information request within 20 days, so
that FDEP may comply with its requirement to submit its request for additional information

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within 30 days of receipt of a permit application (Rule 62-331.052, F.A.C).

After FDEP/FWC has all the necessary information needed in order to review the permit
application, the State species lead for that project can provide preliminary effect determinations
and protective measures to USFWS for review and comment. Comments from the USFWS will
be incorporated into FDEP’s review of the permit application, including the effects discussion
and incorporation of draft permit conditions. Or, in the case where no species will be affected,
this information will be officially documented, and the species coordination review will be
considered completed. This technical assistance with the USFWS will be accomplished prior to
the Public Notice, when possible. The Public Notice will include the types of anticipated impacts
to endangered and threatened species as well as their critical habitat, and the proposed protection
measures to offset those impacts. After the Public Notice, the State species lead will review any
additional information and public concerns that were received and coordinate with the USFWS
to address them as appropriate. If there are no additional concerns or modifications that would
affect the species review, the conclusions and permit conditions by USFWS will be drafted as
final correspondence for the file and recommended conditions incorporated into the permit.

During EPA’s review of Florida’s application for assumption, FDEP’s Submerged Lands and
Environmental Resources Coordination Program (SLERC) staff, with assistance from FWC and
USFWS, if possible, will provide training to FDEP permit review staff on the species
coordination process and performing assessments of effects that different types of projects pose
to federally listed species. This will include the use of information and approaches found in
section 7 consultation keys, Standard Local Operating Procedures for Endangered Species
(SLOPES) and other species effects evaluation tools. These tools will be provided to FWC and
FDEP in advance of these trainings and any discrepancies in the species information or use of
these tools will be resolved. In addition, information and approaches for how to analyze species-
specific data and assess potential effects to species that do not have such tools would be
discussed. Additional tools will be adopted as they are developed by the USFWS.

The parties anticipate that FWC’s species expertise and current engagement in the ERP review
will create efficiencies during the transition from a Federal 404 program to the State 404 permit
program, while also providing continuous protection to Florida’s fish, wildlife, and plant species
and their habitats. The FWC and USFWS staff will be providing expertise to FDEP staff
regarding species issues, and the species coordination process will be a joint effort for each
application. Over time, FDEP, FWC, and USFWS will become more proficient and
knowledgeable about effects determinations for federally listed species during the State 404
Program permitting process.

        B. Agency Roles and Responsibilities

This MOU anticipates the following roles and responsibilities for each agency. However, after
404 assumption, a technical team (described in Section III below) should convene and formalize
the details of coordination.

FWC
• Attend Technical Team meetings.

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• Participate in training efforts with FDEP and USFWS.
• Provide oversight during the permitting review process, when needed.
• Provide a list of potentially affected species and habitat during the review of permit
applications, preliminary determinations of the project’s potential effect on federally and State-
listed species and habitat (particularly critical habitat) and provide preliminary recommendations
for impact avoidance and minimization measures.
• Determine if the project meets any specified criteria identified in any pre-existing biological
opinions, USFWS-approved species effect determination keys, or USFWS-issued incidental take
permits for federally and State-listed species.
• In coordination with USFWS, develop appropriate, site specific habitat conservation or species
conservation measures to be incorporated as permit conditions. When appropriate, the USFWS-
approved species lists, and recommended impact avoidance and minimization measures may be
finalized by FWC as official correspondence to FDEP.
• Participate in project-specific meetings, teleconferences and email conversations regarding
wildlife and habitat reviews. This will provide support for the review of wildlife and habitat
impacts when needed.
• Take the lead in resolution of issues regarding State-listed species, including State-listed
species that are also designated federally as “at-risk”, “candidate” or “proposed” species, as
appropriate.
• Work directly with the applicant to resolve issues regarding permitting for take of State-listed
species in accordance with FWC’s Rules Relating to Threatened and Endangered Species.

USFWS
• Attend Technical Team meetings, when appropriate.
• Participate in training efforts with FDEP and FWC.
• Provide technical assistance during the permitting review process, where there may be effects
to federally listed species, proposed species, petitioned species, or candidate species.
• Coordinate compliance with FWC to meet ESA requirements for relevant federally threatened
and endangered (“T/E”) species.
• Provide section 7 consultation keys, Standard Local Operating Procedures for Endangered
Species (SLOPES) and other species effects evaluation tools used to evaluate effect
determinations
• Provide technical assistance regarding effects on federally threatened or endangered species
and measures to avoid or minimize adverse effects.
• In coordination with FWC, develop appropriate, site-specific habitat conservation or species
management opportunities.
• Participate in project-specific meetings, teleconferences and email conversations regarding
wildlife and habitat reviews upon request as related to ESA-listed species, proposed species,
petitioned species, or candidate species. This will provide support for the review of wildlife and
habitat impacts when needed.
• Take the lead in resolution of issues related to federally listed species.
• Incidental take for federally listed species will be handled in accordance with the Biological
Assessment and Biological Opinion developed for this assumption.

FDEP


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• Attend Technical Team meetings when appropriate.
• Participate in training efforts with FWC and USFWS.
• Provide oversight during the permitting review process, when needed.
• Provide State 404 Program and ERP program related permit applications as soon as possible for
review upon submittal.
• Provide any additional information that may assist in the review, including activity-specific
information to FWC and USFWS. Incorporate any additional information requested by FWC and
USFWS into the FDEP requests for additional information or completeness requests to the
applicant.
• Participate in project-specific meetings, teleconferences and email conversations regarding
wildlife and habitat reviews. This provides support for the review of species and habitat impacts
when needed.
• Provide notification to FWC regarding timelines for the submittal of FWC questions and
comments during the review of submitted applications. When FWC is actively reviewing a
permit, FDEP will not issue the permit without resolution of FWC’s review.

III. ENDANGERED AND THREATENED SPECIES TECHNICAL TEAM

This MOU’s framework, processes, and procedures may be reviewed periodically after initiating
an Endangered and Threatened Species Technical Team (Technical Team) comprised of FWC,
USFWS and FDEP agency staff members. This Technical Team will meet to review the
effectiveness of the coordination processes, procedures, training resources, and other areas
related to State of Florida permitting under Part IV of Chapter 373 F.S. to ensure compliance
with the ESA and State of Florida Rules Relating to Threatened and Endangered Species. Team
members would include staff from FWC’s Office of Conservation Planning Services (CPS),
USFWS’s Florida’s Ecological Services Office, and FDEP’s SLERC. FDEP SLERC’s office
will take the lead in setting up Technical Team meetings and training meetings. The Technical
Team will also act as technical support to FDEP District offices during the permitting process
should any issues arise regarding state or federally listed species or habitat conservation
measures. Frequent and informal contact between agencies is encouraged regarding the general
process, project-specific issues, or emerging issues.

        A. Guidance/Training

FDEP, FWC and USFWS will hold cross-training sessions, and joint training sessions with
district, regional and field staff of all agencies to facilitate mutual understanding and
implementation of the MOU. Initially, the goal is completion of basic training to all relevant
permit review personnel prior to the approval of assumption, with additional training resources
and sessions to continue periodically as needed. The agencies may issue guidance individually or
jointly to assist in carrying out this MOU.

        B. Oversight Review

The Technical Team provides oversight and coordination for all aspects of this MOU. Its
functions include, but are not limited to:


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  (1) Developing, maintaining, and updating training guidance;
  (2) Addressing issues about process implementation to ensure compliance with ESA;
  (3) Identifying and addressing workload issues;
  (4) Incorporating/identifying improvements and revisions into the process;
  (5) Convening interagency scientific/technical reviews, as appropriate;
  (6) Reviewing and evaluating, at least on an annual basis, the MOU and its
       implementation;
  (7) Facilitating reaching consensus on particular issues at any level upon requests by
      personnel at that level.

IV. INTERAGENCY ELEVATION PROCESS

FDEP, FWC and USFWS intend to work cooperatively to achieve their mutually shared
objectives of protecting the quality of waters of the United States and the species that depend on
those waters. Collaboration among Technical Team members, agency district, regional, and field
staff when resolving any potential conflicts or disagreements should be performed through a
structured, time-sensitive process at the lowest possible level. During the review of State 404
permit applications and these elevation procedures, the following regulations will be followed:
40 CFR § 233.20; 40 CFR § 233.50; the 404(b)(1) Guidelines in 40 CFR § 230; 40 CFR §
230.10(b)(3) and 40 CFR § 230.30(c). The agencies will follow the procedures below to elevate
any conflict or disagreement.

Any contentious issues, disagreements or conflicts between agencies, or between agencies and
applicants, will be discussed with an attempt to resolve them at the lowest levels within the
agencies without elevation (reviewers and their supervisors). If issues cannot be resolved at this
level, reviewers and their supervisors will reach out to the Technical Team for assistance (Level
1). If there is no consensus resolution at that level, or if it is deemed prudent, the issues will be
elevated to Level 2, which would include the USFWS State Supervisor, FDEP State 404 program
Supervisor, FWC Conservation Planning Services Director, and EPA Florida State 404 program
Supervisor). While anticipated to be very rare, issues can be elevated to Level 3 if needed, which
would include the USFWS Regional Director, Atlanta; EPA Regional Administrator, Atlanta;
FWC Executive Director and FDEP Secretary. The supervisory level staff may differ for each
agency and may differ depending upon the issue in dispute or conflict that needs resolution. All
agencies will be included in resolution discussions, even if the issue only involves two of the
three partner agencies.

While decisions by all levels, including decisions to elevate, will be made by consensus to the
greatest extent practicable, any one agency can initiate the elevation process or elevate to the
next supervisor level. Agencies will jointly prepare a summary document that will contain a
statement of facts and succinctly state each agency's position and recommendations for
resolution. This summary document will be developed and shared when elevated to Level 2 or
Level 3. If needed, the summary documents may be updated when elevated to Level 3. The
overall goal is to jointly develop implementable actions to avoid and/or minimize adverse
impacts to listed species to ensure the impacts of any given project are not likely to result in take,
or likely to jeopardize the continued existence of any species or adversely modify its critical
habitat. With regard to conclusions about the potential effects of a project on ESA-listed species

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or the effectiveness of proposed protection measures, the final USFWS position is determinative.
With regard to conclusions about the potential effects of a project on State listed species or the
effectiveness of proposed protection measures, the final FWC position is determinative.

Elevation should be initiated so that all applicable deadlines will be met, considering subsequent
levels of review. If FDEP is aware of a dispute, they will resolve the dispute prior to taking final
action. This is to ensure consistency with applicable legal deadlines, and to allow the issue to be
resolved through the elevation process When determined to be appropriate (e.g., where the
results of the elevation would provide useful guidance to agency staff or transparency to the
public), the decision on the elevation should be memorialized in writing, placed in the
application’s official file, and circulated among Agency staff to serve as guidance for future
decisions.


V. BENEFITS OF THIS MEMORANDUM OF UNDERSTANDING

While there is statutory permit commenting authority for FWC in the ERP Program, no specific,
written coordination procedures or agreements have been initiated between FWC and FDEP for
the ERP Program. This MOU will improve communication and provide a mechanism to improve
ERP processes, resolve emerging issues, and likely increase efficiency and consistency in the
ERP Program review for endangered and threatened species.

Once assumed, the implementation of the State 404 Program will result in FWC reviewing
potentially affected federally and State-listed species concurrently. Since similar guilds of
species have similar habitat needs or life-history traits, FWC’s preliminary determinations of a
project’s potential adverse effects to species will be more holistic and more efficient than the
current process. There is also some limited jurisdictional overlap between FWC and USFWS
with some species, such as species that are State-listed and federally designated as “at risk”,
“candidate”, and “proposed”. This MOU provides a mechanism for FWC and USFWS to more
closely coordinate the review of potential adverse impacts to these types of species during State
permit review. In addition, on rare occasions there can be conflicting conservation needs of
species located within the same action area of a project. This MOU provides a mechanism for
FDEP, FWC and USFWS to better resolve such issues.

This MOU formally memorializes partnerships that are mutually beneficial to all parties:

    x    Benefit to FDEP: The FWC and USFWS partnerships and involvement in both permitting
         processes ensures fulfillment of the ERP Program, State 404 Program, Chapter 253 F.S.
         and all other laws requiring protection of federally and State-listed species and their
         habitats. The FDEP/FWC partnership will ease the transition of the State 404 Program,
         providing faster and more accurate project reviews and effect determinations as
         compared to FDEP staff alone.

    x    Benefit to FWC: The FDEP partnership provides a mechanism for fulfillment of the
         requirements of Article IV, Section 9 of the Florida Constitution, and FWC’s Chapter


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         68A-27 of the Florida Administrative Code (F.A.C.).

    x    Benefit to USFWS: The FWC and FDEP partnerships increase collaboration on
         development projects that previously may have been reviewed and permitted separately
         but will now be reviewed by one permitting agency (FDEP) and one wildlife agency
         (FWC). FDEP and FWC may assist USFWS during the technical assistance process by
         providing preliminary reviews when possible, in order to ensure the fulfillment of ESA
         requirements.

VI. OBLIGATION OF FUNDS, COMMITMENT OF RESOURCES

Nothing in this MOU shall be construed as obligating any of the parties to the expenditure of
funds in excess of appropriations already authorized by law, or otherwise commit any of the
agencies to actions for which it lacks authority. It is understood that the level
of resources to be expended under this MOU will be consistent with the level of resources
available to the agencies to support such efforts.

VII. NATURE OF THE MEMORANDUM OF UNDERSTANDING

This Memorandum is intended only to improve the interagency coordination between FWC,
USFWS and FDEP. It is not intended to, and does not, create any right or benefit, substantive or
procedural, enforceable at law or equity by a party against the State of Florida or the United
States, its agencies or instrumentalities, its officers or employees, or any other person. FWC,
USFWS, and the FDEP may jointly revise this document. No party to this MOU waives any
administrative claims, positions, or interpretations it may have with respect to the applicability or
the enforceability of the ESA or the CWA.
 (1) Nothing in this MOU shall be construed to restrict in any way EPA's authority to fulfill its
 oversight and enforcement responsibilities under the CWA, nor shall it restrict the enforcement
 responsibilities of FDEP and FWC under Florida law or USFWS under Federal law.
 (2) This MOU, and procedures established in conformance with it, shall be reviewed
 periodically by FDEP, FWC, and USFWS. Any party may request in writing an amendment or
 modification to the MOU.
 (3) This MOU, and any amendments and modifications, shall remain in effect until the State
 404 Program authorization is modified in a manner that would affect this MOU.

VIII. EFFECTIVE DATE; TERMINATION

This Memorandum will become effective upon signature by each of the parties. If the State 404
Program is not yet approved, this Memorandum will only become effective for the ERP program
and requirements under Chapter 253, F.S.. Once the application for assumption is approved by
EPA, this Memorandum will become effective for both the ERP program and the State 404
Program. Any of the parties may withdraw from this MOU upon 60 days written notice to the
other parties, provided that any coordination covered by the terms of this MOU that are pending
at the time notice of withdrawal is identified by the parties, and those activities covered by this

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MOU that begin the process prior to and within the 60-day notice period, will continue to be
covered by the terms of this MOU.

IX. SIGNATURES

Florida Department of Environmental Protection



      08/07/2020
Date: ______________________                         ___________________
                                              By: ____________________________
                                                   Noah Valenstein, Secretary
Florida Fish and Wildlife Conservation Commission




Date:    8/5/2020                                           By: ____________________________
                                                                   Eric Sutton, Executive Director


United States Fish and Wildlife Service




Date: __11/16/2020____________                              By: ____________________________
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Memorandum of Understanding Between the Florida Department of Environmental Protection,                 Page 12
the Florida Fish and Wildlife Conservation Commission and the United States Fish and Wildlife Service



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Attachment 1: Species Coordination Process Flowchart




Memorandum of Understanding Between the Florida Department of Environmental Protection,               Page 13
the Florida Fish and Wildlife Conservation Commission and the United States Fish and Wildlife Service



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                          Programmatic Biological Opinion for

   U.S. Environmental Protection Agency’s Approval of FDEP’s Assumption of the
Administration of the Dredge and Fill Permitting Program under Section 404 of the Clean
                                       Water Act

                FWS Log #: 04E00000-2021-F-0001; 04E00000-2021-B-0001




                                       Prepared by:

                               U.S. Fish and Wildlife Service
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                                     1875 Century Blvd
                                     Atlanta, GA 30345




                                                         11/17/2020

Leopoldo Miranda-Castro, Regional Director              Date




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ACRONYMS (adopted from EPA BE, p. ix - x)


      Assumption                  Assumption of Section 404 of CWA by the State of
                                  Florida
      BA                          Biological Assessment
      BE                          Biological Evaluation
      BMP                         Best Management Practices
      BiOp                        Biological Opinion
      C&SF                        Central and Southern Florida
      CERP                        Comprehensive Everglades Restoration Plan
      CFR                         Code of Federal Regulations
      CWA                         Clean Water Act
      EIS                         Environmental Impact Statement
      ECOS                        Environmental Conservation Online System
      EPA                         United States Environmental Protection Agency
      ERP                         Environmental Resource Permit
      ESA                         Endangered Species Act
      F.A.C.                      Florida Administrative Code
      FDEP                        Florida Department of Environmental Protection
                                  Federal Emergency Management Agency
      FEMA
      FLCCS                       Florida Land Cover Classification System
      FNAI                        Florida Natural Areas Inventory
      F.S.                        Florida Statutes
      FWC                         Florida Fish and Wildlife Conservation Commission
      GIS                         Geographic Information Systems
      HCP                         Habitat Conservation Plan
      IPaC                        Information for Planning and Consultation
      ITS                         Incidental Take Statement
      MOA                         Memorandum of Agreement
      NMFS                        National Marine Fisheries Service
      NOAA                        National Oceanic and Atmospheric Administration




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   NWP                      Nationwide Permit
   PEM                      Palustrine Emergent
   PFO                      Palustrine Forested
   PSS                      Palustrine Shrub Scrub
   RAI                      Request for Additional Information
   SFWMD                    South Florida Water Management District
   SLOPES                   Standard Local Operating Procedures for Endangered
                            Species
   USACE                    United States Army Corps of Engineers
   USC                      United States Code
   USFWS                    United States Fish and Wildlife Service
   Wildlife Plan            Florida’s State Wildlife Action Plan (FWC)
   WMDs                     Water Management Districts
   WOTUS                    Waters of the United States




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GLOSSARY (adopted from EPA BE p. xi – xv)

     Action means all activities or programs of any kind authorized, funded, or carried out, in whole or in
     part, by federal agencies in the United States or upon high seas (50 CFR § 402.02). For the purposes
     of this document, the proposed action is the EPA’s potential approval of the State of Florida’s
     request for the assumption of the administration and permitting of a CWA Section 404 program.

     Action Area means all areas to be affected directly or indirectly by the Federal action, and not
     merely the immediate area involved in the action (50 CFR § 402.02).

     Activity for the purposes of the State 404 program only, means “discharge of dredged
     material” and/or “discharge of fill material” as those terms are defined in 40 CFR § 232.2
     (Rule 62-331.030, F.A.C.).

     Administratively complete means an application that contains all the items required under the
     public noticing requirements of Rule 62-331.060, F.A.C.

     Affect/effect as a verb, to “affect” means is to bring about a change. The “effect” (usually a noun) is
     the result of a change. “Affect” appears in Section 7 of the ESA (16 USC § 1536) and “Effect”
     appears throughout ESA Section 7 regulations (50 CFR § 402 et seq) and guidance documents (ESA
     Section 7 Consultation Handbook).

     Assumed waters (or State-assumed waters) State-assumed waters are all waters of the United
     States that are not retained waters (as identified in Chapter 62-331, F.A.C., and FDEP’s State 404
     Handbook).

     Avoidance means mitigating a resource impact by selecting the least-damaging project type, spatial
     location and extent compatible with achieving the purpose of the project. Avoidance is achieved
     through an analysis of appropriate and practicable alternatives and a consideration of impact
     footprint.

     Assumption means a state has requested and the EPA has approved a state dredge and fill
     permitting program to be administered in lieu of the Section 404 program administered by the
     USACE for discharges into assumed waters.

     Best available data means data to assure the quality of the science used to establish official
     positions, decisions, and actions taken by the State of Florida during the review of State 404
     program permit applications, the quality of the biological, ecological, technical, and other relevant
     information that is used will only be that which is reliable, credible and represents the best data
     available. Under Section 7(a)(2) of the ESA, the USFWS is required to use the best available
     science. In the context of the ESA, the USFWS and NMFS have a policy statement that further
     describes best available data (see Notice of Interagency Cooperative Policy on Information
     Standards Under the Endangered Species Act 1994).

     Biological opinion (BiOp) means a document which includes 1) the opinion of the US Fish and
     Wildlife Service or the National Marine Fisheries Service as to whether or not a federal action is
     likely to jeopardize the continued existence of listed species, or result in the destruction or adverse
     modification of designated critical habitat; 2) a summary of information on which the opinion is

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based; and 3) a detailed discussion of the effects of the action on listed species or designated critical
habitat (50 CFR § 402.02, 50 CFR § 402.14(h)).

Candidate species means plant and animal taxa considered for possible addition to the list of
Endangered and Threatened Species. These are taxa for which USFWS has on file sufficient
information on biological vulnerability and threat(s) to support issuance of a proposal to list, but
issuance of a proposed rule is currently precluded by higher priority listing actions (See 50 CFR §
424.02, ESA Section 7 Consultation Handbook).

Conservation means to use all methods and procedures which are necessary to bring any
endangered species or threatened species to the point at which protective measures are no longer
necessary. Such methods and procedures include, but are not limited to, all activities associated with
scientific resources management such as research, census, law enforcement, habitat acquisition and
maintenance, propagation, live trapping, and transplantation, and, in the extraordinary case where
population pressures within a given ecosystem cannot be otherwise relieved, may include regulated
taking (ESA 16 U.S.C. § 1532(3)).

Critical habitat for a threatened or endangered species means 1) the specific areas within the
geographical area occupied by the species, at the time it is listed in accordance with the provisions of
Section 1533, on which are found those physical or biological features essential to the conservation
of the species and which may require special management considerations or protection; and 2)
specific areas outside the geographical area occupied by the species at the time it is listed in
accordance with the provisions of Section 1533, upon a determination by the Secretary of the
Interior or the Secretary of Commerce that such areas are essential for the conservation of the
species (ESA 16 U.S.C. § 1532(5)).

Cumulative effects are those effects of future State or private activities, not involving federal
activities that are reasonably certain to occur within the action area of the action subject to
coordination. For the purposes of this document, this definition only applies to ESA Section 7
analyses (50 CFR § 402.02).

CWA means the Clean Water Act (also known as the Federal Water Pollution Control Act or
FWPCA) Pub. L. 92–500, as amended by Pub. L. 95–217, 33 USC 1251, et seq. (Rule 62-331.030,
F.A.C., FDEP’s State 404 Handbook section 2.0(b)1).

Destruction or adverse modification of critical habitat means a direct or indirect alteration that
appreciably diminishes the value of critical habitat as a whole for the conservation of a listed species
(50 CFR
§ 402.02).

Effects of the action are all consequences to listed species or critical habitat that are caused by
the proposed action, including the consequences of other activities that are caused by the
proposed action. A consequence is caused by the proposed action if it would not occur but for
the proposed action and it is reasonably certain to occur. Effects of the action may occur later in
time and may include consequences occurring outside the immediate area involved in the action
(50 CFR § 402.02).

Endangered species means any species which is in danger of extinction throughout all or a
significant portion of its range other than a species of Class Insecta determined by the Secretary to

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constitute a pest whose protection under the provisions of the ESA would present an overwhelming
and overriding risk to man (ESA 16 U.S.C. § 1532(6)).

Endangered or threatened species in this document refers to those animal species that are
identified as federally endangered or threatened by the USFWS or NMFS, and those animal species
that are identified as State-listed by the FWC; it also means plant species identified as endangered
or threatened by the USFWS or by the Florida Department of Agriculture and Consumer Services
when such plants are located in a wetland or other surface water (Rule 62-330.021, F.A.C.).

Environmental baseline refers to the condition of the listed species or its designated critical
habitat in the action area, without the consequences to the listed species or designated critical
habitat caused by the proposed action. The environmental baseline includes the past and present
impacts of all federal, State, or private actions and other human activities in the action area, the
anticipated impacts of all proposed federal projects in the action area that have already undergone
formal or early ESA Section 7 consultation, and the impact of State or private actions which are
contemporaneous with the consultation in process. The consequences to listed species or
designated critical habitat from ongoing agency activities or existing agency facilities that are not
within the agency’s discretion to modify are part of the environmental baseline (50 CFR §
402.02).

ESA-species of concern refers to species that are either listed, proposed, petitioned, or considered
candidates for listing under the Endangered Species Act.

Fish or wildlife means any member of the animal kingdom, including without limitation any
mammal, fish, bird (including any migratory, nonmigratory, or endangered bird for which
protection is also afforded by treaty or other international agreement), amphibian, reptile, mollusk,
crustacean, arthropod or other invertebrate, and includes any part, product, egg, or offspring thereof,
or the dead body or parts thereof. (ESA 16 U.S.C. § 1532(8)).

Incidental take refers to takings that result from, but are not the purpose of, carrying out an
otherwise lawful activity conducted by a federal agency or applicant (50 CFR § 402.02).

Jeopardize the continued existence of means to engage in an action that reasonably would be
expected, directly or indirectly, to reduce appreciably the likelihood of both survival and recovery
of a listed species in the wild by reducing the reproduction, numbers, or distribution of that species
(50 CFR § 404.02).

Listed species refers to any species of fish, wildlife or plant which has been determined to be endangered
or threatened under Section 4 of the ESA or under Chapter 68A-27, F.A.C.

May affect is the appropriate conclusion made by a federal action agency in the context of the ESA
or by the State in the context of the State 404 program when a proposed activity is reasonably
certain to affect any ESA-listed species or designated critical habitat.

Minimization means mitigating an aquatic resource impact by managing the severity of a project’s
impact on resources at the selected site. Minimization is achieved through the incorporation of
appropriate and practicable design and risk avoidance measures.

No effect is the appropriate conclusion when the action agency determines its action will not

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affect a listed species or designated critical habitat per the ESA.

Other Activities are program and discharge activities that are caused or authorized by the
proposed action. If other activities cause consequences to listed species or critical habitat, the
consequences of these other activities would be considered as effects of the proposed action,
pursuant to 50 CFR 402.02.

Practicable means available and capable of being done after taking into consideration cost, existing
technology, and logistics considering overall project purposes (Rule 62-331.030, F.A.C.).

Programmatic consultation (under ESA implementing regulations 50 CFR § 402.02) is a
consultation addressing an agency’s multiple actions on a program, region, or other basis.
Programmatic consultations allow the USFWS to consult on the effects of programmatic
actions such as:
(1) Multiple similar, frequently occurring, or routine actions expected to be
implemented in particular geographic areas; and
(2) A proposed program, plan, policy, or regulation providing a framework for future
proposed actions.

Project area or Project site means that a portion of the State-assumed waters where specific
dredging or filling activities are permitted and consist of a bottom surface area, any overlying
volume of water, and any mixing zones. In the case of wetlands on which surface water is not
present, the project area consists of the wetland surface area (Rule 62-331.030, F.A.C.). In the
context of the review of State 404 permit applications for endangered and threatened species, also
includes those areas outside the immediate area of activity which may affect listed species using
those areas.

Protection measures means those avoidance and minimization measures to address adverse impacts
to listed species and critical habitat under the State 404 program. Protection measures recommended
by the USFWS are incorporated as conditions to the State 404 permit. Examples of protection
measures include, but are not limited to, project design changes and operational restrictions for the
protection of species (i.e., seasonal restrictions for construction work as used in Chapter 62-331,
F.A.C.).

Proposed species means any species of fish, wildlife or plant that is proposed in the Federal
Register to be listed under Section 4 of the Endangered Species Act (50 CFR § 402.02).

Reasonable potential to affect for the purposes of this document and for the State of Florida’s 404
program, refers to a project that has a reasonable potential for affecting endangered or threatened
species (40 CFR § 233.51(b)(2)) where it has been determined during the species coordination
process that the project may affect federally listed species or their critical habitat.

Retained Waters means those waters which are presently used, or are susceptible to use in their
natural condition or by reasonable improvement as a means to transport interstate or foreign
commerce shoreward to their ordinary high water mark, including all waters which are subject to the
ebb and flow of the tide shoreward to their mean high water mark, including wetlands adjacent
thereto. The USACE will retain responsibility for permitting for the discharge of dredged or fill
material in those waters identified in the Retained Waters List (Appendix A of the FDEP’s State 404
Handbook), as well as all waters subject to the ebb and flow of the tide shoreward to their mean high
                                                   vii

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water mark that are not specifically listed in the Retained Waters List, including wetlands adjacent
thereto landward to the administrative boundary. The administrative boundary demarcating the
adjacent wetlands over which jurisdiction is retained by the USACE is a 300-foot guide line
established from the ordinary high water mark or mean high tide line of the retained water. In the
case of a project that involves discharges of dredged or fill material both waterward and landward of
the 300-foot guide line, the USACE will retain jurisdiction to the landward boundary of the project
for the purposes of that project only (Rule 62-331.030, F.A.C.). The USACE will also retain
responsibility for permitting for the discharge of dredged or fill material in Indian Country, as
defined in 18 U.S.C. § 1151.

Section 7 consultation refers to Section 7(a)(2) of the ESA that requires federal agencies to use
their authorities to further the conservation of listed species, including the requirement to consult
with the USFWS to ensure that they are not undertaking, funding, permitting or authorizing actions
likely to jeopardize the continued existence of listed species or destroy or adversely modify
designated critical habitat.

Section 404 is a section of the federal CWA that establishes a program to regulate the discharge of
dredged and fill material into the WOTUS.

Services(s) describes the USFWS and/or the NMFS.

Species coordination is a process to address potential adverse effects to threatened or endangered
species, ensuring compliance with Florida Chapter 62-331, F.A.C., and the ESA. This process
includes coordination between the FDEP, FWC, and the USFWS during the review of submitted
State 404 permit applications. Recommendations for avoiding and minimizing the effects of a
project to federally listed species and their critical habitat is provided by technical assistance from
the USFWS.

Species coordination lead or State species lead is the designated FDEP or FWC staff person who
coordinates with the USFWS and is the point of contact for all ESA species issues during the review
of a specific State 404 application. FDEP and FWC staff will decide on a project by project basis
which agency will act as the State’s species lead on the project when coordinating with the USFWS.
Factors that will be considered in this decision include the complexity of the coordination and
relative workloads.

State 404 program is the FDEP program (Chapter 62-331, F.A.C.) that fulfills the requirements
of Section 404 of the CWA and its implementing regulations, if approved by EPA.

Stream means any river, creek, slough, or natural watercourse in which water usually flows in a
defined bed or channel. It is not essential that the flowing be uniform or uninterrupted. The fact that
some part of the bed or channel shall have been dredged or improved does not prevent the
watercourse from being a stream (§ 373.019(20), F.S.).

Stressors are any physical, chemical, or biological alteration of resources (i.e., increase,
decrease, or introduction) that can induce an adverse organism response. Stressors can act
directly on an individual, or indirectly through impacts to resources.

Surface water means water upon the surface of the earth, whether contained in bounds created
naturally or artificially or diffused. Water from natural springs shall be classified as surface water

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      when it exits from the spring onto the earth’s surface (§ 373.019(21), F.S.).




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Take means to harass, harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect or attempt to
engage in any such conduct. (ESA 16 U.S.C. § 1532(19)) Harass is further defined as actions that
create the likelihood of injury to listed species to such an extent as to significantly disrupt normal
behavior patterns which include but are not limited to, breeding, feeding, or sheltering. Harm is
further defined to include significant habitat modification or degradation that results in death or
injury to listed species by significantly impairing behavioral patterns such as breeding, feeding, or
sheltering (ESA implementing regulations 50 CFR § 17.3).

Technical assistance refers to a type of coordination process described in the ESA Section 7
Consultation Handbook (1998) that outlines a variety of ways in which the USFWS provides
expertise and guidance on an individual project basis. In the context of FDEP’s 404 permit
application reviews, the USFWS will provide technical assistance to the State of Florida by
providing information, reviews, and recommendations on effect determinations and protective
measures to ensure compliance with the ESA, CWA, and Chapter 62-331, F.A.C.

Technically complete means a State 404 application where each application item is adequate to
allow the FDEP to determine if the proposed project complies with Chapter 62-331, F.A.C. If a
project requires both an ERP and a State 404 program authorization, the State 404 program review
shall not be considered complete until the ERP review is complete. This is to satisfy the requirement
for reasonable assurance that State water quality standards and coastal zone consistency
requirements will be met (Rule 62-331.030, F.A.C.).

Threatened species means any species which is likely to become an endangered species
within the foreseeable future throughout all or a significant portion of its range (ESA 16
U.S.C. § 1532(20)).

Uplands means areas that are not wetlands or other surface waters, as delineated pursuant to Rules 62-
340.100 through 62-340.550, F.A.C., as ratified by § 373.4211, F.S.

USACE 404 program refers to the administration and permitting responsibilities by the USACE
for Section 404 of the CWA, prior to any assumption by the State of Florida.

Waters of the State are as defined in § 403.031(13), F.S.

Waters of the United States (WOTUS) means those waters defined in the regulations under 40
CFR § 120.2.

Wetland means areas that are inundated or saturated by surface or ground water at a frequency and
duration sufficient to support, and that under normal circumstances do support, a prevalence of
vegetation typically adapted for life in saturated soil conditions. Wetlands generally include swamps,
marshes, bogs, and similar areas (40 CFR § 120.2).

Works means all artificial structures, including, but not limited to, ditches, canals, conduits,
channels, culverts, pipes, and other construction that connects to, draws water from, drains water
into, or is placed in or across the waters in the State [§ 373.403(5), F.S.] and includes all types of
dredging and filling to create, remove, or locate structures in, on, or over wetlands or other surface
waters (Rule 62-330.021, F.A.C.).



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CONSULTATION HISTORY

This section lists key events and correspondence during the course of this consultation. A
complete administrative record of this consultation is on file in the Service’s South-Atlantic Gulf
and Mississippi Basin Interior Regions, 1875 Century Blvd, Atlanta, GA 30345.

On March 23, 2018, the Governor signed into law Rule 2018-88, Laws of Florida, which created
section 373.4146, Florida Statutes (F.S.), granting Florida Department of Environmental
Protection (FDEP) with the power and authority to adopt rules to assume and implement the
Section 404 dredge and fill program of the Clean Water Act (CWA).

In 2018 FDEP began coordinating with both the U.S. Environmental Protection Agency (EPA)
and the U.S. Army Corps of Engineers (USACE) to draft separate memorandums of agreement
that describe the commitments and responsibilities of each agency, should the Assumption be
approved by the EPA. FDEP also began assembly of other required components that would
constitute a complete Assumption request package per 40 CFR 233.10-14(b).

In May 2018, FDEP published a Notice of Rule Development to implement the State 404
program and held three rulemaking workshops to collect public comment on the draft rule,
Chapter 62-331, Florida Administrative Code (F.A.C.). FDEP developed its rule to include
federal requirements that are not currently covered under the Environmental Resource Permitting
(ERP) program.

On July 17, 2019, the FDEP sent a request to EPA that sought designation, pursuant to 50 CFR
402.08, to serve as a non-Federal representative for informal ESA section 7 consultation to
prepare a biological assessment (BA).

On September 18, 2019, EPA, FDEP, United States Department of Interior (DOI), U.S. Fish and
Wildlife Service (USFWS), and USACE members attended a meeting to discuss Florida’s
proposal to use programmatic consultation for ESA purposes under the Section 404 Assumption.

On November 22, 2019, FDEP sent a request to USFWS and National Marine Fisheries Service
(NMFS) to review a preliminary list of affected species for a BA.

On December 12, 2019, the FDEP Secretary received a response from the EPA Region IV
Administrator approving the requested non-federal representative designation, allowing FDEP to
move forward with the development of a BA. The EPA response indicated that EPA would
voluntarily engage in informal consultation with the Services on its action on Florida’s request to
assume administration of a Section 404 program.

In February 2020, FDEP published a Notice of Proposed Rule to implement the State 404
program and in April, held five rulemaking hearings to collect public comment on the draft rule,
Chapter 62-331, F.A.C.

In February 2020, FDEP, FWC and USFWS began work to draft a Memorandum of
Understanding (MOU) to describe commitments, roles and responsibilities in the State 404



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program’s species coordination process to ensure species protection, should the Assumption be
approved by the EPA.

On February 25, 2020, FDEP submitted first draft of BA to USFWS for review and comment.
On March 24, 2020, USFWS submitted comments on draft BA to FDEP.

In March and April 2020, additional public hearings were held regarding rulemaking for Chapter
62-331, F.A.C.

On April 15, 2020, NMFS responded to FDEP’s November 22, 2019 letter with the conclusion
that ESA-Listed species under NMFS’ jurisdiction do not occur in waters that are assumable by
the State.

On April 28, 2020, FDEP submitted a revised draft BA (draft BA 2.0) to USFWS for review and
comment.

On May 21, 2020, EPA published a notice in the federal register requesting comment on whether
EPA’s approval of a Clean Water Act Section 404 program is nondiscretionary for purposes of
Endangered Species Act section 7 consultation.

On May 28, 2020, USFWS submitted comments on the second draft of the BA to FDEP.

On June 8, 2020, the Final Notice of Proposed Rule Change for Chapter 62-331, F.A.C. was
published.

On June 18, 2020, FDEP submitted its third draft of the BA (draft BA 3.0) to USFWS

On July 1, 2020, USFWS submitted comments on draft BA 3.0 to FDEP.

On July 24, 2020, FDEP sent EPA and USFWS a final draft BA (20200724_FDEP Final
BA.docx)

On August 20, 2020, EPA received FDEP’s application package requesting EPA’s approval of
the State’s assumption of the administration of the CWA 404 program for assumable waters in
Florida.

On August 28, 2020, EPA indicated its approval of a state 404 program was a discretionary
action subject to compliance with the ESA. EPA also determined that the FDEP’s application
package was complete.

On September 2, 2020, EPA submitted its “ESA Biological Evaluation for Clean Water Act
Section 404 Assumption by the State of Florida” (BE) to USFWS and initiated formal
consultation.

On October 2, 2020, USFWS sent its draft biological opinion (BiOp) addressing EPA’s proposed
action to the EPA



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On October 29, 2020, EPA submitted comments on the draft BiOp.


INTRODUCTION

Section 7(a)(2) of the Endangered Species Act of 1973, as amended, (ESA; 16 United States
Code [U.S.C] 1531 et seq.) requires every Federal agency, in consultation with and with the
assistance of the Secretary, to insure that any action it authorizes, funds, or carries out, in the
United States or upon the high seas, is not likely to jeopardize the continued existence of any
federally listed species or results in the destruction or adverse modification of designated critical
habitat. The ESA’s section 7 implementing regulations stipulate, “Section 7 and the requirements
of this part apply to all actions in which there is discretionary Federal involvement or control,”
(50 Code of Federal Regulations [CFR] 402.03) and that under certain conditions reinitiation of
section 7 consultation may be required where discretionary Federal involvement or control over
the action has been retained or is authorized by law (50 CFR 402.16). The USFWS and NMFS
have been delegated the authority to administer the ESA.

Congress enacted the Clean Water Act (CWA; 33 U.S.C. 1251 et seq.) to “restore and maintain
the chemical, physical, and biological integrity of the Nation’s waters”. The CWA (33 U.S.C
1344) establishes the basic structure for regulating discharges of pollutants into the waters of the
United States and regulating quality standards for surface waters. With respect to discharges of
dredged or fill material, Congress assigned certain authorities and responsibilities to the EPA and
the U.S. Army Corps of Engineers (USACE), and authorizes the USFWS opportunity to provide
comment on requests to assume the program and on certain draft permits or permit applications.
In its regulations at 40 CFR 233, EPA has extended this opportunity to comment on certain state-
issued permits and on program assumption requests to the NMFS. The roles and responsibilities
for implementing the Act differ in scope among the involved Federal agencies, as well as
between Federal agencies and states or tribes administering the Section 404 program.

For example, some of the respective roles include:

USACE
  • Administers day-to-day 404 program in non-assumed waters, including individual and
     general permit decisions;
  • Conducts or verifies jurisdictional determinations;
  • Develops USACE policy and guidance; and
  • Enforces USACE Section 404 permit provisions.

EPA
  •     Develops and interprets policy, guidance, and environmental criteria used in evaluating
        permit applications;
   •    Determines scope of geographic jurisdiction and applicability of exemptions;
   •    Approves and oversees State and Tribal assumption (33 U.S.C. 1344(g)-(l);
   •    Reviews and has opportunity to comment on non-waived permit applications;
   •    Has authority to prohibit, deny, or restrict the use of any defined area as a disposal site


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   (Section 404(c));
   • Can elevate specific cases (Section 404(q));
   • Enforces Section 404 provisions.

USFWS and NMFS
  • Evaluate impacts on fish and wildlife of all new Federal projects and Federally permitted
    projects, including projects subject to the requirements of CWA’s Section 404 (pursuant
    to the Fish and Wildlife Coordination Act);
  • Elevate specific cases or policy issues pursuant to Section 404(q); and
  • Address requests to consult under section 7 of the ESA on program assumption requests ;
    (EPA 2020, https://www.epa.gov/cwa404g/consultation-cwa-section-404-program-
    requests-endangered-species-act-and-national-historic, accessed August 8, 2020)
  • Have opportunity to provide comment on proposed state 404 permits pursuant to
    procedures laid out in 40 CFR 233.50.

As noted above, EPA administers sections 404(g)-(l) (33 U.S.C. 1344(g)-(l)) of the CWA in
accordance with its implementing regulations (40 CFR 233). Sections 404(g)-(l) provide States
and Tribes the opportunity to request assumption of the administration of the CWA 404 program
for assumable waters in lieu of the U.S. Army Corps of Engineers (USACE) 404 program. It is
important to note that some waters of the U.S. are not assumable by a State or Tribe and are
retained under the USACE 404 permitting program (referred to hereafter as “retained waters”).
The EPA is required to follow procedures specified in 40 CFR 233 when evaluating, approving,
reviewing, and withdrawing its approval of a State or Tribal 404 program, and when
coordinating Federal review of State or Tribal 404 permit actions.

EPA has determined that its potential approval of any State or Tribe’s request to assume the
CWA 404 permit program is a discretionary action for purposes of consultation under section 7
of the ESA (Memorandum on Endangered Species Act Section 7(a)(2) Consultation for State and
Tribal Clean Water Act Section 404 Program Approvals dated 8/27/2020). If EPA approves the
Assumption, upon EPA’s publication of its final approval of a State or Tribal assumption, the
USACE would suspend its issuance of section 404 permits in assumed waters and the USACE
would no longer receive CWA 404 permit applications from the regulated community in
assumed waters. Finally, EPA will commence its oversight of the administration of the State or
Tribe’s 404 program and coordinate Federal review of State or Tribal permit actions, in
accordance with 33 U.S.C. 1344(g)-(l) of the Clean Water Act (CWA) and its implementing
regulations (40 CFR 233). If EPA determines a state program no longer complies with the
requirements of 40 CFR 233, EPA may initiate withdrawal proceedings pursuant to the
procedures at 40 CFR 233.53.

On August 20, 2020, EPA received a package from the State of Florida requesting assumption of
the administration of the dredge and fill permitting program under Section 404(g)-(l) of the
CWA.

On September 2, 2020, EPA requested formal consultation with the USFWS and provided the
USFWS with a complete section 7 consultation package that included a biological evaluation



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(BE) and other information concerning the potential effects of its potential approval of Florida’s
assumption on ESA-listed species, pursuant to section 7 of the ESA (50 CFR 402).

The Federal action agency is the EPA and the applicant is the Florida Department of
Environmental Protection (FDEP). The Federal action (action) that we are considering is EPA’s
potential approval of FDEP’s request to assume the CWA 404 permit program in waters of the
U.S. that will not be retained by the USACE 404 permitting program.

Approval of the action would change the permitting authority under section 404 of the CWA in
State-assumed waters in Florida. The EPA’s BE considers the effects of the state-issued permits
on ESA-species of concern. Consistent with this biological opinion (BiOp) and a Memorandum
of Understanding between USFWS, FDEP, and FWC, we will provide technical assistance to
FDEP to insure that no State 404 permit action jeopardizes the continued existence of ESA-listed
species or adversely modifies or destroys critical habitat, pursuant to 40 CFR 233.20(a).

Other activities (program activities) that would occur if EPA approved the State’s 404
assumption request include the State’s implementation of its section 404 program, EPA’s
oversight of the State 404 program, EPA’s coordination of Federal review of State permit
actions, and the execution of State-permitted activities by permit holders. The consequences of
the potential approval of the State’s assumption (including those related to any program activities
caused by the potential approval) on ESA-listed species and critical habitat are considered as
effects of the action, pursuant to 50 CFR 402.

Given the programmatic nature of the action, USFWS conducted a programmatic consultation,
which is defined in 50 CFR 402.02 as: “a consultation addressing an agency's multiple actions on
a program, region, or other basis. Programmatic consultations allow the Services to consult on
the effects of programmatic actions such as:

(1) Multiple similar, frequently occurring, or routine actions expected to be implemented in
particular geographic areas; and

(2) A proposed program, plan, policy, or regulation providing a framework for future proposed
actions.”

In conducting section 7 consultation, the USFWS must follow procedures described in the ESA
(U.S.C. 1531 et seq) and its implementing regulations (50 CFR 402). Some of these requirements
are noted below.

The USFWS must:
    • “…use the best scientific and commercial data available,” (16 U.S.C. 1536(a)(2).
    • “…formulate its biological opinion as to whether the action, taken together with
      cumulative effects, is likely to jeopardize the continued existence of listed species or
      result in the destruction or adverse modification of critical habitat,” (50 CFR
      402.14(g)(4).
    • “Formulate a statement concerning incidental take, if such take is reasonably certain to
      occur,” (50 CFR 402.14(g)(7).


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    •   Where “resultant incidental take of listed species will not violate section 7(a)(2)…, the
        Service will provide with the biological opinion a statement concerning incidental
        take…” (50 CFR 402.14(i)(1).

The USFWS has provided technical assistance to FDEP and EPA throughout the development of
FDEP’s BA that FDEP submitted to EPA as supplementary information in its assumption
application package. EPA utilized FDEP’s BA to develop its BE.

In addition, USFWS reviewed and commented on draft portions of Florida’s 404 program rule
(62-331, Florida Administrative Code [F.A.C.]; Florida’s Environmental Resource Permit rule
62-330, F.A.C.; the Rules’ associated Applicant Handbooks; and a Memorandum of
Understanding (MOU) between FDEP, Florida Fish and Wildlife Conservation Commission
(FWC), and USFWS concerning protected species coordination. The MOU provides a structured
framework for coordinating review of State 404 permits to assess potential effects on State-listed
and ESA-listed species and to insure that no State 404 permit action jeopardizes the continued
existence of an ESA-listed species, or adversely modifies or destroys designated critical habitat.

The USFWS reviewed the EPA’s section 7 consultation initiation package and found it
complete. Information provided by EPA and FDEP is summarized below. This information was
carefully considered by USFWS in formulating this BiOp:

    •   EPA’s letter requesting formal consultation, pursuant to 50 CFR 402.14
    •   EPA’s Biological Evaluation (BE): “ESA Biological Evaluation for Clean Water Act
        Section 404 Assumption by the State of Florida” (dated July 2020, received September
        2, 2020)
    •   EPA CWA 404 Regulations (40 CFR 230 and 233)
    •   USFWS ESA-listed Species Databases (e.g. ECOS)
    •   The State 404 Assumption Package submitted to EPA
            o Florida’s State Statutes: Chapters: 120 – Florida Administrative Procedures Act;
               373 – Water Resources; 403 – Environmental Control; Florida House of
               Representatives Bill 1091; Florida Senate Bill 712
            o Florida’s Administrative Code (FAC) of regulations: 62-4 – Permits, 62-110 –
               Exceptions to the Uniform Rules of Procedure, 62-330 – Environmental
               Resource Permitting Rule, 62-331 – State 404 Permitting Rule, and 62-340 -
               Delineation of the Extent of Wetlands and Surface Waters.
            o Applicant’s Handbooks that are incorporated into FAC: State 404 Program
               Applicant’s Handbook, Environmental Resource Permit Applicant’s Handbook
            o Florida General Counsel’s Statement (dated July 31, 2020)
            o The FDEP-USACE Memorandum of Agreement (MOA)
            o The FDEP-EPA MOA
            o The FDEP-FWC-USFWS MOU for Protected Species Coordination

Pursuant to 50 CFR 402.14(h) (3), this BiOp formally adopts the EPA BE (Appendix I) and the
FDEP, FWC, USFWS MOU (Appendix II), as part of this BiOp. For example, significant
portions of the EPA BE and MOU will be used to describe the action (which includes program
activities), and its potential effects on ESA-considered species and any designated critical


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habitat, and proposed critical habitat. Note that ESA-considered species include ESA-listed
species, ESA Candidate species, species proposed for listing, and petitioned species.

Although the USFWS has adopted and adapted various portions of the EPA’s ESA consultation
initiation package and the MOU in the BiOp, the USFWS has conducted its own analysis of the
best scientific and commercial data available (which includes all the information noted above)
and has given appropriate consideration to any beneficial actions as proposed or taken by the
EPA and FDEP, including any actions taken prior to the initiation of consultation. Measures
included in the proposed action (action) that are intended to avoid, minimize, or offset the effects
of an action are considered like other portions of the action and do not require any additional
demonstration of binding plans. (50 CFR 402.14(g)(8)).

This USFWS BiOp will examine whether and to what degree FDEP’s program, regulations,
processes, and procedures insure that EPA’s approval and FDEP’s subsequent assumption and
implementation of the 404 program is not likely to jeopardize the continued existence of
endangered or threatened species or result in the destruction or adverse modification of critical
habitat.


DESCRIPTION OF THE PROPOSED ACTION

An action, pursuant to 50 CFR 402.02, means all activities or programs of any kind authorized,
funded, or carried out, in whole or in part, by Federal agencies in the United States or upon the
high seas. Examples include, but are not limited to:

(a) actions intended to conserve listed species or their habitat;
(b) the promulgation of regulations;
(c) the granting of licenses, contracts, leases, easements, rights-of-way, permits, or grants-in-aid;
or
(d) actions directly or indirectly causing modifications to the land, water, or air.

With respect to the action’s indirect modifications (or effects) to the land, water, or air, such
modifications are considered as effects of the action and include consequences caused by other
activities that are, themselves, caused by the action (effects of the action are defined in 50 CFR
402.02, 402.17).

The action that this BiOp is analyzing is the EPA’s potential approval of the State of Florida’s
request to assume the administration of section 404 of the CWA for the permitting of discharges
of dredged or fill material into those waters under the jurisdiction of the State 404 program
(“assumed waters”). The processes and procedures for approving State 404 programs are
described in 40 CFR 233 Subpart B. If the assumption is approved by EPA, it will be effective
on the date EPA publishes its approval in the Federal Register.

EPA Requirements for a State’s Assumption of CWA 404 Program
Pursuant to 40 CFR 233.10, Florida submitted an application package to the EPA Region IV
Administrator that included:


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     1. Letter from the Governor of Florida requesting program approval;
     2. Complete program description in accordance with 40 CFR 233.11;
     3. Attorney General's statement, in accordance with 40 CFR 233.12;
     4. Memorandum of Agreement (MOA) with the EPA Regional Administrator, in
        accordance with Section 40 CFR 233.13;
     5. MOA with the Secretary of the Army, in accordance with 40 CFR 233.14; and
     6. Copies of all applicable state statutes and regulations, including those governing
        applicable state administrative procedures.
Attached to the program description, FDEP sent EPA a copy of the FDEP-FWC-FWS MOU that
describes how the State and USFWS would coordinate in evaluating State 404 permit
applications. The action (EPA’s approval of the State 404 program) would change the regulatory
structure for approval of program activities. action These program activities consist of a number
of activities related to the processing of State 404 permits, and importantly, as discussed briefly
above and in more detail later, include a process by which the USFWS will receive and review
all State 404 permit applications and provide technical assistance to the State, as needed, to
insure State 404 permit actions are not likely to jeopardize a species or adversely modify or
destroy critical habitat.

The following summarizes program activities (Fig. 1) that are reasonably certain to occur only
because of the action:

   1. CWA’s requirement for EPA to coordinate federal review of State permit actions, and in
      accordance with 40 CFR 233.50 and 233.51
   2. CWA’s requirement to oversee the operation of the State’s 404 program, and in
      accordance with 40 CFR 233.50 and 233.51.
   3. FDEP’s requirement to administer the State 404 program in accordance with:
         a. All applicable Federal regulations specified in 40 CFR 233
         b. The FDEP-USACE MOA
         c. The FDEP-EPA MOA
         d. The FDEP-FWC-USFWS MOU for Endangered Species Coordination
         e. Florida’s Environmental Resource Permitting Rule (62-330, F.A.C.)
         f. Florida’s 404 Permitting Rule (62-331, F.A.C.)
         g. Processes and procedures specified in the State 404 Program Applicant’s
             Handbook and the ERP Program’s Applicant’s Handbook
   4. A State Permittee’s requirement to follow the State 404 program requirements when
      applying for a State 404 permit and to conduct permitted activities in accordance with the
      conditions in the State 404 permit.




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Figure 1. The proposed action (EPA’s approval of the State 404 program) and program activities that it will cause. Program activities
will be subjected to coordination with USFWS to insure any State 404 permit action is not likely to jeopardize a species or adversely
modify or destroy critical habitat.




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Program activities that will only occur but for EPA approving the State’s Assumption

If the State of Florida’s assumption is approved, FDEP would assume regulatory responsibility
over all dredging and filling activities in WOTUS within Florida not retained by USACE. The
implementation of the State’s program in evaluating permit applications, issuing or denying
permits, compliance and enforcement of permit conditions, and all the ensuing execution of
permitted activities by permittees are considered program activities emanating from the action
and have been considered under this programmatic consultation and BiOp. EPA will retain
oversight of the State 404 program and coordinate review by USACE, USFWS, and NMFS of
State permit actions that are not subject to being waived from EPA review.

The USFWS considers future State permit actions as program activities that are caused by the
proposed action. For example, when the EPA approves the State 404 program, a State 404
permit issuance would be the only legal means for dredge and fill actions to occur in assumed
waters and for those actions to potentially affect ESA-listed species or their designated critical
habitats.

State Processes for administering the State 404 program

If Florida’s program is approved by EPA in accordance with 40 CFR 233, the Secretary of FDEP
will be the State official charged with administering the State 404 program when the program is
approved and has authority to issue permits pursuant to Part IV of section 373 of the Florida
Statutes (F.S.). In accordance with section 373.4146, F.S., FDEP has the power and authority to
issue permits for regulated activities conducted in assumed waters following procedures
stipulated in the State 404 Program Rule (62-331, F.A.C) and State Environmental Resource
Permitting Rule (62-330, F.A.C.) and each Rule’s respective Applicant’s Handbook.

Florida’s 404 Program Rule includes requirements of federal law that are not addressed in the
existing state regulations for dredge and fill permitting (such as noticing provisions, alternatives
analysis, and the federal mitigation hierarchy, etc.). The State 404 Rule, Chapter 62-331, F.A.C.,
also includes definitions, procedures for review of and agency action on exemption requests,
processes for individual permits, public notice requirements, procedures regarding mitigation
banking, and procedures and descriptions for general permits created to correspond to the
USACE Nationwide Permits and appropriate regional general permits as granted by the USACE.

In describing the State’s processes for administering the State 404 Program, this BiOp and
information contained in EPA’s consultation package focuses on describing activities that affect
ESA-listed species, designated and proposed critical habitat, and ESA-considered species, as
opposed to other resource issues such as insuring compliance with regulations specific to
protection of cultural resources or water quality. Provisions and considerations for those other
resource issues are detailed in Federal regulations (40 CFR 233) and State rules (62-330; 62-331,
F.A.C.).

It is important to note the BE describes the relationship between FDEP and the State’s water
management districts (WMDs) and certain local governments whom have been delegated by
FDEP to jointly implement Florida’s Environmental Resource Permitting (ERP) program. The



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agencies’ various responsibilities are divided according to the Operating and Delegation
Agreement (operating agreements) and the geographic regions of the WMDs.

The current State 404 Rule (62-331, F.A.C.) limits the administration and implementation of the
State 404 Program to FDEP, but contains a provision that may allow the State 404 Program to be
delegated to the WMDs by FDEP in the future. CWA regulations (40 CFR 233) would require
this type of change to the State 404 Program to be approved by EPA prior to implementation.

Another important State agency that will be involved in the State 404 Program is the Florida Fish
and Wildlife Conservation Commission (FWC). FWC has historically worked closely with
FDEP in its implementation of the State’s ERP program, which regulates discharge of fill into
waters of the State. FWC has permitting authority over species identified in Chapter 68A-27,
F.A.C., which include the species identified within FDEP’s ERP program.

FDEP cannot authorize impacts, specifically incidental take, of State-listed species identified in
Chapter 68A-27, F.A.C. Therefore, FDEP has historically coordinated protection and
conservation of aquatic and terrestrial fish and wildlife species with the FWC. FWC’s permit
commenting authority was codified upon the agency’s creation of Section 20.331(10), Fla. Stat.
The FWC provides a list of potentially affected federally and State-listed species to FDEP during
ERP application review. It also evaluates potential impacts to State-listed fish and wildlife for
ERP Program project applications that are expected to affect species and habitat, and provides
recommendations for permit conditions to the FDEP to minimize such effects. As described in
the BE (Appendix A), FWC will continue to comment on ERP permits and will be commenting
on State 404 permits should EPA approve FDEP’s assumption of the 404 program, per the State
404 Program Rule (62-331, F.A.C.), the State ERP Rule (62-330, F.A.C), and the FDEP-FWC-
USFWS MOU.

Consideration of ESA-listed Species when processing State 404 permit applications

The following is a summary description of how potential effects to ESA-listed species will be
assessed and minimized when the State processes State 404 permit applications.
FDEP will review all submitted applications for administrative and technical completeness and
forward submitted applications to FWC and USFWS. If FDEP, FWC, or USFWS require
additional information, FDEP will request that the applicant supply any additional required
information prior to publishing a public notice pursuant to Rule 62-331.060, F.A.C.
(administrative completeness), and to determining if the proposed activity meets the conditions
for issuance in Rules 62-330.301, 62-330.302, and 62-331.053, F.A.C. (technical completeness).
The provisions described in the Applicant’s Handbook (Volume I, sections 5.5.3.5 through
5.5.3.7, which govern an applicant’s timeframes to respond to requests for additional
information) apply to applications for State 404 permits. Once FDEP has determined that an
application is administratively complete, FDEP will provide public notice as described in
Subsection 62-331.060(2), F.A.C.
Permit applications will not be considered technically complete until the ERP review, if required,
is complete. This is to satisfy the requirement for reasonable assurance that State water quality
standards and coastal zone consistency requirements will be met. (See Rule 62-331.070, F.A.C.,


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and section 5 of the State 404 Handbook). FDEP may request additional information as
necessary during its review of any information it receives during the public comment period, at a
public meeting, or during Federal review. Importantly, Federal regulations (40 CFR 233.20)
prohibit the issuance of a State 404 permit that is not in compliance with 40 CFR 230, or a
permit that EPA has objected to under 40 CFR 233.50, or if discharges would occur in an area
otherwise protected by 404(C), or in which anchorage or navigation in navigable waters would
be substantially impaired.
State 404 permit application timelines
Pursuant to Rule 62-331.052, F.A.C., FDEP will review the application within 30 days of receipt
of an application for a permit, or receipt of any additional information provided by the applicant
in response to FDEP’s request for additional information, for: 1) administrative and technical
completeness; 2) request any additional information required to publish the public notice; and 3)
determine if the proposed activity meets the requirements for issuance. The applicant may
voluntarily submit a written waiver of the above 30-day deadline to allow more time for FDEP to
determine if additional information is required.
Within 10 days of FDEP determining that an application is administratively complete pursuant to
subsection 62-331.060(1), F.A.C., FDEP will provide public notice as described in subsection
62-331.060(2), F.A.C. In addition, FDEP will send a copy of the public notice to EPA for those
projects that EPA reviews, in accordance with section 5.2.5 of the State 404 Applicants’
Handbook, the FDEP-EPA MOA, and Federal regulations (40 CFR 233.50 - .51). EPA review
timelines and potential public meetings are discussed in section 7.4.2 of the BE.
FDEP issues public notices concerning the following FDEP actions: 1) a determination that an
application for an individual permit or major modification is administratively complete; 2)
notification to a permittee of revocation or suspension of a permit; and 3) issuance of an
emergency field authorization.
From date of publication, interested parties may express their views concerning the permit
application, modification, revocation, or suspension for a period of 30 days, or 15 days for the
projects listed in 62-331.060(b)(3)(b).
The USFWS will receive all permit applications and public notices directly from FDEP in
accordance with the FDEP-FWC-FWS MOU and 62-331, F.A.C. USFWS will also receive
species effect assessments from FWC or FDEP. USFWS will review all permit applications and
effects assessments received from FDEP and FWC. USFWS will submit questions, information
and comments or measures necessary to minimize effects to ESA-listed species as needed.
FDEP, in coordination with FWC, will receive, review, and incorporate any impact minimization
measures received from USFWS into its permit actions pursuant to the FDEP, FWC, USFWS
MOU and FDEP’s State 404 program rule (62-331, F.A.C.).

In accordance with the FDEP-EPA MOA and governing federal regulations (40 CFR 233), EPA
will retain federal oversight authority on the issuance of State 404 permits, with the ability to
review applications, comment on, object to or make recommendations with respect to the permit
including avoidance, minimization and compensation measures..




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In some scenarios and situations, EPA can waive Federal review of State 404 permit applications
pursuant to 40 CFR 233.51(b)(2). Applications for discharges with reasonable potential for
affecting ESA-listed or ESA-proposed species or critical habitat, however, are not waived. For
the discharges subject to EPA review, FDEP will send a copy of the public notice to EPA, in
accordance with section 5.2.5 of the State 404 Handbook (also 40 CFR 233.50(a)(1)). Under the
State 404 program, projects with reasonable potential for affecting ESA-listed or ESA-proposed
species or critical habitat are defined as projects that have been determined by FDEP and FWC,
in coordination with USFWS, to affect listed species and their critical habitats, whether effects
are beneficial or adverse. Details regarding the types and magnitude of effects to species and
their critical habitats, as well as proposed protection measures are to be included in the public
notice.

As detailed in 40 CFR 233.50(b), if review is not waived, EPA will provide a copy of each
public notice, each draft general permit, and other information needed for review of the
application to the USACE, USFWS, and NMFS, within 10 days of receipt. These agencies will
notify the EPA within 15 days of their receipt if they wish to comment on the public notice or
draft general permit. Such agencies shall submit any comments to EPA within 50 days of such
receipt. The final decision to comment, object, or to require permit conditions will be made by
EPA

Within 30 days of receipt of notice, EPA will notify FDEP whether it intends to comment upon,
object to, or make recommendations with respect to 1) a permit application, or 2) a draft general
permit. Within this time period, EPA may also request additional information from FDEP if the
previously provided information is inadequate for determining whether the permit application or
draft permit meets the requirements of the CWA, 40 CFR 233.50, and the 404(b)(1) Guidelines.
EPA may notify FDEP of its intention to not comment but that it reserves the right to object
within 90 days of receipt, based on any new information brought out by the public during the
comment period or at a hearing.
If EPA has given notice to FDEP of the intent to comment, those comments shall be submitted
within 90 days of the receipt of the public notice, draft general permit, or FDEP’s failure to
accept the recommendations of an affected State. . Within 90 days, the EPA will provide a
written statement with comments, objections, or recommendations; and the actions that must be
taken by FDEP in order to eliminate any objections (see 40 CFR 233.50(e) for more details).
FDEP shall not issue a permit until steps required by EPA to eliminate an objection or
incorporate a requirement for a permit condition to a permit application or draft general permit.
Within 90 days of FDEP receipt of EPA’s comments, FDEP or an interested party may request
EPA may hold a public hearing on the objection or requirement (see 40 CFR 233.50(g) and (h)
for more details).
If no public hearing is held, FDEP shall either issue the permit revised to satisfy EPA’s
objections, notify EPA of its intent to deny the permit, or notify EPA that it will not resolve the
objection or deny the permit. In the event FDEP neither satisfies EPA’s objections, requirement
for a permit condition, nor denies the permit, EPA shall transfer the permit application to the
USACE for processing.




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Figure 2. Processes and timelines for processing State 404 permit applications. Subprocess 1-3 described on following page.


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Required information and agency review of State 404 permits
Applicants submitting a State 404 permit application will be required to submit information that allows
the State of Florida (FDEP and FWC) to sufficiently assess potential adverse impacts of the proposed
project on listed species and their designated critical habitats and allow the USFWS to review and
provide technical assistance as needed (62-331.051, F.A.C.). To that end, the following information will
be required as part of the State 404 application:
     •   Description of the proposed activity (including all activities reasonably related to the same
         project, timing and duration of project and related information as required in application)
     •   Description of the specific areas affected by the activity (e.g., site map)
     •   Description of listed species/critical habitat that are present in the area affected by the activity
     •   Description on the manner in which species may be affected by the activity
     •   Analysis of any cumulative effects, which are the effects of future State or private activities
         that are reasonably certain to occur within the project area
     •   Relevant information (e.g., species surveys, etc.)
     •   When needed, proposed project designs and proposed conservation measures that would avoid
         and minimize the expected impacts to listed species and their habitats.
If incomplete, additional information will be requested during the information gathering and review
processes and forwarded by FDEP to the FWC and USFWS in accordance with the FDEP-FWC-
USFWS MOU.

As part of the State-listed and ESA-listed species coordination process, FDEP will provide copies of all
State 404 permit applications to the FWC and USFWS. At the time each application is submitted to
USFWS (or within a short period after submittal), FDEP or FWC will submit a preliminary
determination to the USFWS as to whether ESA-listed species or their critical habitats are expected to
be present and whether they are likely to be affected adversely or beneficially by the proposed State
permit action. In some cases, FDEP or FWC may provide the USFWS with a list of preliminary
protective measures to minimize impacts to ESA-listed species and critical habitats. The USFWS will
review and may suggest modifications or recommend additional protective measures, as needed.
The State’s lead for species coordination may be FWC staff, or the permit processor with FDEP,
depending on the complexity of the request and the workload. Regardless of the designated staff to be
the point person for coordinating with the USFWS, both State agencies will work together as a team for
all projects with listed species issues. For each State 404 permit application review, staff with FWC and
FDEP will determine who will take the lead to coordinate with the USFWS and will copy the other
reviewer on all correspondence. The State species lead will provide, and/or validate the applicant’s
submittal of a preliminary list of species anticipated to be affected, identification of project areas,
preliminary impact/effect determinations, and preliminary proposed impact avoidance and minimization
measures (protection measures) for federally listed and State-listed endangered or threatened species
(and species proposed to be listed) and their critical habitats. Upon coordination with the USFWS on
appropriate protection measures for federally listed species and their critical habitats, FDEP will
incorporate the USFWS-recommended measures as permit conditions, or will issue a Notice of Intent to
Deny the permit.

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Review of estimated species coordination timeframes
As presented in the flow chart (Fig. 2) and the BE (pp. 76-77), State regulations dictate the process and
general timeframes, however, there are transitional periods between these timeframes, and these are
summarized in the steps below (see Application Timelines under 7.4 of the BE).
1) FDEP receives a permit application.
2) Within approximately 3-5 days, FDEP will send a copy to USFWS and FWC. Within approximately
   1 or 2 days of receiving the permit application, FWC will send a preliminary affected species list and
   type of effects determination to USFWS.
3) Within approximately 15 days of receipt, USFWS may send to FDEP any comments or questions it
   has about missing information, or potential affects to listed species or critical habitat, or protective
   measures to avoid or minimize effects.
4) Within 30 days from receipt, FDEP must either request additional information (RAI) from applicant
   or deem the application complete.
5) After FDEP receives additional info, FDEP has 30 days to review the response and:
   a) Request clarification of answers to the questions; or
   b) Notify applicant their application is complete.
6) Preferably before the application is deemed complete or before a public notice is issued, FWC and
   USFWS may determine whether there is reasonable potential to affect listed species, or critical
   habitats, and if so, the types of effects, and any appropriate potential protective measures. These
   determinations are forwarded to FDEP.
7) After the application is deemed complete, FDEP has 10 days to issue a public notice for applications
   for individual permits.
8) If the EPA has waived review, then after the public comment period closes, FDEP has either 60 or
   90 days to issue or deny the permit.
9) If EPA reviews the public notice, then Federal regulations (40 CFR 233.50) will govern the process
   of State 404 permit review by EPA.
   a) EPA has 10 days to send a copy of the public notice to USFWS.
   b) USFWS has 15 days to notify EPA it intends to comment
   c) USFWS has 50 days from receipt of public notice from EPA to send comments to EPA
   d) EPA has 90 days to send comments or objection to FDEP. The final decision to comment, object,
      or to require permit conditions will be made by EPA.
After considering the timeframes identified in the State regulations and the transitional periods described
in the BE, we estimate the total time that USFWS will have to review and comment on a permit
application that had all the necessary information at the start and where review has been waived by EPA,
would be approximately 55-70 days, depending on whether the public comment period was 15 days or
30 days. However, if additional information was required before FDEP considered the application to be
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complete, the maximum amount of time USFWS would have to review and comment would be
increased accordingly.
Identifying applications that may pose adverse impacts
The FDEP/FWC species coordination and technical assistance with the USFWS will begin before the
application’s public notice is posted. The USFWS will receive the application prior to FDEP posting a
public notice and USFWS may submit information and questions to FDEP prior to FDEP posting a
public notice. The public notice will also go to the USFWS, and provides details regarding the type of
effects/impacts to species and their critical habitat and any proposed protection measures recommended
by USFWS. The technical assistance process between the USFWS, FDEP, and FWC will not be
considered complete until any modifications are incorporated as a result of the public notice. If needed,
technical assistance with the USFWS may continue during and after the public notice period.
Upon receiving an application, FDEP and FWC will review the submittal by the applicant and
preliminarily identify the affected species, affected project area, and critical habitats. The species lead is
responsible for making a preliminary determination for affected species, affected project area and
critical habitats, and assess whether, and what type of, adverse impacts to endangered or threatened
species and their critical habitats is expected. FDEP will forward the application to FWC and the
USFWS within three-five days of receipt. The species lead will contact the USFWS and send their
preliminary assessments to the USFWS as soon as possible. USFWS may submit questions regarding
missing information FDEP, but must do so within 20 days of receiving the permit application.
For example, if FDEP received an application on June 1st and forwarded it to USFWS on June 5th, any
questions USFWS wishes to convey to the applicant must be relayed through the species coordinator by
June 25th. If USFWS has no questions, technical assistance simply continues. All comment deadlines for
USFWS’s response will be included in FDEP/FWC initial submission of the permit application to
USFWS.
      •   If FDEP/FWC does not get a response from the USFWS by the deadline for questions or
          comments, the lack of a response will be considered a “no comment” and no further
          information from the USFWS is needed. USFWS has internal processes in place to ensure that
          all applications are received and reviewed. As a fail-safe, USFWS may submit its questions
          during the public notice period for the State 404 application should USFWS not respond
          during the early phase of FDEP-USFWS coordination. If the State species coordinator believes
          that effects may be significant and the lack of response may be in error, they will contact the
          USFWS to confirm. In addition, the USFWS will receive a copy of all public notices and may
          provide comments to EPA and/or FDEP at that time, as needed.
      •   For the determination of potential affected species, project area or impact/effect on the species,
          if FDEP/FWC receives a response from USFWS with additional information to consider, the
          information will be re-evaluated and resubmitted to USFWS, if needed.
      •   Once it has been determined by FDEP/FWC that an application will have no adverse impacts
          or adverse effects to federally listed endangered or threatened species (or species proposed to
          be listed) or their critical habitats, and the USFWS has not submitted information or questions
          that would lead the State to reconsider its determination, the species review concludes for that
          application. If the applicant modifies the project activities or increases the project area as the
          application is continued to be reviewed, FDEP/FWC/USFWS may re-evaluate the application

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         with this information, if warranted (e.g., if the new project area would include additional listed
         species or critical habitats not considered in the previous review).
     •   Once it has been determined by FDEP/FWC that an application may cause an adverse impact
         or adverse effect to federally listed endangered or threatened species (or species proposed to be
         listed) or their critical habitats, technical assistance with USFWS continues in order to
         determine if, and how, the impacts and effects can be addressed with protection measures.
Coordination of protective measures with the USFWS
     •   For applications determined to have an adverse impact to federally listed species or species
         proposed to be listed or their critical habitats, the species coordination lead will forward all
         available information to the USFWS with a request for additional technical assistance.
     •   The FDEP/FWC species coordination lead will compile additional information or questions
         needed to complete the review, including information or questions from the USFWS, to
         forward to FDEP. These questions and requested information will be incorporated into the
         FDEP’s RAI to the applicant.
     •   The species coordination lead will coordinate with the USFWS regarding potential protection
         measures that may avoid or minimize the anticipated adverse impacts. In some cases,
         depending upon the project, the USFWS may submit recommendations to FDEP/FWC. In
         other cases, the species coordination lead will compile a package that presents the proposed
         protection measures and transmit the package to USFWS for their review and comment.
     •   After USFWS provides/agrees with recommended protection measures appropriate to avoid or
         minimize the expected adverse impacts associated with the proposed project, the protection
         measures are incorporated into the public notice as proposed permit conditions.
           o If modifications are made during the public comment period that may change the original
             determination or anticipated effects to species or their critical habitats, FDEP reviewers
             will forward this information to FWC and USFWS for further review and comment.
           o If no modifications are made, or if the modifications during the public notice process can
             be addressed by FDEP/FWC/USFWS, protective measures are incorporated into the
             permit as special conditions and the species review concludes for that application.
     •   If the review by FDEP, FWC, and USFWS concludes that adverse impacts are likely to
         jeopardize the continued existence of a species, or will destroy, or adversely modify critical
         habitat, either of the following alternatives may occur, depending upon the project:
           o Additional protection measures that will satisfy the requirements of the ESA and avoid
             jeopardy or adverse modification are developed in coordination with or as recommended
             by USFWS, and FDEP incorporates those measures as permit conditions and processes
             the permit; or
           o The FDEP issues an “Intent to Deny” the application for a permit.
Summary of USFWS commitments triggered by approval of the action
If EPA approves FDEP’s assumption of the 404 program, the State 404 program rule (62-331, F.A.C.),
State ERP rule (62-330, F.A.C.), Federal oversight and coordination regulations (40 CFR 233), and the
FDEP-FWC-FWS MOU will be activated and implemented. As a result of their activation and
implementation, the USFWS will:
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   1. Receive all the 404 permit applications sent by FDEP.
   2. Review all the 404 permit applications sent by FDEP.
   3. Determine whether the permit application has the required information needed to assess:
           a. Whether or not issuing the permit is likely to jeopardize an ESA-listed or proposed
               species of fish, wildlife, or plant species or cause adverse modification to proposed or
               designated critical habitat of such species; and
           b. whether or not take, as defined by the ESA and it implementing regulations (50 CFR
               402.02; 50 CFR 17.3) is reasonably certain to occur as a result of issuing the permit after
               taking into account all the protection measures that the FDEP and/or the applicant
               propose to implement.
   4. If there is missing information necessary to complete the USFWS review, the USFWS will
      promptly notify FDEP.
   5. If all the necessary information is provided to complete step 3, USFWS may provide FDEP with
      technical information regarding species biology, types and likelihoods of potential effects of the
      proposed permit on the species, and recommended measures that would avoid or minimize
      effects, as appropriate with the understanding that final FWS conclusions regarding effects to
      species are determinative. The USFWS evaluation of the likelihood that a permit action may
      jeopardize a species or adversely modify critical habitat will take into account the effects of any
      unrelated non-federal actions occurring in the project area, similar to the way a cumulative
      effects analysis is conducted under section 7 of the ESA.
   6. If USFWS has information that would disconfirm the State's effect determination, the USFWS
      will provide that information. Otherwise, the USFWS response may indicate the application had
      been received and reviewed by USFWS and USFWS has no comments.
   7. Monitor and track the amount of anticipated take on a project by project basis in order to inform
      future species status assessments and future effects assessments.
   8. Document all the above as events under the State 404 programmatic BiOp official file.

USFWS will be conducting the actions described above through the technical assistance process, and not
through section 7 or section 10 of the ESA. To clarify that USFWS coordination through a technical
assistance process, USFWS will not “concur” with any effect determinations made by the State of
Florida, but rather may provide comments and conditions that must be implemented in order for the
permit to be issued. This process of USFWS coordination and technical assistance operates similarly to a
section 7 consultation because it has a similar objectives of 1) ensuring a State 404 permit action is not
likely to jeopardize a species or adversely modify or destroy critical habitat, and 2) minimizing and
tracking the amount of incidental take if take is reasonably certain to occur.
Assessing potential effects of a State permit application
The following description adopted from the BE presents the structure of the species coordination process
and how potential impacts of regulated activities will be evaluated to insure compliance with Federal
regulations (40 CFR 233; 50 CFR 402) and State rules (62-330; 62-331, F.A.C.).
Identifying the Project Area and Affected Species
The BE states the first step in assessing potential adverse impacts to listed species or those proposed to
be listed as endangered or threatened, as well as their critical habitats, is to define the project area
(similar to the “action area” during a federal section 7 consultation). The project area can be larger than
the immediate area of activity, since it is an identification of all areas that may affect listed species and
their critical habitats directly or indirectly by the project’s activities.
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For species within the USFWS’s jurisdiction, the USFWS’s Information for Planning and Consultation
(IPaC) website (https://ecos.fws.gov/ipac/) allows for the user to draw a polygon to represent the project
area. The project area must include the proposed project’s potential impacts to the affected species and
their habitats, and critical habitats, even those traditionally considered as offsite, if the impacts would
occur as a result of approval of the project. By creating a polygon that is geographically referenced, the
system will produce a preliminary list of resources for the area chosen. This list of species and critical
habitats will be considered preliminary, because all potential adverse effects need to be determined (and
some species may need to be confirmed by on-site surveys) and verified during the State and Federal
species reviews. The result of this online search will also include critical habitats that overlap with the
project area. While critical habitat is a special designation under the ESA, during project reviews all
occupied habitat within the species range that may be adversely affected will be considered if the
project’s activity may affect listed species, even that which is not designated as critical habitat under the
ESA.

Available Federal decision tools
Once there is a proposed affected species list, the State’s species coordination lead determines
(preliminarily or concurrently with the USFWS) whether adverse effects/impacts are likely to occur. The
types of impacts that may occur could be beneficial to species and their critical habitat or could
adversely impact or adversely affect them. Adverse impacts to species include the potential for harm to
members of the species, such as injury, death, or those that occur by loss of feeding, breeding, or
sheltering resources due to a project’s activities affecting habitat where members of the species exist.
Adverse impacts also include the potential for jeopardizing the continued existence of a species, or
adversely modifying critical habitat. Adverse effects/impacts to one or more individuals, can result
directly from dredging and filling activities involved with construction or demolition proposed by the
project, as well as secondary impacts caused by the ongoing operations of the project once constructed.
Assessment of adverse cumulative impacts must be considered during the review of State 404 permit
applications; the assessment of expected impacts to species that may be caused from a particular project
must be considered along with the impacts that may have been caused from past authorized projects, as
well as those future projects that are reasonably certain to occur. Adverse impacts to habitats,
particularly critical habitats, include alteration or destruction of the physical and biological
characteristics of that habitat. These characteristics are important to the listed species using the area, and
harm to species may occur temporarily during construction or permanently during operation or by
alteration of the habitat.
For some species, the IPaC system provides Federal species guidelines. These guidelines include
General Project Design Guidelines, Habitat Assessment Guidelines, Species Survey Guidelines, Effects
Determination (consultation and/or dichotomous) Keys, conservation measures, guidance for
determining whether a species ‘may be present’, proactive management suggestions, Species
Assessment Guides (SAGs) or Standard Local Operating Procedures for Endangered Species (SLOPES).
Programmatic consultations, when available, are anticipated to be used to help identify where
impacts/effects will occur and whether technical assistance with the USFWS is needed. Some
programmatic consultations do not exempt take; rather, they attempt to avoid take through setting
project-specific criteria that either determines a project is “not likely to adversely affect” a listed species
or critical habitat, or sets avoidance and minimization measures that allow a “not likely to adversely
affect” determination to be made. Because these consultation keys and programmatic biological
opinions cover many of the species which are most often the subject of ESA section 7 consultations in
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Florida, they include many useful measures to identify, avoid, or minimize adverse effects to ESA-listed
species.
The objectives of developing and using effect determination decision assistance tools, particularly
SLOPES, are to:
         •   Increase the effect determinations’ accuracy and consistency;
         •   Improve completeness and efficiency in the documentation of the administrative record;
         •   Decrease the amount of staff and time needed to complete certain types of consultation or
             species coordination; and
         •   Improve ESA-listed species conservation and the regulated community’s compliance with
             the ESA.
For example, effect determinations for wide-ranging species such as the Wood Stork determination key
has been used extensively and has had some success. As stated in chapter 4.2.2. of the BE, the Eastern
Indigo Snake and Wood Stork accounted for 56.6% of all species-level consultations in Florida between
2014 and 2018 (BE, p. 47). Species guidelines, or decision guidance tools, are also available
independently from the IPaC system on the USFWS website.
These types of tools are available to project proponents and permit reviewers and provide consistent
criteria to reach impact/effect determinations. The State’s species coordination lead to facilitate the
USFWS’s review. The review process for species with these types of decision tools will likely be
slightly different and simplified compared to those species that do not have these tools. In the early
stages of reviewing a State 404 permit application, the State’s species lead will use these decision tools
to arrive at impact/effect determinations and potential protection measures. This preliminary review will
be submitted to the USFWS with a request for technical assistance, allowing the USFWS to ask
questions or provide additional information that may change the conclusions. After the species review
outcome is finalized, technical assistance from the USFWS ends for those species and the protection
measures are incorporated as conditions to any State 404 permit that is issued.

Project-by-project assessments when tools are not available
The BE states for those species or activities that do not have federal species guidelines or decision tools,
a case by case assessment must be performed. A preliminary assessment will be performed by the
applicant and verified or expanded upon by the FDEP/FWC species coordination lead. Applicants will
need to provide all of the information necessary to perform an assessment of potential impacts to listed
species and their habitats, as well as submitting proposed protection measures to avoid and minimize the
anticipated impacts.
The BE states the following factors will be considered when evaluating the impacts/effects of the
activity:
         •   Proximity of the activity to the species and/or designated critical habitat;
         •   Location and extent of the area of disturbance;
         •   Timing (with regards to sensitive periods of a species lifecycle);
         •   Duration of the activity or impact;

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          •   Disturbance frequency, and
          •   Nature of the effect (elements of a lifecycle, population size, variability, or distribution,
              physical and biological features of habitat, etc.).
Federal species guidelines, information on IPaC, USFWS specific species webpages, the results of
species surveys, (see Table 7.2 of the BE for guidance), relevant scientific literature, species accounts in
Appendix B of the BE, stressors and effects in Appendix C of the BE with discussion in Chapter 5 of the
BE, and other available sources of information are reviewed to develop preliminary conclusions of
impact/effect as well as develop any potential protection measures.
Physical or biological features essential to the conservation of the species as identified in the final rules
designating critical habitat for specific listed species should be considered to determine whether there
may be adverse modification of critical habitat.
The BE states the species coordination lead will use the information from the applicant and assess all the
data available to them to determine if there will be impacts to any listed species and the severity of
adverse impacts to each species and habitats present in the project area. For projects with large amounts
of acreage or that are intensive in the amount of activities proposed, or with multiple species and critical
habitats, a written assessment determining preliminary anticipated adverse impacts and protection
measures to avoid and minimize those impacts would be developed. This preliminary review will be
submitted to the USFWS with a request for technical assistance or would be developed in coordination
with the USFWS. The USFWS may comment, provide recommended protection measures, or provide
additional information that may change the conclusions and protective measures. Once the species
coordination review and technical assistance with the USFWS is completed, the species coordination
process with the USFWS ends for those species and the protection measures are incorporated as
conditions to any State 404 permit that is issued. At any time during the review of State 404 permit
applications, if modifications to the project are proposed after the species coordination process, the
species review will be revisited with the USFWS. If modification occurs after the application is granted,
and the modification causes effects not previously considered by USFWS, the applicant may not be in
compliance with this BiOp and may any incidental take that occurs may not be exempt from being
considered as prohibited undersection 9 of the ESA.
Impact/effect determinations and protective measures
The BE states the word “impact” used in Chapters 62-330 and 62-331, F.A.C. describes effects similar
to “may affect” and “adverse effects” under ESA. Throughout this document, these terms are used
interchangeably. The State 404 program has two standards of review regarding the protection of listed
species: the species protections required under CWA and ESA, and the species protections required
under State Chapters 62-330, and 62-331, F.A.C. Under State rules, the requirements of CWA and ESA
are incorporated into the species review process for adverse impacts to listed species and their habitats.
The State rules are broad; the ERP rule and State 404 program rule protect not only federally listed and
State-listed species, but all fish and wildlife in Florida.

While the State 404 program has been developed to meet the requirements of CWA and ESA, it also
relies on the requirements of the existing State ERP program. The ERP program requires the applicant to
provide reasonable assurances that the proposed activities will not damage or harm the water resources
of the State nor reduce the value of wetland functions including functions provided to fish, wildlife and
listed species. A state or federally listed species’ ability to nest or den cannot be interrupted by negative

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impacts to the uplands or wetlands a listed species uses. Subsection 62-330.301(1)(d), F.A.C. requires an
applicant provide reasonable assurance that the construction, alteration, operation, maintenance,
removal, or abandonment “will not adversely impact the value of functions provided to fish and wildlife
and listed species by wetlands and other surface waters” to obtain approval for a permit. This review
also includes consideration for secondary and cumulative impacts.
The BE states the protection measures are defined as those avoidance and minimization measures to
address adverse impacts to listed species and critical habitat. Protection measures, in the form of
avoidance and minimization measures recommended by the USFWS, are incorporated as conditions to
the State 404 permit. Examples of protection measures include but are not limited to project design
changes and operational restrictions for the protection of species (i.e., seasonal restrictions for
construction work).
Determining impacts and effects to ESA-listed species when decision assistance tools are not
available
The BE states when decision tools are not available, the determination of whether a project’s activities
will affect endangered or threatened species is preliminarily made by FDEP and FWC, and coordinated
with USFWS during the technical assistance process. Information about a species should be cross-
referenced with knowledge of the project’s activities and the project area to help predict whether and
how the species at any life stage will respond when exposed to the effects of the activities. Based on best
available data, if any of the following occurs it will be determined that the project will adversely
impact/effect the species and technical assistance with the USFWS to determine possible protective
measures is required. The following is to be used as guidance for making a “may adversely impact”
determination:
     •    Data indicate the species may be exposed to the elements of the activity and respond
          deleteriously upon exposure to elements of the activity or to stressors produced by the activity;
          or
     •    Data indicate the proposed activity will cause changes to the physical and biological features of
          critical habitat and produces exposure or stressor to species.
As the species coordination process progresses during the review of a State 404 permit application,
proposed activities will be assessed for potential effects to species. The USFWS will review and may
provide additional information on whether adverse impacts are anticipated to occur, and how
significantly the impacts are expected to affect the species or critical habitats. These determinations can
be categorized as follows:
     •    No Effect/No Impact
     •    Not Likely to Adversely Affect/Impact
     •    Likely to Adversely Affect/Impact
     •    Jeopardizes the Continued Existence of the Species, and/or Destroys or Adversely Modifies
          Critical Habitat


No Effect/No Impact


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If physical or biological features essential to the conservation of the species are not present or are
present but will not be affected in the project area, then no further review of effects/impacts to critical
habitats is required. In addition, a determination of “No Effect/No Impact” would be made if listed or
proposed species or critical habitats do not occur and do not have the potential to occur on a site. If
neither the species nor the critical habitat will respond in any manner, no further review of adverse
impacts to species is required and technical assistance with the USFWS is concluded.
Not Likely to Adversely Affect/Impact
This determination is reached when there is reasonable certainty that a proposed activity may affect a
species or designated critical habitat, but the effect is not anticipated to cause harm to a member of the
species, nor cause adverse impacts to critical habitat that would result in harm to a listed species
dependent on that habitat. The impact expected may not require protective measures (if discountable, or
insignificant) or it may be deemed as not likely to adversely affect via required protective measures to
avoid and minimize the effects.
Likely to Adversely Affect/Impact
This determination is reached when there is reasonable certainty that a proposed activity may adversely
affect a species or designated critical habitat, and the effect is anticipated to cause harm to a member of
the species and/or cause adverse impacts to critical habitat that would result in harm to a listed species
dependent on that habitat. Harm to an individual(s) means injury or death. The level of harm, however,
may not result in jeopardizing the continued existence of the species or destroying or adversely
modifying critical habitat. The adverse impact expected is likely to require protective measures to avoid
and minimize the effects.
Jeopardizes the Continued Existing of the Species and/or Destroys or Adversely Modifies Critical
Habitat
The State 404 program rule includes stipulations (Rules 62-331.053(3)(a)4, 62-331.201(3)(k), and 62-
331-248(3)(k) F.A.C.) that prohibit issuance of a permit that will likely jeopardize the continued
existence of endangered or threatened species, or result in the likely destruction or adverse modification
of habitat designated as critical for these species as determined by USFWS. The USFWS evaluation of
the likelihood that a permit action may jeopardize a species or adversely modify critical habitat will take
into account the effects of any unrelated non-federal actions occurring in the project area, similar to the
way a cumulative effects analysis is conducted under section 7 of the ESA.
Through technical assistance with the USFWS, the FDEP and FWC will be informed of when a
proposed project and its activities is anticipated to jeopardize the continued existence of the species, or if
critical habitat is destroyed, or adversely modified. Under these circumstances, the FDEP, FWC,
USFWS and the applicant will discuss to determine what, if any, protective measures may be
appropriate.

The BE lists anticipated stressors in Table C.1. of Appendix C and notes anticipated effect
determinations in Table C.1.b of Appendix C. During future reviews of State 404 permit applications,
however, all potential impacts and effects to species and their habitat will be assessed and addressed
during project by project permit application reviews.




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State 404 process for developing and ensuring implementation of protective measures
The BE states after the determination of “may adversely affect/impact” and the level of adverse impact,
the species coordination process continues between the State species coordination lead and the USFWS
during the review of a State 404 permit application. In order to move towards authorization of an
activity, the project’s adverse effects/impacts to species and habitat that have been identified must be
avoided and minimized by implementing protective measures. Those protective measures may likely
either modify the project design, modify the project operation, or follow species-specific protective
measures. Early in the review process, the species lead will draft and compile the applicant’s
information as well as their own assessment and forward to the USFWS for review. The assessment may
also be done in coordination with the USFWS, depending upon the project. The USFWS may or may
not comment on the proposed preliminary impact review and proposed protection measures, and the
finalized assessment and recommendations may be provided to the applicant in the form of comments
and draft permit conditions. The USFWS may also recommend additional avoidance and minimization
measures, provide recommendations for appropriate permit conditions if none were proposed in the
informational package sent to them, or state that the proposed measures are not adequate to avoid or
minimize effects to species and their critical habitats.
Some of the Federal species guidelines discussed in the previous subsection of this chapter provide
minimization measures that are considered standard conditions for adverse effects associated with
common, minor activities. For other species, there are typical minimization measures for common
activities that are frequently incorporated into permits as standard conditions that may not be associated
with programmatic guidance but can be found in biological opinions. Some projects, particularly those
with a greater level of adverse impacts or multiple activities and/or multiple species that may be
affected, have a need for a more comprehensive assessment and intensive coordination with USFWS.
In addition to species-specific protective measures, thorough assessments of adverse impacts to habitat
must be performed in order to ensure alterations to habitat do not adversely affect listed species. There
are various methods for avoiding and minimizing effects of dredge and fill activities within wetlands.
Some impacts can be avoided or minimized through BMPs (e.g., silt fences, turbidity curtains,
containing dredge materials during dewatering, transfer and storage), while others require administrative
restrictions or permit conditions (e.g., contractor education, not refueling equipment within 100 feet of
wetlands) to protect wetlands, waters, or “at-risk” species. A major administrative control that
compensates for wetland destruction is wetland mitigation. Wetland mitigation includes the
enhancement, restoration, establishment, and/or preservation of wetlands that serve to offset unavoidable
impacts on wetlands (FDEP 2019b). Governments and agencies have used this policy across North
America with notable levels of success (NAWCCC 2000). The species coordination process will avoid
and minimize adverse impacts to habitat when practicable.

In addition, FDEP intends to incorporate adaptive management into the State 404 process as needed,
particularly as it pertains to wetland compensatory mitigation projects. Per the FDEP’s State 404
Applicants’ Handbook, wetland compensatory mitigation projects that cannot be constructed in
accordance with the approved mitigation plans will require FDEP approval prior to any significant
modifications. Wetland compensatory mitigation projects not progressing toward meeting their
performance standards will be evaluated for measures to address deficiencies and a determination as to
whether these modifications will result in the project meeting its original ecological objectives.


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These modifications/measures may include but are not limited to site modifications, design changes,
revisions to maintenance requirements, and revised monitoring requirements. The measures shall be
designed to ensure that the modified compensatory mitigation project provides aquatic resource
functions comparable to those described in the mitigation plan objectives. Performance standards will be
revised to address deficiencies in wetland compensatory mitigation projects and to reflect changes in
management strategies and objectives if the new standards provide for ecological benefits that are
comparable or superior to the approved compensatory mitigation project. No other revisions to
performance standards shall be allowed except in the case of natural disasters.
Best management practices for wetland protection
BMPs, including schedules of activities, prohibitions of practices, maintenance procedures, and other
management practices to prevent or reduce the pollution of WOTUS from discharges of dredged or fill
material, will be implemented for all projects under the State 404 program. BMPs include methods,
measures, practices, or design and performance standards which facilitate compliance with the Section
404(b)(1) Guidelines (40 CFR 230), effluent limitations or prohibitions under Section 307(a), and
applicable water quality standards.
Wetland mitigation measures included in a Section 404 application may also offset effects or result in
longer-term beneficial effects to ESA-listed species; however, they are part of the wetland protection
process of the State 404 and ERP processes and not a requirement of the ESA coordination.
Protective measures for plants and animals
In Florida, fifty-four (54) plant species are on the Federal list of endangered species and 14 are on the
Federal list of threatened species. The ESA (16 USC section 1531) provides protection to both
endangered and threatened plants and animals. The ESA, however, does not prohibit the destruction,
damage or transplantation of protected plants unless such activities involve an endangered species on
Federal land or if the activities occur in violation of state laws. If a person wishes to develop private
land, with no Federal jurisdiction involved, and if the proposal is in accordance with state law, then the
potential destruction, damage, or movement of endangered or threatened plants does not violate ESA.
Further, a section 10 ESA incidental take permit is only needed in situations where a non-federal project
is likely to result in “take” of a listed species of fish or wildlife; there is no such process for plants.

But while incidental take does not apply to plants, an assessment of jeopardy and adverse modification
to critical habitat under section 7(a)(2) applies to plants. For the State 404 program, 40 CFR 233.51(2),
and 40 CFR 233.20(a) would prohibit issuance of a State 404 permit that will jeopardize a plant species
or adversely modify its critical habitat. FDEP will incorporate any reasonable and prudent measures and
terms and conditions provided by the USFWS into permit conditions for a State 404 permit for such a
project.
Endangered, threatened and commercially exploited plant species in Florida are regulated by the Florida
Department of Agriculture and Consumer Services, by their Division of Plant Industry. Florida’s State
ERP program under Chapter 62-330, F.A.C. and the State 404 program under Chapter 62-331, F.A.C.
include plants in the definition of endangered and threatened species, which requires consideration of
adverse impacts resulting from activities authorized under these programs. During the permit review
process for each type of permit, FDEP will evaluate potential impacts and effects to State and ESA-
listed plant species. Similar to animal species, USFWS will provide recommendations as needed to
avoid and reduce anticipated impacts. For those types of projects where jeopardy is not expected to
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occur and no adverse modification to critical habitat is expected, some projects may still need protective
measures incorporated as permit conditions in order to adequately conserve endangered and threatened
plant species.
The State 404 program, the State ERP program, and the ESA provide protection to both endangered and
threatened plants and animals. As with animals, there could be a situation in which a federally listed
plant is located in the upland portion of the project area that is adjacent to assumable waters and would
be affected by the permit. The State 404 program is required to consider adverse impacts in uplands that
would not occur except for the authorization of the proposed activity. In addition, while the State 404
program does not have jurisdiction in isolated wetlands, the ERP program does have jurisdiction and can
address adverse impacts to animal and plant species dependent on these wetlands.
Ensuring protection for ESA-listed species in Florida
The State of Florida is required to incorporate all USFWS recommendations for protection measures as
State 404 program permit conditions (Subsection 62-331.054(1), F.A.C.). The existing working
relationship and coordination during the review of projects would continue between the FDEP and the
USACE. The FDEP will add fields in their permitting tracking database that will continue the collection
of data done by the USACE for past Section 404 permits. This data will continue the monitoring of
adverse effects on listed species and critical habitat, facilitating the State’s ability to conduct its
compliance obligations.

In the current ERP program, FWC provides recommendations to FDEP and the WMDs for State-listed
species and some federally listed species that are also protected by Florida Statutes, such as manatees
and sea turtles. FWC has committed to assist FDEP in the State 404 program review for impacts to
ESA- listed species, and the current collaboration between FDEP and FWC will be enhanced by the
State’s Assumption of the 404 program if EPA approves it. FWC and the USFWS have a long-standing
partnership and a current ESA section 6 Cooperative Agreement for conserving Florida’s federally
endangered and threatened wildlife. The BE anticipates the relationship between FWC and USFWS will
bring an existing high level of cooperation, knowledge, and expertise to the State 404 program. In
addition, FDEP, FWC and USFWS have entered into a Memorandum of Understanding to identify
commitments, roles and responsibilities regarding species coordination for the State 404 program as well
as the ERP program (Appendix II).

The BE and MOU indicate the State 404 program species coordination process involves the applicant,
FDEP, FWC and USFWS, and encourages compliance by the applicant to avoid and minimize adverse
effects, reducing the expected impacts to listed species and their critical habitats. The interactions
between agencies and the applicant will inform applicants of the importance of this process in order to
be eligible for authorization of their proposed activities and in order to ensure compliance with the ESA.
Finally, if the applicant for a State 404 permit is the holder of a pre-existing valid and active biological
opinion with an incidental take statement, or a Habitat Conservation Plan with an Incidental Take Permit
(HCP/ITP) that was issued by the USFWS and the species and activities described in the State 404
permit application are covered by that particular biological opinion, or HCP/ITP, then FDEP may
stipulate as a permit condition that the applicant must comply with that biological opinion or ITP. FDEP
will confirm the validity and applicability of the applicant’s pre-existing biological opinion or HCP/ITP
with the USFWS before taking any final action on the State 404 permit application.


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State 404 process regarding statements of adverse impact in public notices
The BE states while many adverse effects can be avoided and minimized during the species coordination
review process, impacts that are likely to adversely affect a species (e.g. likely to cause incidental take
or jeopardy) or critical habitat (e.g. destroy or adversely modify critical habitat) must be recorded,
monitored, provided to the USFWS for tracking and species conservation purposes. These types of
projects will receive the most stringent review and be documented in the Public Notice as well as the
FDEP database and project file.
The public notice, required by Rule 62-331.060, F.A.C., will include an effect determination statement
and include the proposed protection measures, if known at the time of publication. The effect
determinations statements for species and critical habitats would include one of the following: “No
Effect/Impact”, “May Affect, Not Likely to Adversely Affect/Impact”, or “May Affect, Likely to
Adversely Affect/Impact”.
The USFWS will receive copies of all applications when submitted, including those FDEP/FWC has
preliminarily determined as “No Effect/No Impact”. If the USFWS elected to not respond to these types
of applications upon first submittal, they will still receive public notices for these applications and may
elect to comment at that time. Receiving public notices for all applications also provides an opportunity
for the USFWS to re-review all of the effect determinations made by the State and provide oversight of
the species coordination process. Along with the public notice, the USFWS will receive copies of all
applications and supplemental information submitted for applications required to be publicly noticed,
with all stated effect or no effect determinations.
With the public notice, EPA will receive copies of all applications with a determination other than “No
Effect/Impact”. This provides an opportunity for the EPA to monitor the effectiveness of the species
coordination process and to provide oversight of State permit actions and State 404 program operations,
including ESA compliance.

Description of dispute resolution between FDEP and USFWS; and USFWS-EPA coordination
As stated in the BE, State 404 permits (as with USACE 404 permits) must comply with Section
404(b)(1) guidelines which include a stipulation that prohibits the discharge of dredged or fill material if
it jeopardizes the continued existence of listed species or results in the likelihood of the destruction or
adverse modification of designated critical habitat. 40 CFR 230.10(b)(3). Similarly, State 404 Chapter
62-331.053(3)(a)(4), 331.201(3)(k) and the State 404 Applicants’ Handbook (sections 1.3.3, 5.2.3)
include provisions that prohibit issuance of State 404 permits that are likely to jeopardize ESA-listed
species and recognize USFWS conclusions regarding potential impacts and necessary measures to
address impacts are determinative.
For permits that would result in injury or harm to individuals of a listed species but whose impacts
would not jeopardize the continued existence of the species or cause adverse modifications to critical
habitat, FDEP shall incorporate USFWS-recommended protection measures as permit conditions to
fulfill compliance with the anticipated Program assumption BiOp and for any subsequent anticipated
incidental take to be exempted from prohibition under section 9 of the ESA.
The BE and the FDEP-FWC-FWS MOU regarding species coordination states the following steps
would guide the resolution process in the event FDEP questions or disagrees with a local USFWS office
about the necessity of project-specific, species-specific USFWS-recommended protection measures as
being added as permit conditions for the purpose of either 1) avoiding jeopardy to a ESA-listed or
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proposed species or adverse modification of critical habitat; or 2) minimizing incidental take to fish and
wildlife..

Interagency Elevation Process (excerpt from the FDEP, FWC, USFWS MOU, Appendix II, pp. 9-10)

“FDEP, FWC and USFWS intend to work cooperatively to achieve their mutually shared objectives of
protecting the quality of waters of the United States and the species that depend on those waters.
Collaboration among Technical Team members, agency district, regional, and field staff when resolving any
potential conflicts or disagreements should be performed through a structured, time-sensitive process at the
lowest possible level. During the review of State 404 permit applications and these elevation procedures, the
following regulations will be followed: 40 CFR § 233.20; 40 CFR § 233.50; the 404(b)(1) Guidelines in 40
CFR § 230; and 40 CFR § 230.10(b)(3). The agencies will follow the procedures below to elevate any
conflict or disagreement.

Any contentious issues, disagreements or conflicts between agencies, or between agencies and applicants,
will be discussed with an attempt to resolve them at the lowest levels within the agencies without elevation
(reviewers and their supervisors). If issues cannot be resolved at this level, reviewers and their supervisors
will reach out to the Technical Team for assistance (Level 1). If there is no consensus resolution at that level,
or if it is deemed prudent, the issues will be elevated to Level 2, which would include the USFWS State
Supervisor, FDEP State 404 program Supervisor, FWC Conservation Planning Services Director, and EPA
Florida State 404 program Supervisor. While anticipated to be very rare, issues can be elevated to Level 3 if
needed, which would include the USFWS Regional Director, Atlanta; EPA Regional Administrator, Atlanta;
FWC Executive Director and FDEP Secretary. The supervisory level staff may differ for each agency and
may differ depending upon the issue in dispute or conflict that needs resolution. All agencies will be included
in resolution discussions, even if the issue only involves two of the three partner agencies.

While decisions at all levels, including decisions to elevate, will be made by consensus to the greatest extent
practicable, any one agency can initiate the elevation process or elevate to the next supervisor level.
Agencies will jointly prepare a summary document that will contain a statement of facts and succinctly state
each agency's position and recommendations for resolution. This summary document will be developed and
shared when elevated to Level 2 or Level 3. If needed, the summary documents may be updated when
elevated to Level 3. The overall goal is to jointly develop implementable actions to avoid and/or minimize
adverse impacts to listed species to ensure the impacts of any given project are not likely to result in take, or
likely to jeopardize the continued existence of any species or adversely modify its critical habitat. With
regard to conclusions about the potential effects of a project on ESA-listed species, their critical habitats, or
the effectiveness of proposed protection measures, the final USFWS position is determinative. With regard to
conclusions about the potential effects of a project on State listed species or the effectiveness of proposed
protection measures, the final FWC position is determinative.

Elevation should be initiated so that all applicable deadlines will be met, considering subsequent levels of
review. If FDEP is aware of a dispute, they will resolve the dispute prior to taking final action. This is to
ensure consistency with applicable legal deadlines, and to allow the issue to be resolved through the
elevation process. When determined to be appropriate (e.g., where the results of the elevation would provide
useful guidance to agency staff or transparency to the public), the decision on the elevation should be
memorialized in writing, placed in the application’s official file, and circulated among Agency staff to serve
as guidance for future decisions.”

Dredge or fill material discharge activities regulated by the State 404 program

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After FDEP completes its permit evaluation process and issues a State 404 permit to a permittee, the
permittee will be authorized to discharge dredge or fill material into assumed waters. The BE (Appendix
A) describes the different types of actions that cause the discharge of dredge or fill material in assumed
waters. The list of anticipated actions was derived from the USACE project information database. All
the activities in the BE’s Appendix E list, however, may not be applicable to the State 404 program.

Dredging and filling actions include but are not limited to:
  o Discharge of fill material                  o Agriculture
  o Dredging                                    o Utilities
  o Ecological restoration                      o Roadways
  o Discharge of dredged material               o Airports
  o Excavation associated with the              o Marinas
    discharge of dredged or fill material       o Docks
  o Other (Aquaculture, Work, Aerial or
                                                o Piers
    Submarine cable crossings)
                                                o Boat Ramps
  o Conversion of waters type (forested
    wetland to emergent wetland, stream         o Dams
    to lake)                                    o Levees
  o Commercial developments                     o Mining activities
  o Residential developments                    o Mitigation
  o Single-family residence                     o Restoration




Proposed dredge material discharge or fill activities authorized or exempt under the State 404
Program
The BE (Appendix A) describes the types of actions the State 404 program will regulate include all
dredge and fill activities within the assumed waters. The proposed activities and exemptions below are
excerpts from 40 CFR 232 and select definitions from 40 CFR 232.2, also summarized in Appendix B of
the State 404 Handbook:

Discharge of dredged material.
(1) Except as provided below in paragraph (2), the term “discharge of dredged material” means any
    addition of dredged material into, including redeposit of dredged material other than incidental
    fallback within, the waters of the United States. The term includes, but is not limited to, the
    following:
    (i) The addition of dredged material to a specified discharge site located in waters of the United
         States;
    (ii) The runoff or overflow, associated with a dredging operation, from a contained land or water
         disposal area; and

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   (iii)Any addition, including redeposit other than incidental fallback, of dredged material, including
        excavated material, into waters of the United States which is incidental to any activity, including
        mechanized land clearing, ditching, channelization, or other excavation.

(2) The term discharge of dredged material does not include the following:
    (i) Discharges of pollutants into waters of the United States resulting from the onshore subsequent
         processing of dredged material that is extracted for any commercial use (other than fill). These
         discharges are subject to Section 402 of the Clean Water Act even though the extraction and
         deposit of such material may require a permit from the Corps or applicable state.
    (ii) Activities that involve only the cutting or removing of vegetation above the ground (e.g.,
         mowing, rotary cutting, and chain sawing) where the activity neither substantially disturbs the
         root system nor involves mechanized pushing, dragging, or other similar activities that redeposit
         excavated soil material.
    (iii) Incidental fallback.


(3) Section 404 authorization is not required for the following:

   (i) Any incidental addition, including redeposit, of dredged material associated with any activity
        that does not have or would not have the effect of destroying or degrading an area of waters of
        the U.S. as defined in paragraphs (4) and (5) of this definition; however, this exception does not
        apply to any person preparing to undertake mechanized land clearing, ditching, channelization
        and other excavation activity in a water of the United States, which would result in a redeposit of
        dredged material, unless the person demonstrates to the satisfaction of the Corps, or EPA as
        appropriate, prior to commencing the activity involving the discharge, that the activity would not
        have the effect of destroying or degrading any area of waters of the United States, as defined in
        paragraphs (4) and (5) of this definition. The person proposing to undertake mechanized land
        clearing, ditching, channelization or other excavation activity bears the burden of demonstrating
        that such activity would not destroy or degrade any area of waters of the United States.
   (ii) Incidental movement of dredged material occurring during normal dredging operations, defined
        as dredging for navigation in navigable waters of the United States, as that term is defined in 33
        CFR part 329, with proper authorization from the Congress or the Corps pursuant to 33 CFR part
        322; however, this exception is not applicable to dredging activities in wetlands, as that term is
        defined at section232.2(r) of this chapter.
   (iii)Certain discharges, such as those associated with normal farming, silviculture, and ranching
        activities, are not prohibited by or otherwise subject to regulation under Section 404. See 40 CFR
        232.3 for discharges that do not require permits.

(4) For purposes of this section, an activity associated with a discharge of dredged material destroys an
    area of waters of the United States if it alters the area in such a way that it would no longer be a
    water of the United States.
       Note: Unauthorized discharges into waters of the United States do not eliminate Clean Water Act
       jurisdiction, even where such unauthorized discharges have the effect of destroying waters of the
       United States.



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(5) For purposes of this section, an activity associated with a discharge of dredged material degrades an
    area of waters of the United States if it has more than a de minimis (i.e., inconsequential) effect on
    the area by causing an identifiable individual or cumulative adverse effect on any aquatic function.

Discharge of fill material.

(1) The term “discharge of fill material” means the addition of fill material into waters of the United
    States. The term generally includes, without limitation, the following activities: Placement of fill that
    is necessary for the construction of any structure or infrastructure in a water of the United States; the
    building of any structure, infrastructure, or impoundment requiring rock, sand, dirt, or other material
    for its construction; site-development fills for recreational, industrial, commercial, residential, or
    other uses; causeways or road fills; dams and dikes; artificial islands; property protection and/or
    reclamation devices such as riprap, groins, seawalls, breakwaters, and revetments; beach
    nourishment; levees; fill for structures such as sewage treatment facilities, intake and outfall pipes
    associated with power plants and subaqueous utility lines; placement of fill material for construction
    or maintenance of any liner, berm, or other infrastructure associated with solid waste landfills;
    placement of overburden, slurry, or tailings or similar mining-related materials;” after the words
    “utility lines; and artificial reefs.

(2) In addition, placement of pilings in waters of the United States constitutes a discharge of fill material
    and requires a Section 404 permit when such placement has or would have the effect of a discharge
    of fill material. Examples of such activities that have the effect of a discharge of fill material include,
    but are not limited to, the following: Projects where the pilings are so closely spaced that
    sedimentation rates would be increased; projects in which the pilings themselves effectively would
    replace the bottom of a waterbody; projects involving the placement of pilings that would reduce the
    reach or impair the flow or circulation of waters of the United States; and projects involving the
    placement of pilings which would result in the adverse alteration or elimination of aquatic functions.

   (i) Placement of pilings in waters of the United States that does not have or would not have the
       effect of a discharge of fill material shall not require a Section 404 permit. Placement of pilings
       for linear projects, such as bridges, elevated walkways, and powerline structures, generally does
       not have the effect of a discharge of fill material. Furthermore, placement of pilings in waters of
       the United States for piers, wharves, and an individual house on stilts generally does not have the
       effect of a discharge of fill material. All pilings, however, placed in the navigable waters of the
       United States, as that term is defined in 33 CFR part 329, require authorization under section 10
       of the Rivers and Harbors Act of 1899 (see 33 CFR part 322).

40 CFR 232.3 Activities not requiring permits.

Except as specified in paragraphs (a) and (b) of this section, any discharge of dredged or fill material
that may result from any of the activities described in paragraph (c) of this section is not prohibited by or
otherwise subject to regulation under this part.

(a) If any discharge of dredged or fill material resulting from the activities listed in paragraph (c) of this
   section contains any toxic pollutant listed under section 307 of the Act, such discharge shall be

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  subject to any applicable toxic effluent standard or prohibition and shall require a Section 404 permit.

(b) Any discharge of dredged or fill material into waters of the United States incidental to any of the
   activities identified in paragraph (c) of this section must have a permit if it is part of an activity whose
   purpose is to convert an area of the waters of the United States into a use to which it was not
   previously subject, where the flow or circulation of waters of the United States may be impaired or
   the reach of such waters reduced. Where the proposed discharge will result in significant discernable
   alterations to flow or circulation, the presumption is that flow or circulation may be impaired by such
   alteration.

         Note: For example, a permit will be required for the conversion of a cypress swamp to some
         other use or the conversion of a wetland from silvicultural to agricultural use when there is a
         discharge of dredged or fill material into waters of the United States in conjunction with
         construction of dikes, drainage ditches or other works or structures used to affect such
         conversion. A conversion of Section 404 wetland to a non-wetland is a change in use of an area
         of waters of the U.S. A discharge which elevates the bottom of waters of the United States
         without converting it to dry land does not thereby reduce the reach of, but may alter the flow or
         circulation of, waters of the United States.

(c) The following activities are exempt from Section 404 permit requirements, except as specified in
   paragraphs (a) and (b) of this section:

   (1)(i) Normal farming, silviculture and ranching activities such as plowing, seeding, cultivating,
          minor drainage, and harvesting for the production of food, fiber, and forest products, or upland
          soil and water conservation practices, as defined in paragraph (d) of this section.

      (ii) (A) To fall under this exemption, the activities specified in paragraph (c)(1) of this section
      must be part of an established (i.e., ongoing) farming, silviculture, or ranching operation, and
      must be in accordance with definitions in paragraph (d) of this section. Activities on areas lying
      fallow as part of a conventional rotational cycle are part of an established operation.


          (B) Activities which bring an area into farming, silviculture or ranching use are not part of an
          established operation. An operation ceases to be established when the area in which it was
          conducted has been converted to another use or has lain idle so long that modifications to the
          hydrological regime are necessary to resume operation. If an activity takes place outside the
          waters of the United States, or if it does not involve a discharge, it does not need a Section 404
          permit whether or not it was part of an established farming, silviculture or ranching operation.

   (2)    Maintenance, including emergency reconstruction of recently damaged parts, of currently
          serviceable structures such as dikes, dams, levees, groins, riprap, breakwaters, causeways,
          bridge abutments or approaches, and transportation structures. Maintenance does not include
          any modification that changes the character, scope, or size of the original fill design.
          Emergency reconstruction must occur within a reasonable period of time after damage occurs
          in order to qualify for this exemption.


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(3)   Construction or maintenance of farm or stock ponds or irrigation ditches or the maintenance
      (but not construction) of drainage ditches. Discharge associated with siphons, pumps,
      headgates, wingwalls, weirs, diversion structures, and such other facilities as are appurtenant
      and functionally related to irrigation ditches are included in this exemption.

(4)   Construction of temporary sedimentation basins on a construction site which does not include
      placement of fill material into waters of the United States. The term “construction site” refers
      to any site involving the erection of buildings, roads, and other discrete structures and the
      installation of support facilities necessary for construction and utilization of such structures.
      The term also includes any other land areas which involve land-disturbing excavation
      activities, including quarrying or other mining activities, where an increase in the runoff of
      sediment is controlled through the use of temporary sedimentation basins.

(5)   Any activity with respect to which a State has an approved program under section 208(b)(4) of
      the Act which meets the requirements of section 208(b)(4)(B) and (C).

(6)   Construction or maintenance of farm roads, forest roads, or temporary roads for moving
      mining equipment, where such roads are constructed and maintained in accordance with best
      management practices (BMPs) to assure that flow and circulation patterns and chemical and
      biological characteristics of waters of the United States are not impaired, that the reach of the
      waters of the United States is not reduced, and that any adverse effect on the aquatic
      environment will be otherwise minimized. The BMPs which must be applied to satisfy this
      provision include the following baseline provisions:

      (i)    Permanent roads (for farming or forestry activities), temporary access roads (for mining,
             forestry, or farm purposes) and skid trails (for logging) in waters of the United States
             shall be held to the minimum feasible number, width, and total length consistent with the
             purpose of specific farming, silvicultural or mining operations, and local topographic and
             climatic conditions;
      (ii) All roads, temporary or permanent, shall be located sufficiently far from streams or other
             water bodies (except for portions of such roads which must cross water bodies) to
             minimize discharges of dredged or fill material into waters of the United States;
      (iii) The road fill shall be bridged, culverted, or otherwise designed to prevent the restriction
             of expected flood flows;
      (iv) The fill shall be properly stabilized and maintained to prevent erosion during and
             following construction;
      (v) Discharges of dredged or fill material into waters of the United States to construct a road
             fill shall be made in a manner that minimizes the encroachment of trucks, tractors,
             bulldozers, or other heavy equipment within the waters of the United States (including
             adjacent wetlands) that lie outside the lateral boundaries of the fill itself;
      (vi) In designing, constructing, and maintaining roads, vegetative disturbance in the waters of
             the United States shall be kept to a minimum;
      (vii) The design, construction and maintenance of the road crossing shall not disrupt the
             migration or other movement of those species of aquatic life inhabiting the water body;
      (viii) Borrow material shall be taken from upland sources whenever feasible;


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            (ix) The discharge shall not take, or jeopardize the continued existence of, a threatened or
                   endangered species as defined under the Endangered Species Act, or adversely modify or
                   destroy the critical habitat of such species;
            (x) Discharges into breeding and nesting areas for migratory waterfowl, spawning areas, and
                   wetlands shall be avoided if practical alternatives exist;
            (xi) The discharge shall not be located in the proximity of a public water supply intake;
            (xii) The discharge shall not occur in areas of concentrated shellfish production;
            (xiii) The discharge shall not occur in a component of the National Wild and Scenic Rivers
                   System;
            (xiv) The discharge of material shall consist of suitable material free from toxic pollutants in
                   toxic amounts; and
            (xv) All temporary fills shall be removed in their entirety and the area restored to its original
                   elevation.

(d)     For purpose of paragraph (c)(1) of this section, cultivating, harvesting, minor drainage, plowing,
       and seeding are defined as follows:

      (1) Cultivating means physical methods of soil treatment employed within established farming,
      ranching
      and silviculture lands on farm, ranch, or forest crops to aid and improve their growth, quality, or
      yield.
      (2) Harvesting means physical measures employed directly upon farm, forest, or ranch crops within
      established agricultural and silvicultural lands to bring about their removal from farm, forest, or
      ranch land, but does not include the construction of farm, forest, or ranch roads.
      (3)(i) Minor drainage means:
          (A) The discharge of dredged or fill material incidental to connecting upland drainage facilities to
          waters of the United States, adequate to effect the removal of excess soil moisture from upland
          croplands. Construction and maintenance of upland (dryland) facilities, such as ditching and tiling,
              incidental to the planting, cultivating, protecting, or harvesting of crops, involve no discharge
          of dredged or fill material into waters of the United States, and as such never require a Section
          404     permit;
          (B) The discharge of dredged or fill material for the purpose of installing ditching or other water
          control facilities incidental to planting, cultivating, protecting, or harvesting of rice, cranberries or
          other wetland crop species, where these activities and the discharge occur in waters of the United
              States which are in established use for such agricultural and silvicultural wetland crop
          production;
          (C) The discharge of dredged or fill material for the purpose of manipulating the water levels of,
          or regulating the flow or distribution of water within, existing impoundments which have been
          constructed in accordance with applicable requirements of the Act, and which are in established
              use for the production or rice, cranberries, or other wetland crop species.
          Note: The provisions of paragraphs (d)(3)(i) (B) and (C) of this section apply to areas that are in
              established use exclusively for wetland crop production as well as areas in established use for
          conventional wetland/non-wetland crop rotation (e.g., the rotations of rice and soybeans) where
              such rotation results in the cyclical or intermittent temporary dewatering of such areas.
          (D) The discharge of dredged or fill material incidental to the emergency removal of sandbars,
          gravel bars, or other similar blockages which are formed during flood flows or other events, where

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       such blockages close or constrict previously existing drainageways and, if not promptly removed,
       would result in damage to or loss of existing crops or would impair or prevent the plowing, seeding,
       harvesting or cultivating of crops on land in established use for crop production. Such removal
       does not include enlarging or extending the dimensions of, or changing the bottom elevations of,
       the affected drainageway as it existed prior to the formation of the blockage. Removal must be
       accomplished within one year after such blockages are discovered in order to         be eligible for
       exemption.

   (ii) Minor drainage in waters of the United States is limited to drainage within areas that are part of
   an established farming or silviculture operation. It does not include drainage associated with the
   immediate or gradual conversion of a wetland to a non-wetland (e.g., wetland species to upland
   species not typically adequate to life in saturated soil conditions), or conversion from one wetland
   use to another (for example, silviculture to farming).

   In addition, minor drainage does not include the construction of any canal, ditch, dike or other
   waterway or structure which drains or otherwise significantly modifies a stream, lake, swamp, bog
   or any other wetland or aquatic area constituting waters of the United States. Any discharge of
   dredged or fill material into the waters of the United States incidental to the construction of any such
   structure or waterway requires a permit.

  (4) Plowing means all forms of primary tillage, including moldboard, chisel, or wide-blade plowing,
   disking, harrowing, and similar physical means used on farm, forest or ranch land for the breaking
   up, cutting, turning over, or stirring of soil to prepare it for the planting of crops. Plowing does not
   include the redistribution of soil, rock, sand, or other surficial materials in a manner which changes
   any area of the waters of the United States to dryland. For example, the redistribution of surface
   materials by blading, grading, or other means to fill in wetland areas is not plowing. Rock crushing
   activities which result in the loss of natural drainage characteristics, the reduction of water storage
   and recharge capabilities, or the overburden of natural water filtration capacities do not constitute
   plowing. Plowing, as described above, will never involve a discharge of dredged or fill material.

  (5) Seeding means the sowing of seed and placement of seedlings to produce farm, ranch, or forest
   crops and includes the placement of soil beds for seeds or seedlings on established farm and forest
   lands.

(e) Federal projects which qualify under the criteria contained in Section 404(r) of the Act are exempt
from Section 404 permit requirements but may be subject to other State or Federal requirements.

ACTION AREA

The action area is defined as “all areas to be affected directly or indirectly by the Federal action and not
merely the immediate area involved in the action” (50 CFR402.02). Delineating the action area is
necessary for the Federal action agency to obtain a list of species and critical habitats that may occur in
that area, which necessarily precedes any subsequent analyses of the effects of the action to particular
species or critical habitats.



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The action area determines any overlap with critical habitat and the physical or biological features
therein that we defined as essential to the species’ conservation in the final rule designating its critical
habitat. For species, the action area establishes the bounds for an analysis of individuals’ exposure to
action-caused changes, but the subsequent consequences of such exposure to those individuals are not
necessarily limited to the action area.
For the review of this action, the action area encompasses the geographic extent of the FDEP
Assumption of Section 404 permitting within the entire State of Florida. The action area consists of, and
is limited to, the State-assumed waters (assumed waters) and areas affected directly or indirectly by the
action, including affected upland, terrestrial areas.
The State 404 Handbook section 1.1 states, “The CWA does not define State-assumed waters; rather, it
describes waters that a state cannot assume and for which jurisdiction remains with the Corps (retained
waters). State-assumed waters then are all waters of the United States that are not retained waters. Retained
waters are defined in section 2.0 of this Handbook and listed in Appendix A. Activities within retained
waters will generally still require a state ERP authorization and a separate federal authorization from the
Corps. To provide certainty, streamlining, and efficiency, the State will consider that any wetlands or other
surface waters delineated in accordance with Chapter 62-340, F.A.C. that are regulated under Part IV of
Chapter 373, F.S. could be considered Waters of the United States, and will treat them as if they are, unless
the applicant clearly demonstrates otherwise.”
The BE indicates Florida’s request to assume the administration of the CWA Section 404 permitting
includes those Waters of the United States (WOTUS) not retained by the USACE; referred to as
assumed waters. The USACE will retain permitting responsibility for the discharge of dredged or fill
material in those waters defined as “retained waters”. This definition can be found in the State 404
Handbook in Chapter 2.0 and the process to determine whether a project is located in retained, or
assumed waters, is described in Chapter 4.1 of the State 404 Applicants’ Handbook. In addition,
Appendix A of the 404 Handbook includes the Retained Waters List maintained by the USACE. The
administrative boundary demarcating the adjacent wetlands over which jurisdiction is retained by the
USACE is a 300-foot guide line established from the ordinary high water mark or mean high tide line of
the retained water. In the case of a project that involves discharges of dredged or fill material both
waterward and landward of the 300-foot guide line, the USACE will retain jurisdiction to the landward
boundary of the project for the purposes of that project only.
The USACE also retains permitting authority for projects within “Indian country” as that term is defined
at 18 USC section 1151 (provided below):
   “Except as otherwise provided in Sections 1154 and 1156 of this title, the term “Indian country,”
   as used in this chapter, means
   a) all land within the limits of any Indian reservation under the jurisdiction of the United
      States Government, notwithstanding the issuance of any patent, and, including rights-of-
      way running through the reservation,
   b) all dependent Indian communities within the borders of the United States whether within
      the original or subsequently acquired territory thereof, and whether within or without the
      limits of a state, and
   c) all Indian allotments, the Indian titles to which have not been extinguished, including
      rights-of-way running through the same.
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   A list of “Indian country” can be found online in the USACE Jacksonville District Regulatory
   Division Sourcebook.
   The boundary of a mitigation bank, excluding the service area, shall be considered the project
   boundary, even if only a portion of the bank requires a dredge and fill permit under Section 404 of
   the CWA.”
The BE also notes Federal and state-approved dredge and fill activities may occur in isolation or
adjacent to one another. In the case of a project that involves discharges of dredged or fill material both
waterward and landward of the 300-foot guide line, the USACE will retain jurisdiction to the landward
boundary of the project for the purposes of that project only (BE’s Figure 2-1 noted below). Projects that
fall entirely outside of the 300-foot buffer of the retained waters will be permitted by the State 404
program (Project 3 in Figure 2-2 of the BE). Linear projects that have some portion of dredge and fill
activities in retained waters will be entirely authorized and permitted by the USACE, even if dredge and
fill activities occur in wetlands landward of the 300-foot buffer (Figure 2-3 of the BE).




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Excerpt from BE’s Figure 0-1. Example of activities authorized by the USACE 404 program




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Excerpt from BE’s Figure 0-2. Example of activities authorized by USACE and FDEP
Projects 1, 2, and 3 show the difference between retained and assumed waters responsibilities.
Project 3 would be authorized by FDEP.




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Excerpt from BE’s Figure 0-3. Example of a linear project
Linear projects may sometimes be miles long, but if there are dredge or fill activities waterward of the
300-foot guideline within the project boundary, the project is considered within retained waters and will
be processed by the USACE.

Section 2.4 of the BE (Appendix A) describes in detail the physical attributes of action area. A summary
of this description is provided below.
Florida’s freshwater ecosystem includes 7,800 freshwater lakes, 700 springs, 11 million acres of
wetlands, more than 1,700 rivers and streams, and numerous underground aquifers (Fernald and Purdum
1998 as cited in the BE). It is through these systems that freshwater eventually makes its way to the
nearly 2,000 miles of Florida coastline and marine ecosystem.


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Although terrestrial habitats are not regulated under the CWA, many ESA-listed species that occupy
assumed waters also require or utilize adjacent uplands. Upland portions of permitted activities are also
subject to ESA consultation as part of permit review.
As summarized in BE, “Florida’s terrestrial ecosystem includes approximately 3.7 million acres of
natural habitats that are essential breeding, foraging, and refuge areas for many species. Florida has very
little topographic relief, with the highest point at 328 feet above sea level. Slight changes in elevation
result in habitat changes, with some upland communities at an only slightly greater elevation than
adjacent wetlands. Diverse terrestrial ecosystems provide important habitat for a large variety of
wildlife, including the Florida Panther, Gopher Tortoise, salamanders and frogs breeding in inclusions of
ephemeral wetlands, and bats and crayfish living in caves (FWC 2019). Though uphill terrestrial habitats
help to filter rainwater to lower elevations connected to freshwater habitats, only select ecosystems from
the Wildlife Plan are discussed herein due to their relation to the action area.”


APPROACH TO THE ASSESSMENT
Section 7(a)(2) of the ESA requires every Federal agency, in consultation with and with the assistance of
the Services (U.S. Fish and Wildlife Service and National Marine Fisheries Service), to insure that any
action it authorizes, funds, or carries out is not likely to jeopardize the continued existence of any ESA-
listed species or result in the destruction or adverse modification of designated critical habitat.
“’Jeopardize the continued existence of’” means to engage in an action that reasonably would be
expected, directly or indirectly, to reduce appreciably the likelihood of both the survival and recovery of
a listed species in the wild by reducing the reproduction, numbers, or distribution of that species.” (50
C.F.R. § 402.02) “’Destruction or adverse modification’” means a direct or indirect alteration that
appreciably diminishes the value of critical habitat as a whole for the conservation of a listed species.”
(50 C.F.R. § 402.02).
Because we are consulting on EPA’s approval of FDEP’s request to assume the CWA 404 program in
Florida’s assumable waters, in which FDEP would regulate a broad array of activities conducted over
several geographic areas and long periods of time, there is substantial uncertainty about the number,
location, timing, frequency, and intensity of regulated activities. Therefore, we developed a
programmatic consultation approach to determine whether and to what degree FDEP has structured their
regulatory program and EPA has structured its oversight program to ensure approval and
implementation of the State 404 program is not likely to jeopardize the continued existence of proposed
or listed species or result in the destruction or adverse modification of proposed or designated critical
habitat by assessing whether the following criteria are fulfilled: (1) understand the scope of its action;
(2) reliably estimate the physical, chemical, or biotic stressors that are likely to be produced as a direct
or indirect result of their action; (3) minimize adverse effects of such activities on ESA-listed species
and designated critical habitat; (4) identify, inform, encourage, and screen applicants for potential
eligibility under or participation in the permitted activity; (5) continuously monitor and evaluate likely
adverse effects on listed species and critical habitat; (6) monitor and enforce permit compliance; and (7)
modify its action if new information (including inadequate protection for species or low levels of
compliance) becomes available.
This approach also recognizes that site- and species-specific considerations would be addressed with the
USFWS in subsequent technical assistance efforts with the State of Florida through the FDEP, FWC,
USFWS MOU, the State 404 rule (62-331, F.C.A), and EPA’s oversight regulations (40 CFR 233).

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Jeopardy Determination
The jeopardy analysis in this BiOp relies on four components: (1) the Status of the Species, which
describes the range-wide condition of the species, the factors responsible for that condition, and its
survival and recovery needs; (2) the Environmental Baseline, which analyzes the condition of the listed
species in the action area, without the consequences to the listed species caused by the proposed action;
(3) the Effects of the Action, which includes all consequences to listed species that are caused by the
proposed action, including the consequences of other activities that are caused by the proposed action;
and (4) the Cumulative Effects, which evaluates the effects of future, non-Federal activities in the action
area on the species.
For purposes of making the jeopardy determination, the Service: (1) reviews all the relevant information,
(2) evaluates the current status of the species and environmental baseline, (3) evaluates the effects of the
Action and cumulative effects, (4) add the effects of the action and cumulative effects to the
environmental baseline, and, in light of the status of the species, determines if the action is likely to
jeopardize listed species.
We evaluated the effects of the action on guilds of ESA-proposed and -listed species and designated and
proposed critical habitat. Assigning species to guilds based on life-history similarities allows for a
thorough review of expected responses of similar species to stressors without redundantly discussing
key impacts for each individual species. Analysis of effects using a guild approach is more appropriate
at the programmatic level. Species-specific and site-specific analyses will occur during the technical
assistance process conducted between the USFWS and FDEP, and whenever EPA coordinates with
USFWS on State permit actions.
Adverse Modification Determination
The destruction or adverse modification analysis in this BiOp relies on four components: (1) the status
of critical habitat, which describes the range-wide condition of the critical habitat in terms of the key
components (i.e., essential habitat features, physical and biological features, or primary constituent
elements) that provide for the conservation of the listed species, the factors responsible for that
condition, and the intended value of the critical habitat overall for the conservation/recovery of the listed
species; (2) the environmental baseline, which analyzes the condition of the designated critical habitat in
the action area, without the consequences to the designated critical habitat caused by the proposed
action; (3) the effects of the action, which includes all consequences to the critical habitat that are caused
by the proposed action, including the consequences of other activities that are caused by the proposed
action; and (4) cumulative effects, which evaluate the effects of future non-Federal activities that are
reasonably certain to occur in the action area on the key components of critical habitat that provide for
the conservation of the listed species and how those impacts are likely to influence the conservation
value of the affected critical habitat.
For purposes of making the destruction or adverse modification determination, the USFWS: (1) reviews
all relevant information, (2) evaluates the current status of the critical habitat and environmental
baseline, (3) evaluates the effects of the proposed action and cumulative effects, (4) add the effects of
the action and cumulative effects to the environmental baseline, and, in light of the status of the critical
habitat, determines if the proposed action is likely to result in the destruction or adverse modification of
critical habitat.
Past designations of critical habitat have used the terms “primary constituent elements” (PCEs),
“physical or biological features” (PBFs) or "essential features" to characterize the key components of
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critical habitat that provide for the conservation of the listed species. Recent critical habitat regulations
(50 C.F.R. § 402.02) discontinue use of the terms PCEs or essential features, and rely exclusively on use
of the term PBFs for that purpose because that term is contained in the statute. However, the shift in
terminology does not change the approach used in conducting a ‘‘destruction or adverse modification’’
analysis, which is the same regardless of whether the original designation identified PCEs, PBFs or
essential features. For those reasons, in this USFWS, we use the term PBFs to characterize the key
components of critical habitat that provide for the conservation of the listed species.

STATUS OF SPECIES

In the BE, EPA identified 235 species that occur in the action area and may be affected by the action and
program activities that occur because of the proposed action (Table 3-1 of BE, p. 22). Of the 235, 139
are listed as threatened or endangered under the ESA and the remainder are species which have been
proposed for listing, petitioned for listing, are candidates for listing, and/or have reasonable potential to
be considered for ESA listing in the future. This BiOp concurs with and adopts the BE’s list of ESA-
listed and ESA-considered species that occur in the action area and respective effect determinations
regarding the effects of the action.

For more information regarding the ESA-listed individual species and critical habitats and the factors
affecting their conservation status, please refer to proposed and final listing determinations, critical
habitat designations, recovery plans, and five-year reviews available at:
http://ecos.fws.gov/ecos/indexPublic.do.
In regard to future listing actions that result in new species being added to the ESA list, the proposed
State 404 program’s species coordination framework requires that when a State 404 application is
received a current list of ESA-listed species must be used at the time a State 404 application is received
in determining potential effects to ESA-listed species. Therefore, the State 404 review process is capable
of maintaining compliance with the ESA by adapting to future changes to the list of species classified as
threatened or endangered under the ESA.

ENVIRONMENTAL BASELINE

Environmental baseline refers to the condition of the listed species or its designated critical habitat in the
action area, without the consequences to the listed species or designated critical habitat caused by the
action (which includes consequences caused by program activities). The environmental baseline
includes the past and present impacts of all Federal, State, or private actions and other human activities
in the action area, the anticipated impacts of all proposed Federal projects in the action area that have
already undergone formal or early section 7 consultation, and the impact of State or private actions
which are contemporaneous with the consultation in process. The consequences to listed species or
designated critical habitat from ongoing agency activities or existing agency facilities that are not within
the agency's discretion to modify are part of the environmental baseline (50 CFR 402.02).

All of the endangered and threatened species and designated critical habitat considered in this BiOp
depend on the health of aquatic and terrestrial ecosystems for their survival. These species were listed as
endangered or threatened, at least in part, because of the consequences of human activities on the aquatic
and terrestrial ecosystems to include estuaries, rivers, lakes, streams, and associated wetlands,
floodplains, riparian, and terrestrial ecosystems of Florida. The status and trends of those aquatic and
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terrestrial ecosystems determines the status and trends of these species and the critical habitat that has
been designated for them.

The BE (Appendix A: section 4, pp. 36-54) includes a description of the baseline for 404 permitting in
Florida and its past and ongoing effects on ESA-listed and considered species. This BiOp adopts the
BE’s detailed description of the environmental baseline, which addresses the baseline of 1) the listed
species and 2) their habitats, and 3) the baseline procedures and processes related to the issuance of
permits that allow for activities that affect waters of the U.S., adjacent uplands, and the ESA-listed and
considered species that reside therein.

The programmatic nature of the action would trigger a change in the framework and processes that
affect the implementation of permitted actions that affect the physical environment and potentially affect
ESA-listed species and their critical habitats. The BE considers the USACE 404 program and State ERP
program as part of the procedural processing (regulatory) baseline.

For example, when EPA publishes its approval of FDEP’s assumption of the 404 program in the Federal
Register, the USACE will cease to directly administer 404 permits in assumed waters and FDEP would
immediately assume administration of 404 permits in assumed waters and modifications to the
administration of its ERP program to align it with the State 404 program will be effective.

Procedural Baseline: past and current regulation of discharge of dredged and fill material in
Florida

Federal Regulations
The BE states that Section 404 of the CWA (33 USC section 1344) establishes a program to regulate the
discharge of dredged or fill material into WOTUS, inclusive of wetlands. The Administrator of the EPA,
in conjunction with the Secretary of the Army, acting through the Chief of Engineers, established
guidelines for regulating such discharges under Section 404(b)(1) of the CWA (40 CFR 230). The EPA
and the USACE jointly implement the regulation and permitting of such proposed activities. In Florida,
the USACE Jacksonville District acts as the regulatory agency that issues Section 404 dredge and fill
permits.
Individual Permits
To receive a dredge and fill permit authorization from the USACE, an applicant must demonstrate the
following under 40 CFR 230.10:
          •   No practicable alternative to the proposed activity exists that would have less adverse
              impact on the aquatic ecosystem;
          •   The proposed activity will not:
                 o violate State water quality standards,
                 o violate any applicable toxic effluent standard or prohibition,
                 o jeopardize the continued existence of Endangered and Threatened species, or result
                   in the likelihood of destruction or adverse modification of critical habitat
                 o violate any requirement imposed to protect a marine sanctuary;

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         •   The proposed activity will not cause or contribute to significant degradation of WOTUS;
             and
         •   The applicant has taken appropriate and practicable steps that will minimize potential
             adverse impacts of the discharge on the aquatic ecosystem.
The USACE will request any additional information required to deem an application complete, typically
within 15 days of receipt of the application. Once the agency deems the application to be complete, the
USACE publishes a public notice within 15 days to receive comments from interested and/or affected
parties on the proposed action.
Following receipt of an application and evaluation as to the completeness of the application, the USACE
is charged with evaluating the effects of the proposed action on ESA-listed species or designated critical
habitat. Where a proposed action may affect a listed species or critical habitat, USACE coordinates
and/or consults with the Services prior to issuing any permit. If the USACE determines the proposed
activity may affect any endangered or threatened species or their critical habitat, beneficially or
adversely, the USACE District Engineer will initiate consultation with the Services. If the USACE
District Engineer makes a determination from the submitted application that the proposed activity would
not affect ESA-listed species or their critical habitat, the public notice will contain a statement attesting
to such and consultation with the Services is not required.
The comment period is typically 30 days; upon receipt of comments, the USACE evaluates the
comments received, provides them to the applicant, and determines whether a public hearing is required.
Following the comment period (and a public hearing if conducted), the USACE makes a determination
as to whether the Section 404 permit should be issued. This determination is based on applicable
regulations governing the activity as well as comments received as part of the record. The USACE
District Engineer will either prepare a Statement of Findings or – where an Environmental Impact
Statement (EIS) has been prepared – a Record of Decision on all permit decisions. The final action of
the USACE is either the signature of the issuing official on the authorizing document (a USACE Permit)
or a signature on a letter notifying the application of the denial of the permit. An issued permit will
contain conditions to follow in execution of the work; a denial will contain written documentation of the
reason(s) for the denial.
General Permits
A general permit is issued for structures, work, or discharges that will result in only minimal adverse
effects. General permits are issued on a nationwide, regional, or state basis for particular categories of
activities. There are three types of general permits – Nationwide Permits, Regional General Permits, and
Programmatic General Permits. General permits (which are reviewed by the Services) are usually valid
for five years and may be re-authorized by the USACE (the Services will review the proposed
reauthorizations).
Nationwide Permits
On a five-year basis, the USACE issues Nationwide Permits (NWPs) pursuant to Section 404(e) of the
CWA (33 USC section 1344) and Section 10 of the Rivers and Harbors Act of 1899 (33 USC section
401 et seq.). As of January 6, 2017, there were a total of 52 NWPs. The NWPs streamline the
requirements of the CWA and are informed by extensive feedback from the public and other key
stakeholders. NWPs provide expedited review of projects that have minimal impact on the aquatic
environment. Categories of activities that may be covered under the NWPs include linear transportation
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projects, bank stabilization activities, aquatic habitat restoration, residential development, commercial
and industrial developments, aids to navigation, and certain maintenance activities.
In 2017, the USACE added two new NWPs in addition to the 50 that were in place in 2012. One
addition provides a mechanism for an efficient authorization process for the removal of low-head dams
to restore streams and enhance public safety; the second addition covers the construction and
maintenance of living shorelines to control erosion in coastal areas (adapted from USACE news release
dated January 6, 2017) (https://www.usace.army.mil/Media/News-Releases/News-Release-Article-
View/Article/1043614/army-corps-of-engineers-revises-and-renews-nationwide-permits/; accessed
January 30, 2020).
Regional General Permits
As of February 2020, the USACE Jacksonville District has issued 18 general permits. Each regional
general permit has specific terms and conditions, all of which must be met for project-specific actions to
be verified as compliant with and covered by the respective general permit.
Programmatic General Permits
Programmatic General Permits are based on an existing state, local, or other federal program and
designed to avoid duplication of that program. The USACE Jacksonville District lists 12 programmatic
general permits - one of which is only applicable to Puerto Rico
(https://www.usace.army.mil/Missions/Civil-Works/Regulatory-Program-and-Permits/Obtain-a-Permit/;
accessed January 30, 2020).
Florida regulations
Part IV of section 373, F.S. regulates dredging and filling in wetlands and other surface waters, such as:
the construction, alteration, operation, maintenance, abandonment, and removal of stormwater
management systems, dams, impoundments, reservoirs, works (including, but not limited to, ditches,
canals, conduits, channels, culverts, pipes, and other artificial structures), and appurtenant works
(artificial improvements to a dam).
This statute authorizes FDEP and the five water management districts (WMDs) in the state to jointly
implement Florida’s ERP program. The responsibilities of the agencies are divided according to
Operating Agreements between FDEP and the particular WMD. Provisions in the statute allow for
FDEP to approve local government programs to implement the ERP program on behalf of the FDEP and
the WMDs. As of January 2020, full delegation has been given to Broward County and minor works
delegated to the Environmental Protection Commission for Hillsborough County.
The ERP program operates in addition to the USACE Section 404 program that regulates activities in
WOTUS. All state, local, and regional governments in Florida delineate wetlands in accordance with
state methodology (Chapter 62-340, F.A.C.) instead of the federal wetland delineation method (Section
404 of the CWA and the Federal Manual for Identifying and Delineating Jurisdictional Wetlands).
While the ERP application is issued, withdrawn, or denied in accordance with state statutory and rule
criteria (briefly summarized below), agency action on the ERP application also constitutes any needed
water quality certification (waiver thereto) under Section 401 of the CWA, and coastal zone consistency
concurrence statements with Florida‘s federally-approved Coastal Zone Management program under
section 307 (Coastal Zone Management Act). These State ERP reviews and approvals by FDEP, WMD,
or delegated local governments are not connected to, dependent upon, nor do they influence the USACE

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permit review processes under Section 404 of the CWA. Therefore, the USACE must take separate
action to issue or deny any needed federal permit under Section 404 of the CWA and/or section 10 of
the Rivers and Harbors Act of 1899, and the USACE decision to issue a permit may or may not be
consistent with the State’s decision to issue an ERP permit.
To receive an ERP, an applicant must demonstrate that the proposed activity will not be harmful to the
water resources of the state and will not be inconsistent with the overall objectives of Florida rules and
statutes. The applicant must provide reasonable assurance that the activity will not violate the applicable
state water quality standards and that the activity is not contrary to the public interest for all waters that
are not designated as Aquatic Preservers or Outstanding Florida Waters. For activities in those
designated waters, the applicant must provide reasonable assurance that the proposed activity will be
clearly in the public interest. Surface water quality standards are published in Chapter 62-302, F.A.C. In
addition, FDEP provides policy guidance on anti-degradation in Rule 62-4.242, F.A.C., and in Rule 62-
302.300, F.A.C, which allows for the protection of water quality above the minimum required for
classification. Further, FDEP administers the Impaired Waters Rule (Chapter 62-303, F.A.C.), and has
established Total Maximum Daily Load criteria (Chapter 62-304, F.A.C.) (FDEP 2020b). It is the intent
of FDEP and the WMDs that these criteria are implemented in a manner that achieves a programmatic
goal and a project-permitting goal of no net loss in wetlands or other surface water functions.
To determine whether an activity is not contrary to the public interest or is clearly in the public interest,
the FDEP must consider and balance the following criteria:
   •   Whether the activity will adversely affect the public health, safety, or welfare or the property of
       others;
   •   Whether the activity will adversely affect the conservation of fish and wildlife, including
       endangered or threatened species, or their habitats;
   •   Whether the activity will adversely affect navigation or the flow of water or cause harmful
       erosion or shoaling;
   •   Whether the activity will adversely affect the fishing or recreational values or marine
       productivity in the vicinity of the activity;
   •   Whether the activity will be of a temporary or permanent nature;
   •   Whether the activity will adversely affect or will enhance significant historical and
       archaeological resources; and
   •   The current condition and relative value of functions being performed by areas affected by the
       proposed activity.
FDEP provides a copy of all notices of ERP applications for individual permits that propose regulated
activities in, on, or over wetlands or other surface waters to the FWC for review and comment. The
FDEP and FWC frequently work together on non-regulatory issues as well as regulatory. Examples of
the many collaboration efforts include habitat restoration projects, management of State Parks and
management of species on other State-owned easements and property.
In accordance with the provisions of section 373.4141, F.S., the FDEP shall review the ERP application
to determine if it is complete. If the application is incomplete, FDEP must request additional information
(RAI) within 30 days. The applicant must respond to such requests within 90 days. Within 30 days after
receipt of such additional information, FDEP must review the submitted material for completeness. The
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WMD processing procedures for ERP vary somewhat to accommodate the requirements of their specific
Governing Boards.
In accordance with section 120, F.S., FDEP must decide whether it should issue or deny an ERP within
60 days after receipt of the original application, the last item of timely requested additional material, or
the applicant’s written request to begin processing the permit application. Application completeness is
determined by whether the applicant has submitted all materials required for review as specified by rule
and statute. The WMDs also are subject to this requirement, but their ERP processing procedures vary
by each district to accommodate the requirements of their different Governing Boards. Pursuant to
section 120.60(1), F.S., any application that FDEP or the WMD does not approve or deny within 60
days is considered approved by default.
Once issued, ERP permits are valid for the life of the system (which includes all structures and works
authorized for construction or land alteration). The ERP permit does not automatically expire after the
construction phase (typically five years) of a project but continues to cover operation (use) of the system
in perpetuity.
Under current regulations for permit issuance, an applicant proposing any activity that is expected to
result in impacts to both federal and state jurisdictional wetlands or other surface waters must obtain
both a Section 404 permit from the USACE and an ERP permit from FDEP or the WMDs. There is the
potential for duplication of effort to obtain what, in some cases, results in nearly identical permits for
anticipated impacts to the same extent of wetlands and other surface waters. The timelines for review
and issuance of a federal Section 404 Permit and a State ERP permit can vary substantially. The State of
Florida has an interest in assuming the federal permitting responsibility for Section 404 and will
preserve the environmental protections afforded by federal law; the result should increase efficiency and
consistency in the application review and issuance process while ensuring a framework that will
maintain protections for listed species and their critical habitats.
Ecological Baseline
Wetlands
In 1845, the State of Florida contained an estimated 20.3 million acres of wetlands (Dahl 2005). By
1996, the BE notes only about half of the original wetlands remained (USFWS 1996). From the mid-
1950s through the mid-1970s, prior to the CWA, the rate of wetland loss has been estimated at 72,000
acres per year (Hefner 1986). In the following decade, wetland loss decreased to an estimated 23,700
acres per year (Hefner et al. 1994).
As of 1996, an estimated 11.4 million acres of wetlands covered about 29 percent of the surface area of
Florida, more than any other state in America at that time. Of these wetlands, 90 percent or about 10.2
million acres were freshwater wetlands. The average annual net loss of wetlands from 1985 through
1996 was 4,740 acres, and freshwater forested wetlands exhibited a net gain. During the 1985-1996
interval, 72 percent of wetland loss was attributed to development and 28 percent to agriculture (Dahl
2005).
Central and Southern Florida Project
The Central and Southern Florida (CS&F) Project for flood control and other purposes was authorized
by the Flood Control Act of 1948 as an improvement plan for flood control, drainage, and other
purposes over an 18,000-square-mile area of central and south Florida. This project authorized the

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diversion of water to the Atlantic Ocean and the Gulf of Mexico through canals and the diversion of
water southwest through the Everglades. The project provided benefits for human populations that were
able to build, grow, and develop these new lands. The Everglades Agricultural Area was developed for
the production of food, and areas further east became densely populated cities, including Miami, Ft.
Lauderdale, and West Palm Beach. Unfortunately, the project also resulted in the modification and loss
of 2,400 square miles of freshwater wetlands, including the Everglades (USACE 2019a). See Figure 4-1
of the BE for a comparison of historic freshwater flows compared to water flows today.


Everglades Restoration
Florida’s everglades are twice the size of New Jersey, comprised of a mixture of dense forests and open
prairies, sunny croplands and shady swamps, rural areas and cities. The South Florida Ecosystem
Restoration Program, a partnership between the federal government and the State of Florida, consists of
a suite of projects that focus on the C&SF system. In 2000, congressional authorization created the
Comprehensive Everglades Restoration Plan (CERP), which is the single largest of the program’s
efforts. CERP is a 50/50 partnership between the federal government and the State of Florida. It is a
program to restore, protect, and preserve water resources in central and southern Florida, including the
Everglades. The USACE is the lead federal agency, and the South Florida Water Management District
(SFWMD) is the lead State agency in this effort.
For 20 years, the CERP program has been designing, planning, and constructing multiple components of
the South Florida Ecosystem Restoration Program. The goal of these efforts is to eventually improve 2.4
million acres of south Florida’s wetlands ecosystems (including Everglades National Park), by reducing
high volume discharges from Lake Okeechobee to the estuaries and improve water delivery to the
Florida and Biscayne Bays, as well as enhance the freshwater supply (USACE 2019b). See Figure 4-2 of
the BE for a depiction of the Everglades restoration project and the associated improvements to future
ecosystem conditions.

Historical Federal Permitting: Habitat
WOTUS, as defined under currently applicable regulations and guidance, are regulated by the USACE
under Section 404 of the CWA, and by FDEP and the WMDs. The following discussion is based on data
provided by the USACE and characterizes Section 404 permits issued from 2014 through 2018. The
habitat types are from Wildlife Plan and Guide to the Natural Communities of Florida (FNAI 2010), and
each includes multiple subtypes. The BE cross walked with Cowardin types used for USACE reporting;
while similar, definitions may not match entirely.
A single 404 permit may authorize activities that affect multiple wetlands or surface waters areas within
the project area. So, the total number of areas will be larger than the total number of permits issued.
Please note that this data contained in the BE was used to analyze and depict general data trends for this
BiOp to use, and not serve as a source for definitive quantitative data. The data summarized from the BE
likely overestimate the number of projects that will be in assumed waters but is considered by USFWS
to be the best available information.
The BE assessed the impact of the various types of wetlands. These impacts are summarized below.
Freshwater Non-forested Wetlands


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Freshwater non-forested wetlands (assumed to be roughly equivalent to combined PEM and PSS
Cowardin Types) are associated with a considerable number of the permitted activities in Florida from
FY 2014 through 2018; the number of WOTUS areas authorized ranged from 263 to 542, and the
acreage ranged from 320 to 2,069 annually. Although freshwater non-forested wetlands are among the
most extensive in Florida (about 5.4 million acres) (FWC 2019), Table 4-1 of the BE suggests that
Section 404 permitted fill activities disproportionately affected this habitat type.
Freshwater Forested Wetlands
Freshwater forested wetlands (to be roughly equivalent to Palustrine Forested (PFO) Cowardin Types)
accounted for an even greater number of permitted fill activities from FY 2014 through 2018; the
number of WOTUS areas authorized ranged from 354 to 622, and the acreage ranged from 727 to 1,980.
Freshwater forested wetlands include about 4.2 million acres or about 10 percent of Florida’s land area.
Table 4-1 of the BE suggests that Section 404 permitted fill activities disproportionately affected this
habitat type.
Lakes
Lakes (assumed to be roughly equivalent to lacustrine Cowardin Types) accounted for a relatively small
proportion of permitted activities: 24 to 32 WOTUS areas authorized from FY 2014 through 2018, and
nine to 48 acres. Lakes cover almost 1.3 million acres in Florida, with much of the surface area in public
ownership.
Rivers and Streams
Rivers and streams (assumed to be roughly equivalent to riverine Cowardin Types) accounted for 124 to
238 WOTUS areas authorized from FY 2014 through 2018, and 79 to 432 acres with considerable year
to year variation. Estuarine Cowardin Type wetlands may also fall in this category, with a small area
included in assumed waters; 22 to 112 WOTUS areas associated with permits were issued for estuarine
wetlands, including three to 17 acres of impacts.
Marine
Relatively small areas of marine habitat (assumed to be equivalent to marine Cowardin Types) are
within assumed waters; WOTUS areas authorized ranged from two to 15 per year, including less than
one to about 10 acres of impacts per year.
Uplands
While uplands are not regulated under state wetland regulations, under the CWA and ESA, if uplands
include listed species which can be adversely affected as a result of the action, those impacts/effects
must be addressed. ESA-listed species could be affected by actions on uplands that are associated with
wetlands permits such as construction of access roads or staging areas, and many species utilize both
wetland and upland habitat. Thus, such features are often included as part of the species coordination
process for a State 404 permit application review.
Inventories and Surveys for Habitat Types and Quantities
The most current information on Florida habitat types is summarized in the Wildlife Plan and is also
available as GIS layers from the FNAI. While this information is in some cases based on site-specific
inventories or surveys, it is presented at the statewide level. A statewide approach is believed to be
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appropriate for the statewide Programmatic BE. Available GIS layers can be used to map specific
wetlands, at a scale that can be presented in a statewide view or mapped on a finer scale when needed.
Historical ESA Consultations Triggered by Federal Wetland Permitting
The BE used the USACE permit database provided by the Regulatory Division of the USACE
Jacksonville District, to examine consultations from fiscal years 2014 through 2018. This database
includes all temporary and permanent permitted wetland impacts by Cowardin code, permit
authorization type, dredge or fill acreage approved, and a project site coordinate. The database also
includes all ESA consultations by type, agency, closure method, ESA-listed species potentially affected,
and a corresponding object identification number that links the ESA consultations with the permitted
wetland impacts.

The BE estimates that out of those past Section 404 permit applications reviewed, 7% of reviews were
reasonably certain to result in incidental take (n=~368 permit reviews out of 5,195). This percentage was
calculated using the USACE Jacksonville District permitting database’s “Formal” choice in the
“Consultation Type” field, since most of the formal consultations can be assumed to be associated with
activities that may cause incidental take. Approximately 14% resulted in “Informal” type consultations.
Approximately 79% of consultations from 2014-2018 were covered by existing programmatic
consultations or effect decision tools.
For the USACE permit data collected during the years 2014-2018, a small proportion of the total
number of ESA-listed species accounted for the majority of consultations. During this time, many of the
species subject to frequent consultation had existing decisions tools such as consultation keys or
programmatic biological opinions. For those species, such decision tools can help guide future
consultations and assist FDEP when assessing potential effects of proposed actions.
Of the 139 listed and two (2) proposed species in the action area, 84 have been the subject of ESA
consultations in the past five years. Two species (Eastern Indigo Snake and Wood Stork) accounted for
56.6% of species-level consultations, and just 15 species accounted for 93.3 percent of all species-level
consultations. Recent consultations are not distributed evenly within the action area and can be
especially dense in areas of rapid growth and development.

Excerpt from the BE (Table 0-1a).     Consultation Types for Federal actions Totals, FY 2014 – 2018



    ESA Determination       Total # (2014-2018)                 % of Total
 Formal                              368                          7.08
 Informal                            710                          13.67
 Programmatic                        4117                         79.25
 Total                               5195                          100
 Source: USACE Jacksonville District




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Excerpt from BE (Figure 0-1). Locations of ESA Consultations in actionarea, 2014 – 2018

EFFECTS OF THE ACTION

Effects of the action are all consequences to listed species or critical habitat that are caused by the
proposed action, including the consequences of other activities that are caused by the proposed action. A
consequence is caused by the proposed action if it would not occur but for the proposed action and it is
reasonably certain to occur. Effects of the action may occur later in time and may include consequences
occurring outside the immediate area involved in the action. (See 50 C.F.R. § 402.17).

Programmatic Approach

As noted above, the scope of EPA’s approval of FDEP’s request to administer the CWA 404 program in
assumable waters is essentially statewide, covering an array of operations that may affect a wide variety
of ESA-proposed and -listed species and proposed and designated critical habitat. Because this is a
consultation on a programmatic action, it is not feasible, nor is it required, to conduct a meaningful site-
specific and species-specific effects analysis in this BiOp. Therefore, the USFWS determined that a
programmatic consultation is appropriate in determining whether FDEP’s 404 program and EPA’s
oversight of FDEP’s 404 program is structured to insure that no permit will be issued that is likely to
jeopardize threatened and endangered species and destroy or adversely modify critical habitat. For future
permits issued under the State 404 program, site-specific and species-specific information will be


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available and assessed through the technical assistance process with the State and/or through
coordination with the EPA, when EPA has not waived its review of the State permit action.

Key Assumptions for the Effects Analysis

In developing this analysis, we made a number of key assumptions due to the lack of information and
uncertainties surrounding the location, timing, frequency, and intensity of State 404 permit actions. If
these assumptions prove incorrect or warrant changes during implementation of the State 404 Program,
it could affect the validity of this analysis and trigger re-initiation of ESA section 7 consultation if it
results in effects that were not considered herein pursuant to 50 CFR 402.16.

As stated in the BE and the MOU, FDEP will provide USFWS with copies of all permit applications for
review and comment, and to include in the record for the draft permit any species protection measures
that the FWS recommends.

USFWS views this exchange of information and any resulting coordination as falling within the broad
scope of "technical assistance" as described in the USFWS section 7 Consultation Handbook.

Key Assumptions of this BiOp in determining whether the proposed Federal action complies with
section 7(a)(2) of the ESA.

   1. USFWS will receive all State 404 permit applications upon receipt by the FDEP and all public
      notices issued by FDEP in accordance with timelines established by State and Federal
      regulations.
   2. Where necessary, FDEP will incorporate the species protection measures, monitoring, and
      reporting recommendations provided by the USFWS through technical assistance facilitated by
      the exchange of information between the State (FDEP and FWC) and the USFWS
   3. The species protection measures, monitoring, and reporting developed by FDEP, FWC, and/or
      recommended by USFWS and implemented by FDEP and the permittee will minimize the
      adverse effects to levels that will avoid jeopardy to species and/or destruction and adverse
      modification of critical habitat
   4. For any existing 404 permit applications that are transferred from the Corps to FDEP upon
      assumption, FDEP may adopt any conditions that USFWS previously provided to the Corps in
      order to fulfill compliance with this PBO or may coordinate with USFWS to modify or amend
      the earlier conditions recommended by USFWS. The USFWS assumes this process will resolve
      any concerns regarding adverse effects to ESA-listed species and designated critical habitat that
      weren’t previously considered on the original section 7 with the Corps.
   5. FDEP and EPA will use their respective authorities to minimize adverse effects of State permit
      actions and ensure compliance with all permit conditions and/or conservation measures that are
      included as part of the State 404 permit action.

Evaluation of the Programmatic Consultation Criteria

We use a programmatic approach to determine whether and to what degree the FDEP 404 program and
the EPA oversight of the FDEP 404 program have the structures needed to insure the issuance of State
404 permits is not likely to jeopardize the continued existence of proposed or listed species or result in
the destruction or adverse modification of proposed or designated critical habitat. In this evaluation, we

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assess whether the State 404 program, as implemented by FDEP and overseen by EPA, fulfills the
following criteria: (1) understand the scope of its action; (2) reliably estimate the physical, chemical, or
biotic stressors that are likely to be produced as a direct or indirect result of their action; (3) minimize
adverse effects of such activities on ESA-listed species and designated critical habitat; (4) identify,
inform, encourage, and screen applicants for potential eligibility under or participation in the permitting
activity; (5) continuously monitor and evaluate likely adverse effects on listed species and critical
habitat; (6) monitor and enforce permit compliance; and (7) modify its action if new information
(including inadequate protection for species or low levels of compliance) becomes available. While we
recognize that site-specific activities would be addressed on a permit-specific basis during the technical
assistance process with the State and coordination with EPA (when EPA has not waived review of the
state permit action), this 7- question approach allows us to consider how the overall implementation of
EPA’s proposed action (which would include these site-specific processes) avoids jeopardy and adverse
modification. We discuss each criterion and its applicability to the proposed action in the following
paragraphs.

Description of effects of the action

The BE states the action studied in the BE is EPA’s approval of the State’s Assumption of the dredge
and fill permitting program under Section 404 of the CWA for waters assumable by the State. Inherent
with the action is that the USACE would no longer accept 404 permit applications from the regulated
community in assumed waters. The 404 program activities caused by the EPA approving the States 404
Program are: 1) FDEP would begin processing 404 permits in assumed waters, 2) FDEP would be
required to coordinate with USFWS in reviewing permit applications in order to avoid or minimize
effects to ESA-listed species and insure FDEP permit actions are not likely to jeopardize a species or
adversely modify its critical habitat, and 3) the consequence of FDEP issuing 404 permits would be the
placement of dredged or fill material into waters of the United States, which in turn would alter the
environment where ESA-considered species may exist or designated critical habitat may exist.

The USFWS has determined that the endangered species coordination processes required in the State’s
operation of the State 404 program (as detailed in this BiOp’s Description of the action and in the BE)
are as protective as the section 7 interagency consultation processes that occur in the operation of the
USACE 404 Program (as detailed in this BiOp’s description of the environmental baseline).

The EPA action is not expected to increase or decrease the future number of CWA section 404 regulated
activities. It is reasonable to expect that the permitting history presented in the BE for the years 2014-
2018 approximates the number and types of permitting activities that could occur over the next five
years. See Chapter 4.2.1 of the BE regarding the limitations of the data used in the analyses of the BE,
regarding the interpretations of the USACE database and shapefile.
Because the precise number and locations of future State section 404 permit applications are unknown,
the exact effects to ESA-species cannot be accurately determined. However, this BiOp and the BE
examined the history of section 7 consultations related to CWA 404 applications and the data indicates
404 permits tend to cluster in rapidly developing regions of Florida.
Using the best available information on recent (2014 - 2018) permitting activities as a baseline (see
Chapter 4 of the BE), and the information included in the species accounts in Appendix B of the BE, a
qualitative assessment of the potential effects of the action on listed and proposed species and
designated and proposed critical habitat was presented in the BE. The BE did not distinguish direct and
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indirect effects based on 2019 revisions to the ESA’s section 7 implementing regulations (50 CFR 402);
however, both immediate impacts and impacts that are reasonably certain to occur later in time were
considered.
Table C.1 in Appendix C of the BE summarizes the potential impacts of dredge and fill activities on
ESA-listed and proposed to be listed species. This stressor table is intended to identify potential effects
and facilitate analysis of which effects are reasonably certain to occur if EPA approves Florida’s
assumption of the CWA section 404 Program in assumed waters. A detailed analysis of potential effects
in the future is not possible, because, as stated above, the exact locations, amounts, and types of impacts
are not yet known. The BE briefly summarizes major categories of impacts and those are presented
below, followed by a discussion of potential effects on major taxa.
Types of Effects
The following discussion is presented in the BE. This description of effects is not exhaustive but
includes some of the more common influencing factors and consequences to species that may result
from activities associated with the placement of dredge and fill material in waters of the U.S. There is a
spectrum of effects to consider, including beneficial effects. For example, there is a level of disturbance
without a detectable sign of effect (e.g. a wood stork flushed off a nest but returns before the eggs are
harmed). There is also disturbance with a detectable sign of effect (e.g. a wood stork is flushed off a nest
and the eggs overheat and die). Heightened levels of effect include injury that is observable or
detectable, such as a failure to reproduce because of physiological or ecological effects of the action, or
the death of one or more individuals.

There is also a theoretical spectrum of likelihoods regarding the probability that a given event or
consequence might occur. These levels of likelihood that a consequence will occur include potential,
unlikely, possible, likely, more than likely, and reasonably certain. With respect to a potential
consequence meeting the definition of an Effect of the action, the consequence must be reasonably
certain to occur which requires clear and substantial information to support that conclusion (50 CFR
402.02, 402.17). Potential stressors or effects to the species and to the essential physical and biological
features of any critical habitat are discussed below and summarized in Appendix C, and we note that
these same factors are evaluated during the review of State 404 permit applications and actions.

Biotic Stressors
Biotic stress is stress that occurs as a result of damage done to an organism by other living organisms,
such as bacteria, viruses, fungi, parasites, beneficial and harmful insects, weeds, and cultivated or native
plants. Dredge and fill activities can alter competitive balances, change predator/prey relationships, or
encourage the establishment of invasive plants or animals, which can alter habitat structure. Loss or
decrease, or colonization or increase, of a species can cascade through multiple trophic levels and, in
some cases, even contribute to habitat alteration (monotypic stands of invasive plants).

Physical Stressors
Physical stressors should be assessed individually and cumulatively, when assessing potential biological
impacts. An example of a physical stressor could be the physical diversion of a stream to another
location, which may adversely impact the habitat for the flora and fauna using the original location of
the stream. Other examples include the construction of new, improvements to, and even the removal of
dams, weirs, and culverts, the removal of wetlands and surface waters by filling with materials, and the
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creation of surface waters by dredging and excavation. Physical stressors include direct mortality
(burying or trapping of individual animals by fill or equipment placing fill), especially for smaller, less
mobile species; it can also result in loss of habitat and displacement of more mobile species able to
escape the immediate effect. Fill of part of a wetland can contribute to loss of function even if most of
the wetland remains intact.
Dredging can result in temporary to permanent loss of aquatic bottom communities, and sedimentation
can reduce visibility, clog gills of aquatic species, and bury immobile organisms. Recovery from dredge
effects may require hours to years, depending on the habitat, substrate type, and the extent of the
disturbance.
Fragmentation can affect species that migrate seasonally between habitat types (pond breeding
salamanders which spend the summer in uplands up to hundreds of feet away) or which have large home
ranges and frequently move among resource types (Eastern Indigo Snake or Florida Panther). It can also
disrupt metapopulations, especially for short-lived invertebrates dependent on stochastic environments,
reducing the frequency of recolonization of otherwise suitable habitat.
Changes to hydrologic regime may include lowering of groundwater levels, increased runoff, or altered
hydroperiod. Changes that result in early drying of ponds or wetlands may result in mortality to pond
breeding amphibian larvae or small fish, while conversion of a seasonal wetland to a permanent pond
may allow colonization by large predators, including stocking of game fish.
Some construction activities (e.g., pile driving or dredging) can result in air or underwater noise and
vibration effects. Analysis of and attempting to reduce these effects has become more common in recent
years. Construction activities such as noise, vibration, as well as visual disturbance, may alter the
behavior of ESA-listed species.
Even measures intended to reduce effects can sometimes have unintended consequences. Some projects
have relocated ESA-listed species, but little follow-up monitoring has been done to document success or
failure of the translocations.

Physicochemical Water Quality Stressors
Physicochemical stress results from environmental factors such as food/nutrition, toxins, metabolic
disorders, infections, and inflammation. Water Quality changes are commonly associated with dredge
and fill activities, although these are not always easy to describe. Effects can include changes in water
temperature, gas or oil dripping from construction equipment or generators to fill of a wetland,
eliminating or reducing natural filtration of sediment and pollutants and resulting in degradation of
downstream habitat. Dredging may also re-suspend environmental contaminants in sediment (common
in industrial areas). Changes to nutrient cycling or exchange are even less obvious and may result from
new activities occurring on or adjacent to the filled areas.
Potential Effects
The following discussion is grouped by major taxa and discusses potential effects of the action by future
activities that may be authorized, should the State 404 program be approved, within guilds of species
with similar habitat needs or life-history traits. These effects are similar to the effects of the current
USACE Section 404 process for granting or denying permits, only will be performed by the State 404
program process as a consequence of the action, if approved. It is assumed that overall, the future
number and/or any rate of increase for State 404 applications and the general types of activities and

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overall dredge or fill quantities will be similar to those permitted in similar jurisdictional waters as past
requests for permits by the USACE, and would not change due to an approval of the State’s request for
Assumption.

Mammals
Twenty-four mammalian species/subspecies are included in Appendix C, Table C.1. Two of these
mammals are extirpated from the state and are therefore excluded from further consideration in this BE.
General habitat preferences in Florida can group the remaining twenty mammals into the following
broad categories: wetland/marsh (six mammals), forests/grasslands/swamps (two mammals), tropical
hardwood hammock/mangrove (three mammals), caves (four mammals), pine rockland (one mammal),
beach/scrub dune (five mammals), and aquatic (one mammal). These groups are intentionally broad for
this macro analysis. Impact analysis on the species level (that takes into consideration
species’/subspecies’ microhabitat preferences) is presented in Table C.1.
In general, all mammalian species under consideration in this BE that occupy or frequent WOTUS or
adjacent habitats during any stage of their life histories and behaviors may be disturbed by activities
during periods when authorized activity-related noise and vibration exceed baseline levels. Such
activities may also disturb the natural behavior of ESA-considered species due to visual disturbance
during construction activities.
ESA-considered mammals that occupy wetlands and marshes in Florida include voles, rabbits, and rats.
These species/subspecies may occupy or use wetland/marsh habitat during all or a portion of their life
history (e.g., for breeding, foraging, or shelter). Marsh and wetland species are likely to be directly
affected by impacts to their habitat from future authorized dredge and fill activities, which may also
result in habitat fragmentation. Changes in existing hydrological regimes and water quality associated
with future authorized activities could also degrade the quality of wetland/marsh habitat and vegetation
(e.g., allow for invasion of non-native vegetation). Dredge and fill activities are also frequently
associated with coastal development. Development of marshes/wetlands may create suitable conditions
for non-native predators (e.g., cats and dogs) and competitors (e.g., Rattus rattus), which would also
impact these ESA-considered species via increased ecological pressures.
Carnivores with large home ranges (e.g., Florida Panther and Red Wolf) occupy a diverse range of
habitats, such as forests, grasslands, and swamps in Florida (as well as pine rocklands). Due to the
restricted range of the Red Wolf on protected land in Florida (limited to St. Vincent Island, a USFWS
National Wildlife Refuge), future activities authorized by the State 404 program are not likely to
adversely affect the species. However, future permitted activities may impact the Florida Panther
through direct impacts to habitat (dredge and fill), habitat fragmentation, and changes to existing
hydrological regimes/water quality. Habitat fragmentation is one of the primary threats to this
subspecies and a limit to its recovery.
Tropical hardwood hammock/mangrove ESA-considered mammal species (bats, rats, and mice) are
likely to be impacted by future permitted activities via habitat fragmentation from fill or impacts to
hydrology/water quality. Several species require fresh sources of drinking water, and their prey items are
also dependent on these landscape features. In addition, impacts to habitat, including fragmentation, may
create opportunities for non-native predators (e.g., cats) to colonize/thrive. The extent of tropical
hardwood hammock and mangrove, particularly in south Florida, has declined significantly over the last
several decades as a result of development, and further fragmentation could have significant impacts on
ESA-considered species (USFWS 1999).
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Several ESA-considered bat species/subspecies occur in limestone karst cave regions of the Florida
Panhandle. Most of these bats are rare/unlikely to occur in the state, and future permitted activities are
unlikely to adversely affect them. However, the Tricolored Bat is a permanent resident throughout
Florida and occupies caves as well as woodland habitat and urban landscapes. Water features are also
important to the species as foraging habitat. Direct impacts on the species’ habitat (fill) as well as an
increase in habitat fragmentation or impacts to hydrological regimes/water quality, may adversely affect
the species.
The Key Deer (as well as the Florida Panther) inhabits pine rocklands. Pine rockland (as well as
hammock) contains a substantial portion of the deer’s forage plants, freshwater, and cover, which is
especially important for fawning. Ongoing threats to the species include urbanization. Through direct
impacts to habitat via fill, as well as habitat fragmentation and impacts to water quality, future permitted
activities could have an impact on the subspecies.
Several ESA-considered beach mice occupy dune systems vegetated by sea oats and adjacent scrub
(dominated by oaks and sand pine or palmetto) in coastal Florida. The predominant factors of decline for
these mice are habitat loss due to alteration or conversion of dunes (from human development and use)
as well as predation by non-native predators. Direct impacts to habitat via fill, dredging, and habitat
fragmentation (which may make habitat for hospitable for non-native predators) could affect these
species.
The West Indian Manatee is the only ESA-listed aquatic marine mammal considered in this BE. Florida
manatees occur in freshwater, brackish, and marine environments, including coastal river estuaries,
sloughs, canals, creeks, and lagoons. The species requires a source of freshwater for drinking. Threats to
the species include human-caused mortality (watercraft collisions), interactions with commercial fishing
gear, pollution, exposure to cold/loss of warm-water refugia, red tides, and impacts to habitat. Future
activities authorized by the State 404 program could affect this species from dredge and fill activities,
increases in vessel storage and operation, and impacts on habitat, including changes in hydrologic
regimes, water quality, water control structures, and habitat fragmentation.

Birds
Nineteen avian species/subspecies are included in Appendix C, Table C.1. Five of these birds are
extirpated from the state and are therefore excluded from further impact analysis in this BE. The
remaining 14 birds can be grouped by general habitat preferences in Florida into the following broad
categories: marsh/wetland birds (five birds), upland scrub birds (one bird), coastal tidal/marine birds
(four birds), grassland birds (two birds), pine savanna birds (one bird), and forest/forested wetlands birds
(one bird). These groups are intentionally broad for this macro analysis. Impact analysis on the species
level (that takes into consideration species’/subspecies’ microhabitat preferences) is also presented in
Appendix C, Table C.1.
In general, all avian species under consideration in this BE that occupy or frequent WOTUS or adjacent
habitats during any stage of their life histories may be disturbed by future permitted activities during
periods project noise and vibration exceed baseline levels. In addition, these activities may also alter the
natural behavior of ESA-considered via visual disturbance during construction activities.
Marsh/wetland avian species may be affected by any direct impacts to their habitat (nesting, foraging,
roosting, overwintering, or stop-over site habitat). Physical impacts to their habitat associated with
future State 404 permits may include fill, dredging, and habitat fragmentation. In addition, fill of

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marsh/wetland habitat may result in a change to existing hydrologic regimes that could impact prey
availability, via providing better conditions for invasive/competing prey species or reducing habitat for
prey). Changes in hydrology also have the potential to flood habitat and nesting areas (resulting in nest
failure), allow aquatic or terrestrial predators easier access to nests (during flooding vs. receding water
conditions), and change the existing nutrient cycle. Changes in hydrology may result in high nitrogen
levels in marshes/wetlands. The habitat then may become choked by an overabundance of emergent
vegetation. Future permitted activities may also result in changes to water quality that could impact
existing marsh/wetland vegetation and prey items (reducing habitat suitability for the species).
The only upland scrub avian species under evaluation is the Florida Scrub-jay. Florida Scrub-jays
occupy early successional xeric scrub and scrub flatwood habitat in relict sand dunes in north and central
Florida. This xeric habitat is well-drained but may be interspersed with swale marshes. Direct impacts
associated with permitted activities that could affect the species include placement of fill, alteration of
hydrologic regimes, and habitat fragmentation (a major issue that hampers the recovery of this species).
Direct impacts of future permitted activities on coastal tidal/marine avian species may include fill,
dredging, and habitat fragmentation of nesting and foraging habitat (beaches, mudflats, intertidal areas,
and inlets). Shoreline stabilization efforts, in particular, threaten several coastal avian species (i.e.,
fortification by riprap and other hardscape reduces available habitat). Permitted activities may also result
in changes to hydrologic regimes and water quality in coastal areas.
Grassland (or dry prairie) avian species may be impacted if authorized dredge or fill activities result in
diminished habitat quality via habitat fragmentation or changes to existing hydrologic regimes.
Throughout Florida, grassland habitat is declining and highly fragmented. This habitat may also be
mismanaged by suppression of natural fire regimes (USFWS 1999). Additional habitat loss and
fragmentation may impact grassland species. Many grassland species also nest on or close to the ground
and are highly susceptible to nest flooding (could occur with altered hydrological conditions in the
grassland).
The only pine savanna avian species under evaluation is the Red-cockaded Woodpecker. Pine savanna
ecosystems (or “high pine”) are characterized by widely spaced pine trees and extensive ground cover.
Wetlands may be interspersed in low-lying areas. This habitat is almost extinct and highly fragmented in
Florida. Also, the quality of existing high pine forests may be hampered by fire suppression (USFWS
1999). Pine savanna avian species may be impacted if authorized dredge or fill activities result in
diminished habitat quality via habitat fragmentation or changes to existing hydrologic regimes.
Forest/forested wetlands avian species may be impacted if future authorized dredge or fill activities
result in diminished habitat quality via habitat fragmentation or changes to existing hydrologic regimes
and water quality. Many of the forest/forested wetland obligate species under evaluation are extirpated
from the State of Florida. Habitat fragmentation may expose the remaining forest/forested wetland avian
species to increased predation risk and nest failure (Stephens et al. 2004). Altered hydrology and water
quality may impact prey availability as well.

Reptiles
Nineteen reptiles are included in Appendix C, Table C.1 of the BE. These reptiles can be grouped by
general habitat preferences in Florida into the following broad categories: wetland/marsh/freshwater
(seven reptiles), swamp/saltwater (one reptile), pine flatwoods (two reptiles), pine rocklands (two
reptiles), and sandhill/scrub flatwood (seven reptiles). These groups are intentionally broad for this

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macro analysis. Impact analysis on the species level (that takes into consideration species’/subspecies’
microhabitat preferences) is presented in Appendix C, Table C.1.
Wetland/marsh/freshwater reptile species in Florida may be affected by any direct impacts to their
habitat (foraging, breeding, loafing, etc.). Dredge and fill activities in wetlands, marshes, and freshwater
(ponds, rivers, streams), including ditching, diking, and impoundments, may result in habitat
fragmentation and potentially impact both prey and predator populations (both native and invasive
species). In addition, species that spend a large portion of their lives in water are likely to be impacted
by changes in hydrological regimes, water quality, and vegetation composition (e.g., increased levels of
sedimentation, impacts to burrowing mud substrate, and changes in emergent/submergent vegetation).
Impacts are anticipated to be similar for species that inhabit swamps/forested wetlands and saltwater
mangroves.
Pine flatwoods serve as a mesic successional stage between hardwood hammock and wet flatwoods
(USFWS 1999). This habitat is threatened by conversion or loss and degradation from fire suppression.
Species restricted to pine flatwoods are unlikely to be adversely affected by future State 404 permits.
However, species that range between pine flatwoods and other habitat types such as wet flatwoods may
be affected by direct impacts to habitat and habitat fragmentation.
In Florida, large areas of pine rockland habitats are protected on federal lands. However, particularly
around Miami and the Keys, this habitat is on private land and under threat from development,
conversion to agriculture, fire suppression, and invasive species (USFWS 1999). Pine rocklands are
interspersed with areas of freshwater wetlands. Species associated with these wetland features may be
affected by direct impacts to habitat as well as habitat fragmentation.
Sandhill/scrub flatwoods are xeric, well-drained areas of prairie, hammock, and scrub. These habitats
are threatened by conversion, degradation, and fragmentation. The species that are found in
sandhill/scrub flatwoods are not typically associated with wetlands/WOTUS during their life histories.
The future permits under the State 404 program are not likely to adversely affect species that occupy
these habitats.

Amphibians
Five amphibians are included in Appendix C, Table C.1 of the BE. These include species that utilize
seasonal wetlands to breed and then disperse into surrounding upland habitat (three amphibians); species
restricted to aquatic caves (one amphibian); and subspecies that primarily utilize perennial wetlands but
which always had a restricted distribution and may now be extirpated (one amphibian).
Pond breeding species are easily affected by direct fill of wetlands and by hydrology alteration,
especially shortening of pond hydroperiod, which may strand aquatic larvae prior to metamorphosis. As
these species move between upland and wetland habitat, fragmentation is a concern. In other parts of the
United States, the USFWS sometimes explicitly considers fragmentation in making effects
determinations and making conservation recommendations for pond-breeding ESA-listed amphibians
(R. Henry pers. comm.). Fire suppression is believed to be a concern for some species in some habitat
types. Pond breeding amphibians are also at risk because they utilize seasonal isolated wetlands, which
often are not subject to CWA jurisdiction. For cave-dwelling amphibians, water quality degradation, and
both chemical and from sedimentation, could have adverse effects. Hydrology alteration is also a
concern.


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Most ESA-considered amphibians in Florida have relatively small distributions. Fully implemented
safeguards, such as careful review to identify occurrences associated with future permitting and with
adequate avoidance and minimization measures including minimization of fragmentation near utilized
wetlands, would ensure that effects would remain at or below baseline conditions.

Fish
Six species/subspecies of fish are included in Appendix C, Table C.1 including three types of sturgeon
associated with larger rivers and estuaries, two other coastal species, and one species associated with
smaller streams. The stream species (Okaloosa Darter) is especially at risk of fragmentation or direct
habitat loss because of a restricted range and very limited mobility; however, most populations are
currently managed, and the species is considered to be stable at present. The estuarine and coastal
species are less likely to be affected by small amounts of dredge or fill because they tend to occur in
larger and more contiguous habitats, although sedimentation, water quality degradation, and to a lesser
extent direct habitat loss are potential effects. As fish are, by definition, fully aquatic, they are frequently
affected by CWA activities. Should these species be found in State-assumed waters, coordination with
the Services and important safeguards may need to be identified during permit review, such as
implementation of Best Management Practices (BMPs), and avoidance and minimization measures.

Insects
Twenty-five species/subspecies of insects are included in Appendix C, Table C.1 including 11
butterflies, five caddisflies, five dragonflies, two bees, and two beetles. Two of these insects, the
American Burying Beetle and the Three-toothed Long-horned Caddisfly, are extirpated from the state
and therefore excluded from further consideration in this BE. The majority of these ESA-considered
insects are threatened by the use of pesticides for agricultural purposes (e.g., Monarch Butterfly’s loss of
milkweed host plant) and biocides/insecticides for mosquito control.
All of the caddisfly and dragonfly species face similar threats associated with spring, stream, river, and
lake modifications. They may be directly affected by impacts to their habitat from future authorized
dredge and fill activities, which may also result in habitat fragmentation. Given that both groups spend
the larval stage of their life cycles in an aquatic habitat, they are especially vulnerable to changes in
water quality conditions (e.g., siltation, pollution, and eutrophication) and changes to existing
hydrological regimes. Thus, changes in existing hydrological regimes and water quality could also
degrade the quality of aquatic habitat and vegetation (e.g., allow for invasion of non-native vegetation).
ESA-considered insects that occupy wetlands, marshes, and swamps in Florida include the Palatka
Skipper and Duke’s Skipper butterflies and the Calvert’s Emerald Dragonfly. These species are likely to
be directly affected by impacts to their habitat from future authorized dredge and fill activities, which
may also result in habitat fragmentation. Changes in existing hydrological regimes and water quality
could also degrade the quality of wetland/marsh habitat and vegetation (e.g., allow for invasion of non-
native vegetation). Dredge and fill activities are also frequently associated with coastal development
and, in turn, habitat fragmentation.
Species that occupy forests, woodlands, pine barrens, pine rocklands, and/or grasslands in Florida (e.g.,
Monarch Butterfly, Florida Leafwing, Frosted Elfin Butterfly, Ceraunus Blue Butterfly, Cassius Blue
Butterfly, Bartram’s Scrub-hairstreak, and Miami Tiger Beetle) do not use wetlands or WOTUS during
any stage of their life history. Future permits under the State 404 program are not likely to adversely
affect species that occupy these habitats.
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Coastal or tropical hardwood hammocks, dunes, sand pine, and/or scrub obligate insect species (e.g.,
Gulf Coast Solitary Bee, Nickerbean Blue Butterfly, Miami Blue Butterfly, and Blue Calamintha Bee)
may be impacted by habitat fragmentation from fill. These impacts may occur where waters/wetland
habitat is interspersed with or border these habitat types. As insects are declining on a global scale,
impacts to habitat and other resources that factor into species’ life history could affect ESA-considered
species recovery.

Crustaceans
Nineteen crustacean species/subspecies are included in Appendix C, Table C.1. These species can be
grouped by general habitat preferences in Florida into the following broad categories: pond/river/stream
species (four crustaceans) and cave/well/sinkhole species (15 crustaceans). These groups are
intentionally broad for this macro analysis. Impact analysis on the species level (that takes into
consideration species’/subspecies’ microhabitat preferences) is presented in Appendix C, Table C.1.
Future authorizations under the State 404 program may impact pond/river/stream crustaceans (crayfish)
via direct mortality or physical alteration of habitat through dredge and fill activities. Dredge and fill
activities may also fragment habitat, change existing hydrological regimes, and affect water quality. All
of the crayfish species under consideration in the action area are highly sensitive to and already
threatened by impacts to both surface and groundwater quality (e.g., changes in temperature, flow, and
siltation levels, etc.). Changes in water quality (e.g., an increase in nitrogen levels) may also create
favorable conditions for invasive aquatic vegetation or change existing levels and/or species
composition of native vegetation. This could decrease the quality of the existing crayfish habitat.
Crustaceans (crayfish and amphipods) that inhabit caves, wells, sinkholes, and other subterranean water
features may also experience indirect mortality and/or impacts to habitat as a result of dredge and fill
activities in or adjacent to occupied areas. Many cave/well obligates are extremely restricted in range
(some species are only known from one or two localities). Any changes in habitat conditions could
potentially result in species extirpation. Cave/subterranean crustaceans are also highly threatened by
changes in hydrology. Any future activities that would deplete groundwater/aquifers results in changes
in flow and, in turn, impacts availability of detrital food items or burrowing habitat. Water quality
impacts (increase in nitrogen or sediment levels) may also affect the species. In addition, many cave-
dwelling species are dependent on cave-roosting bats, specifically their guano, as a food source. Impacts
on cave-roosting bat populations may also affect these crustaceans by reducing food availability.

Mollusks
As freshwater mussels are, by definition, fully aquatic, they are likely to be impacted by dredge and fill
activities. Twenty-one species of mollusks are included in Appendix C, Table C.1, including 18 types of
freshwater mussels that are associated with varying sizes of springs, creeks, and rivers, two freshwater
snails, and one tree snail. The freshwater mussel species all face similar threats associated with habitat
modification. These include direct habitat modifications such as impoundments,
dredging/channelization, stream bed destabilization, and streamflow depletion (e.g., water extraction).
They are especially vulnerable to changes in water quality conditions (e.g., excessive sedimentation,
environmental contaminants, and eutrophication) and changes to existing hydrological regimes.
Similarly, as filter feeders, they are vulnerable to changes in nutrient cycling. Given the reliance all
freshwater mussels have on host fish during the larval period of their life cycle, impoundments or other
effects influencing host fish species may affect these species. Additionally, mollusk species may be
threatened by the invasive species (e.g., Asiatic Clam (Corbicula fluminea)), which could be spread by
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dredge and fill activities. Tree Snails are less likely to be affected as they occur in terrestrial, arboreal
environments; nonetheless, direct habitat fragmentation is possible.

Plants
Ninety-nine plants are included in Appendix C, Table C.1. These species/subspecies/varieties can be
grouped by guild into the following categories: lichens, graminoids, annual forbs, perennial forbs, sub-
shrubs, shrubs, cacti, and trees. These groups are intentionally broad for this macro analysis. Impact
analysis on the species/subspecies/varietal level (that takes into consideration microhabitat preferences)
is presented in Appendix C, Table C.1.
Nine annual forbs are included in this analysis. Five of these forbs occur primarily in wetland habitats,
including non-forested wetlands such as prairies, as well as ponds and lakes, ditches, and road shoulders.
Fifty-five perennial forbs are included, and roughly half of these occur in wetland habitats. They occur
in a variety of specific habitats within freshwater non-forested and freshwater forested wetlands,
including wet prairies, cypress swamps, bogs, fens, and seeps. Some occur in pond or lake habitats, and
others occur in floodplains or along the banks of rivers or streams. Two epiphytic orchids in this
category grow on trees in forested wetlands. One grass and one sedge species included in this analysis
may be affected as well.
Four sub-shrubs, six shrubs, and two tree species considered in the analysis occur in wetland habitats, or
in habitats which may border wetlands, and which may be affected by future activities that may be
permitted under the State 404 program. These species occur in both freshwater non-forested and
freshwater-forested wetlands. The sole lichen species and the four cacti species occur in upland habitats
that are not likely to be affected.
Many of the species analyzed in this document have experienced substantial habitat loss and range
restrictions due to a number of factors, including development and land conversion, alteration of fire
regimes and fire suppression, threats from invasive species, and changes to hydrologic regimes. Some
have been impacted by forestry practices or horticultural collection. Direct impacts to several of the
plants may occur from future authorized fill or dredging activities (which could result in direct mortality
or direct impact on wetland habitats). Indirect impacts from wetland dredge or fill activities may affect
not only hydrophytes but also some upland species occurring in habitats that border wetlands, from the
building of access roads or staging areas. Other indirect impacts include changes in hydrology, water
quality, nutrient alteration, and competitive pressure that may arise from shifts in species composition.

CUMULATIVE EFFECTS

This BiOp must evaluate the consequences to species caused by future non-Federal activities within the
action area, i.e., cumulative effects. “Cumulative effects are those effects of future State or private
activities, not involving Federal activities, that are reasonably certain to occur within the action area of
the Federal action subject to consultation” (50 CFR 402.02). Additional regulations at 50 CFR 402.17(a)
identify factors to consider when determining whether activities are reasonably certain to occur. These
factors include, but are not limited to: existing plans for the activity; and any remaining economic,
administrative, and legal requirements necessary for the activity to go forward. Future Federal actions
that are unrelated to the proposed action are not considered in this section because they require separate
consultation pursuant to section 7 of the ESA.


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Within the action area (the assumed waters and their adjacent uplands in Florida), declines in the
abundance or range of many federally-threatened, endangered, and other special status species are
attributable to various human activities on Federal, State, and private lands, such as human population
expansion and associated infrastructure development; construction and operation of dams along major
waterways; water retention, diversion, or dewatering of springs, wetlands, or streams; recreation,
including off-road vehicle activity; expansion of agricultural or grazing activities, including alteration or
clearing of native habitats for domestic animals or crops; and introductions of non-native plant, wildlife,
or fish or other aquatic species, which can alter native habitats or out-compete or prey upon native
species. Many of these activities are expected to continue within the range of various federally protected
wildlife, fish, and plant species, and could contribute to cumulative effects to the species within the
action area. Species with small population sizes, endemic locations, or slow reproductive rates will
generally be more susceptible to cumulative effects.

The BE (Appendix A) has a section that describes the effects of non-Federal activities that are
reasonably certain to occur in the action area. The BE states as compared to the regulatory baseline, the
action does not authorize any new activities or increased discharge of pollutants that would significantly
increase the magnitude of adverse cumulative environmental impacts to ESA-listed species, and the
implementation of the State 404 program by FDEP will ensure effects on ESA-listed species will be
evaluated and addressed at project-level. Lastly, as noted in this BiOp’s Description of the action, the
USFWS’s project-specific, species-specific, review of the likelihood that a permit action may jeopardize
a species or adversely modify critical habitat will take into account the effects of any unrelated non-
federal actions occurring in the project area, similar to the way a cumulative effects analysis is
conducted under section 7 of the ESA.


INTEGRATION AND ANALYSIS OF EFFECTS

The action this BiOp is evaluating is the EPA’s potential approval of Florida’s request to assume
administration of the CWA 404 program in assumed waters, defined as waters not retained by the
USACE 404 program. The action will occur throughout Florida in assumed waters and may affect them
and their adjacent uplands, which is considered the action area. The action is likely to adversely affect
the species and critical habitats listed in this BiOp and the BE. This section of the BiOp integrates
information presented in this BiOp to summarize stressors and the likely consequences of exposing
ESA-listed species to these stressors.

This programmatic BiOp’s effects analysis assesses whether, and to what degree, FDEP has structured
its 404 program to establish processes that provide EPA , FWC, USFWS, and the 404 permit applicant
to collectively implement the provisions of section 404(g)-(l) of the CWA and the State’s 404 Program
Rule (62-331 F.A.C.), and the FDEP-FWC-FWS Endangered Species Coordination Memorandum of
Understanding in a manner that addresses adverse effects to listed species and their critical habitats, and
ensures the regulated activities that require State 404 permits are not likely to jeopardize the continued
existence of endangered or threatened species or destroy or adversely modify designated critical habitat.

As described in the BE, the State 404 Program requires the analysis for whether effects to listed species
and their critical habitats have “reasonable potential” to occur (62-331, F.A.C.; 40 CFR 233.51), and if
so, to further determine whether those effects are “likely to be an adverse effect”, or “not likely to be an
adverse effect”. If adverse effects/impacts may occur, conditions or measures to avoid and minimize the
impacts would be included as permit conditions and implemented by the permittee. The State 404
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program species assessment is modeled after the Federal processes for determining, avoiding, and
minimizing effects to listed species and ensures compliance with the ESA and the CWA during State
404 permit application review and permit issuance.

This BiOp confirms the resulting species coordination processes fulfill the following criteria when
reviewing future State 404 permit applications:
    1. The scope of the action is adequately described;
    2. The physical, chemical, or biotic stressors to species that are likely to be produced as a result of
       the action is estimated;
    3. The adverse effects of such activities on ESA-listed species and designated critical habitat is
       minimized;
    4. The applicants participating in permitted activities are informed, encouraged, and screened for
       potential incidental take exemption eligibility as required by permit issuance;
    5. Likely adverse effects on listed species and critical habitat are monitored and evaluated;
    6. Permit compliance is monitored and enforced; and
    7. If new information becomes available (including inadequate protection for species or low levels
       of compliance), the action is re-evaluated and modified if warranted.
The FWC will assist FDEP with the coordination of ESA- listed species reviews, which would take
place concurrently with their review of impacts to State-listed species (per Chapters 62-330, F.A.C. and
68A-27, F.A.C.) for the State 404 and ERP programs. The FWC may assist FDEP as the State’s species
coordination lead to be the point of contact for coordination with the USFWS. FWC may provide
information and other preliminary assessment assistance to USFWS as USFWS reviews State 404
permit applications and develops recommendations for FDEP/FWC to avoid and minimize adverse
impacts to listed species and their habitats.
Key commitments by FDEP, FWC, FWS that ensure ESA-listed species coordination and
conservation
The species coordination process includes a USFWS review of all State 404 permit applications for
consistency with the ESA and an EPA review (including consideration of USACE, USFWS, and NMFS
comments provided to EPA) of applications with a reasonable potential to affect ESA-listed species.
Key commitments between FDEP, FWC, and the USFWS to ensure a successful species coordination
and conservation related to State 404 permit reviews include:
1) FDEP’s processes and procedures to review State 404 applications will be similar to and will utilize
   the USFWS-approved permitting guidance that is currently used by the USACE, to ensure
   consistency with CWA and ESA requirements.
2) FDEP, FWC, and USFWS will participate in a State 404 program species coordination technical
   team. This technical team will oversee the species coordination process, including but not limited to:
   assisting in the transition of 404 permitting by participating in training efforts; providing a process to
   elevate questions and decision-making to a group with technical expertise, as needed; assist in
   refining coordination processes, procedures, and future improvements, as needed, related to State of
   Florida permitting under Chapter 62-331, F.A.C.
3) Prior to assuming 404 permitting, FDEP and FWC permit review staff will be trained in the new
   State 404 program species coordination procedures and processes. The FDEP, FWC and the USFWS
   will collaborate on developing the training materials, and the FWC and the USFWS will be invited
   to participate in the in-person and/or virtual training meetings for FDEP permit review staff.
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4) All State 404 applications will be forwarded to USFWS for review, the majority of which will
   include FDEP or FWC preliminary determinations for effects to ESA-listed species or species
   proposed to be listed within a few days of the application provided to the USFWS. These
   preliminary determinations may include possible effects for species found onsite, potential impacts
   to critical habitat, and potential protective measures that may address the effects and impacts.
5) Technical assistance in individual project-by-project reviews from the USFWS may be
   accomplished by individual USFWS staff or by USFWS-approved effect determination tools, as
   described below.
6) FDEP will incorporate as permit conditions all recommended impact avoidance and minimization
   measures (protection measures) provided by the USFWS to avoid jeopardizing listed or proposed
   species and/or adversely modifying designated or proposed critical habitat. In addition, if:
   a) the applicant for a State 404 permit is the holder of a valid and active biological opinion, or
      Habitat Conservation Plan Incidental Take Permit (HCP/ITP), or a similar binding agreement
      that is issued by the USFWS and
   b) the species and activities described in the State 404 permit application are covered in the
      Program assumption BiOp, HCP/ITP (or similar agreement), then no additional avoidance and
      minimization measures would be required. FDEP would provide the documentation in order for
      USFWS review the project. If the USFWS concludes that a permit application is likely to
      jeopardize or adversely modify designated critical habitat and no protection measures are
      available to reduce the risk to an acceptable level, FDEP will issue a Notice of Intent to Deny the
      permit.

CONCLUSION

After reviewing the current status of the species, the environmental baseline for the action area, the
effects of the potential action, and the cumulative effects, it is the USFWS’s biological opinion that
EPA’s action, as proposed, is not likely to jeopardize the continued existence of ESA-listed species
listed identified in this BiOp and is not likely to destroy or adversely modify designated critical habitat
identified in this BiOp.

As described in the BE and this BiOp, activities regulated by section 404 of the CWA can have
significant adverse effects on ESA-listed species and their critical habitats. EPA’s approval of the
State’s 404 program activates the FDEP-FWC-USFWS MOU which establishes a process whereby the
USFWS will be provided an opportunity to review all State 404 permit applications, and analyze
impacts to ESA-listed species and designated critical habitat that may result from activities permitted by
the State 404 program and provide technical assistance to FDEP with respect to avoiding and
minimizing effects on .ESA-listed species and their critical habitats During this review, the USFWS will
have an opportunity to provide additional information concerning potential effects to ESA-listed species,
recommend measures to minimize effects, and provide monitoring and reporting recommendations on a
project-specific and species-specific basis.

Our opinion is that the proposed action (including the subsequent program activities it will cause) has
built in a sufficiently structured process to insure that the State’s administration of section 404 of the
CWA in assumed waters is not likely to cause an appreciable reduction in the likelihood of both the
survival and recovery of any listed species by reducing the reproduction, numbers or distribution of that
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species. It is also our opinion that the proposed action has built in a sufficiently structured process to
insure State’s administration of section 404 of the CWA in assumed waters is not likely to result in
destruction or adverse modification of critical habitat.

INCIDENTAL TAKE STATEMENT

Section 9 of the ESA and Federal regulations pursuant to section 4(d) of the ESA prohibit the “take” of
endangered and threatened species, respectively, without special exemption. “Take” is defined as to
harass, harm, pursue, hunt, shoot, wound, kill, trap, capture or collect, or to attempt to engage in any
such conduct. Harm is further defined by the USFWS as an act which actually kills or injures wildlife,
which may include significant habitat modification or degradation that results in death or injury to listed
species by significantly impairing essential behavioral patterns, including breeding, feeding, or
sheltering. Harass is defined by the USFWS as actions that create the likelihood of injury to listed
species by annoying them to such an extent as to significantly disrupt normal behavior patterns which
include, but are not limited to, breeding, feeding or sheltering. Incidental take is defined as take that is
incidental to, and not the purpose of, the carrying out of an otherwise lawful activity. Under the terms of
sections 7(b)(4) and 7(o)(2), taking that is incidental and not intended as part of the agency action is not
considered to be prohibited taking under the ESA provided that such taking is in compliance with the
terms and conditions of this Incidental Take Statement.

Section 7(b)(4) and 7(o)(2) of the ESA generally do not apply to listed plant species. However,
protection of listed plants from take is provided to the extent that the ESA prohibits the removal and
reduction to possession of Federally listed endangered plants or the malicious damage of such plants on
areas under Federal jurisdiction, or the destruction of endangered plants on non-Federal areas in
violation of State law or regulation or in the course of any violation of a State criminal trespass law.

For species proposed for listing under the ESA, the prohibitions against taking endangered species under
section 9 of the ESA or under a Section 4(d) rule for threatened species do not apply until the species is
listed. If the conference opinion is adopted as a biological opinion following a listing or designation
under section 4 of the ESA, the Reasonable and Prudent Measures, with their implementing Terms and
Conditions, will be nondiscretionary. Terms and Conditions must be undertaken, for the exemption in
section 7(o)(2) to apply.

For proposed activities in which the State has permitting authority and for which incidental take of ESA-
listed species is reasonably certain to occur, the amount and extent of incidental take anticipated from
these proposed activities will be quantified and evaluated on a project-specific basis through the
technical assistance process conducted between the USFWS and the State.

Amount or Extent of Take Anticipated

While the BE provided a detailed analysis of typical impacts related to stressors to ESA-listed species,
inability to anticipate the locations of future State 404 permit applications did not allow the Service to
conduct site- and species-specific analyses to estimate the number of individuals that might be affected
by the permitted activities. .

However, through implementation of the State 404 program (62-331, F.A.C.) and EPA’s oversight of
the State 404 program and coordination of Federal review of state permit actions (40 CFR 233), this
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project-specific information will be provided to the USFWS because USFWS will receive all State 404
permit applications.

This affords the USFWS the opportunity to appropriately evaluate project effects on a project-specific
and species-specific basis. This review will allow the USFWS to provide technical assistance to the
State to adjust an action that may result in the take of ESA-listed species. As described in our
conclusion, we assume that through technical assistance with the State, appropriate measures to
minimize incidental take and detrimental effects associated with activities regulated by the State 404
program will be developed by the USFWS, and that these measures will ensure that each permit will
minimize adverse effects and thereby avoid jeopardy to ESA-listed species and avoid destruction or
adverse modification of critical habitat.

If it is determined, through technical assistance on permit reviews with State that take of ESA-listed
species is still expected to occur after implementation of recommended minimization measures, the
amount or extent of incidental take will be quantified, at that time by the appropriate Field Office of the
USFWS, in coordination with FDEP/FWC. FDEP/FWC and USFWS will review reports and track the
levels of take estimated through the technical assistance process and exempted by this Incidental Take
Statement.

Incidental take exemption will be afforded to EPA when its approval of the State’s assumption of the
administration of section 404 of the CWA, including its implementation process, is carried out as
described in this BiOp. In addition, any take incidental to the execution of activities permitted by a State
404 permit issued through the implementation process described in this BiOp will be exempt from
Section 9 and Section 4(d) prohibitions if the permittee implements all permit conditions such as effect
minimization measures, monitoring, and reporting as agreed upon by the State, and the USFWS.

If FDEP chooses not to follow, or is unable to comply with the Reasonable and Prudent Measures and
associated Terms and Conditions of this Incidental Take Statement, they may seek protections from the
take prohibitions of the ESA by obtaining take authorization pursuant to section 10(a)(1)(A) and
10(a)(1)(B) of the ESA or exemption through a separate ESA Section 7(a)(2) consultation if another
Federal nexus exists.

In summary, because of the large scale and broad scope of the proposed action, the best scientific and
commercial data available are not sufficient to enable the USFWS to accurately estimate the specific
amount of incidental take at this time that is anticipated to occur as a result of the action. However, the
amount or extent of incidental take of listed species will be quantified during the technical assistance
process that is required in accordance with the State 404 program rule (62-331, F.A.C.), the FDEP,
FWC, USFWS MOU, and EPA oversight regulations (40 CFR 233). This Incidental Take Statement
does not apply in the absence of any take prohibited under Section 9 or Section 4(d) of the ESA.


Reasonable and Prudent Measures

The following reasonable and prudent measures are necessary and appropriate to minimize impacts of
incidental take to species identified in this BiOp.

1. EPA (the action Agency) will use its authorities under the CWA to minimize impacts to listed
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   species pursuant to its oversight of the State’s 404 Program.
2. The State of Florida (the Applicant) will use its authorities under the State of Florida 404 Program
   Rule (62-331) and other authorities pertaining to the protection of fish, wildlife, and plants to
   minimize impacts to ESA-listed species pursuant to its administration of the State’s 404 Program.
3. The parties (FDEP, FWC, and USFWS) will implement the FDEP, FWC, USFWS MOU.


Terms and Conditions

In order to be exempt from the prohibitions of section 9 of the ESA, the Action Agency (EPA) and the
Applicant (FDEP) must comply with the following terms and conditions, which implement the
reasonable and prudent measure described above and outline required reporting/monitoring
requirements. In accordance with 50 CFR 402.14(i)(1)(iv), these terms and conditions are non-
discretionary and must be complied with by EPA or FDEP, as indicated below.

Terms and Conditions the EPA must comply with:

   1. EPA shall oversee the operation of the State 404 program to ensure the State 404 program
      operates in accordance with the requirements stipulated in 40 CFR 233.
   2. EPA shall coordinate Federal review of State 404 permit actions in accordance with the
      requirements stipulated in 40 CFR 233.50.

Terms and Conditions the FDEP must comply with:

   1. FDEP shall participate in a State 404 program species coordination technical team with FWC
      and USFWS per the FDEP-FWC-USFWS MOU. This technical team will oversee the species
      coordination process, including but not limited to: assisting in the transition of 404 permitting by
      participating in training efforts; providing a process to elevate questions and decision-making to
      a group with technical expertise, as needed; assist in refining coordination processes, procedures,
      and future improvements, as needed, related to State of Florida permitting under Chapter 62-331,
      F.A.C.
   2. FDEP shall implement a training program to familiarize FDEP and FWC permit review staff
      with the State 404 program species coordination procedures and processes. FDEP shall
      collaborate with FWC and USFWS on developing the training materials, and shall invite FWC
      and USFWS to participate in the in-person and/or virtual training meetings for FDEP permit
      review staff.
   3. FDEP shall forward all State 404 applications to USFWS for review, in accordance with the
      timeframes and processes described in the BE and this BiOp’s description of the proposed
      Action.
   4. FDEP shall accept technical assistance in individual project-by-project reviews from the USFWS
      via individual USFWS staff coordination or by USFWS-approved effect determination tools.
   5. FDEP shall incorporate as permit conditions all recommended impact avoidance and
      minimization measures (protection measures) provided to FDEP by the USFWS to avoid
      jeopardizing listed species and/or adversely modifying designated or proposed critical habitat.
   6. If the applicant for a State 404 permit is the holder of a pre-existing valid and active biological
      opinion with an incidental take statement, or a Habitat Conservation Plan with an Incidental
      Take Permit (HCP/ITP) that was issued by the USFWS and the species and activities described
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           in the State 404 permit application are covered by that particular biological opinion, or HCP/ITP,
           then FDEP may stipulate as a permit condition that the applicant must comply with that
           biological opinion or ITP. FDEP will confirm the validity and applicability of the applicant’s
           pre-existing biological opinion or HCP/ITP with the USFWS before taking any final action on
           the State 404 permit application.
       7. FDEP will issue a Notice of Intent to Deny the permit if the USFWS concludes that a permit
           application is likely to jeopardize or adversely modify designated critical habitat and no
           protection measures are available to reduce the risk to an acceptable level.
       8. FDEP will provide an annual report to the USFWS that:
                a. Summarizes the number and types of State 404 permits issued or denied, including data
                    on impacts to ESA-listed species or critical habitat.
                b. Includes a table that identifies all ESA-listed species taken by State 404 permitted
                    activities along with the amount or extent of such take.
                c. Identifies any permits that were elevated in accordance with the FDEP-FWC-USFWS
                    MOU and how those elevations were resolved.
       9. If prior to the completion of a permitted activity, new information (e.g. listing of new species,
           new critical habitat, or modifications to permitted activity) shows that the magnitude of impacts
           to listed species is greater than originally anticipated by USFWS, or that the amount of incidental
           take originally anticipated by USFWS is exceeded, FDEP, in accordance with its authority under
           62-331.080, F.A.C., will reopen the permit and coordinate with the USFWS to: 1) determine if
           the additional impacts are likely to jeopardize any species; and 2) determine if additional
           minimization measures, reporting, or monitoring are required as deemed necessary by USFWS.
       10. FDEP will inform 404 permittees that if a permittee locates dead or injured ESA-listed species,
           immediate notification must be made to the appropriate Field Office of the USFWS. Pertinent
           information including the date, time, location, and possible cause of injury or mortality (e.g.
           impingement or entrainment) of each species shall be recorded and provided to the USFWS.
           Instructions for proper care, handling, transport, and disposition of such specimens will be issued
           by the Services. Care must be taken in handling sick or injured animals to ensure effective
           treatment and in handling dead specimens to preserve biological material in the best possible
           state.
   Conservation Recommendations

   Section 7(a)(1) of the ESA directs Federal agencies to utilize their authorities to further the purposes of
   the Act by carrying out conservation programs for the benefit of endangered and threatened species.
   Conservation recommendations are discretionary agency activities to minimize or avoid adverse effects
   of a proposed action on listed species or critical habitat, to help implement recovery plans, or to develop
   information. We recommend that EPA, FDEP, and State 404 permit applicants implement the following
   actions:
1. In consultation with the Service, develop a conservation program for threatened and endangered species
   and develop conservation plans that specifically addresses threats to listed species and how
   implementation of CWA programs can ameliorate those threats;
2. EPA and FDEP may further aid the recovery of ESA-listed species by sponsoring additional research
   and development that improves the wildlife value of activities regulated by the CWA 404 program (e.g.,
   creation of shallow-water littoral shelves in stormwater retention ponds for the benefit of wading birds).

   In order for the Service to be kept informed of actions minimizing or avoiding adverse effects or
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benefitting listed species or their habitats, the Service requests notification of the implementation of any
conservation recommendations.

REINITIATION NOTICE

This concludes formal consultation on the action. As described in 50 CFR §402.16, reinitiation of
consultation is required where discretionary Federal agency involvement or control over the action has
been retained (or is authorized by law) and if: (1) the amount or extent of incidental take is exceeded; (2)
new information reveals effects of the agency action that may affect listed species or critical habitat in a
manner or to an extent not considered in this opinion; (3) the agency action is subsequently modified in
a manner that causes an effect to the listed species or critical habitat not considered in this opinion; or
(4) a new species is listed or critical habitat designated that may be affected by the action. For the
purposes of this programmatic consultation, any exceedance of take for a State 404 permit action that
has not been completed will be addressed as described in FDEP’s term and condition number 9.
Additionally, the listing of a new species or critical habitat shall not trigger reinitiation of consultation
on this action (approval of Florida’s assumption of the CWA 404 program). Since the State would
administer the CWA 404 program, the USFWS has no obligation to conduct section 7 consultation on
individual permits because the issuance of such a permit is not a Federal action. However, the State’s
regulations require that the State comply with the technical assistance process with USFWS for ESA
listed species and critical habitat. Accordingly, any effects to newly listed species or their critical habitat
would be sufficiently considered and addressed.

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                                                                                             June 25, 2018

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   M.C. #24 111 Floor
   New York, New York 10007-1866
   Attn: Dan Montella

   Eric Schrading, Field Supervisor
   U.S. Fish and Wildlife Service
   New Jersey Field Office
   4 East Jimmie Leeds Road, Suite 4
   Galloway, New Jersey 08205

   Dear Mr. Lopez and Mr. Sclu·ading:

   The New Jersey Department of Environmental Protection (NJDEP) has reviewed the attached annotated
   version of the December 22, 1993 Memorandum of Agreement (MOA) between the U.S. Environmental
   Protection Agency (EPA), the U.S. Fish and Wildlife Service (the Service), and the NJDEP. Please be
   advised that NJDEP acknowledges and accepts the March 2018 updates and understands that the
   annotated MOA will serve as a working copy for the protection of federally listed species under the State-
   assumed Section 404 program.

   If you have any questions, please contact me at (609) 984-3444.




                                                             · e Dow, Director,
                                                            Division of Land Use Regulation
                                                            New Jersey Depa1tment of Environmental Protection

  Enclosure

  Cc:     Virginia Kopkash
          Larry Torok




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                            UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                             REGION 2
                                                         290 BROADWAY
                                                 NEW YORK, NY 10007-1866
                                                                    May 10, 2018



Eric Schrading, Field Supervisor
U.S. Fish and Wildlife Service
4 East Jimmie Leeds Road, Suite 4
Galloway, New Jersey 08205

Catherine R. McCabe, Commissioner
New Jersey Department of Environmental Protection
401 East State Street
P.O. Box 420
Trenton, New Jersey 08625
Attn: Diane Dow                   /'. , \ _ ,'-r-,L;
                 Er-i· '-' •                    L-'~                   I
Dear Mr. ~ i n g and Ms. ~ e :

This letter responds to the March 8, 2018 letter from the U.S. Fish and Wildlife Service, New Jersey
Field Office (Service) concerning the December 22, 1993 Memorandum of Agreement (MOA) among
the U.S. Environmental Protection Agency (EPA), New Jersey Department of Environmental Protection
(NJDEP), and the Service. This MOA was implemented to protect federally listed species under the New
Jersey state-assumed Section 404 program. In its letter, the Service proposed several updates to the
MOA.

EPA has reviewed these proposed updates and has determined that they are non-substantive and
therefore may be incorporated by letter. For ease of understanding, we have incorporated the proposed
changes into an annotated version of the 1993 MOA (enclosed). Should both the Service and NJDEP
concur, we propose that this annotated version serve as a working copy of the MOA' s updated
procedures.

If you have any questions regarding this matter, please contact me at (212) 637-5000, or have your staff
contact Mr. Richard Balla, Chief of EPA Region 2's Watershed Management Branch, at
balla.richard@epa.gov or (212) 637-3788.



                                                                    s~
                                                                    Peter D. Lopez
                                                                    Regional Administrator

Enclosure

cc: D. Dow, New Jersey Department of Environmental Protection, Trenton, NJ
   V. Kopkash, New Jersey Department of Environmental Protection, Trenton, NJ
                                            Internet Address (URL) • http://www.epa .gov
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I Annotations reflect March 2018 procedure updates. I
                                  Memorandum of Agreement

                                           Among the

                              U.S. Fish and Wildlife Service
                          U.S. Environmental ProtectionAgency
               New Jersey Department of Environmental Protection and Energy

                       Related to the Protection of Federally-Listed Threatened
             or Endangered Species and Designated Critical Habitat
                     Under a New Jersey-Assumed Section 404Program


  WHEREAS:   The U.S. Environmental Protection Agency (EPA) and the U.S. Army Corps of
             Engineers (Corps) are the federal agencies responsible for implementing Section
             404 of the Clean Water Act of 1977, as amended (CWA) (33 U.S.C. 1344), which
             regulates the discharge of dredged or fill material into waters of the United States,
             including the freshwater wetlands in New Jersey;

  WHEREAS:   The U.S. Fish and Wildlife Service (Service) is the primary federal agency
             responsible for ensuring that species and their critical habitat listed or designated,
             respectively, pursuant to the Endangered Species Act of 1973, as amended (ESA)
             (16 U.S.C. 1531 to 1544), under the Service's jurisdiction. are protected as
             mandated by federal law, and such species occur in New Jersey;

  WHEREAS:    According to Section 7 of the ESA, and its implementing regulations (50 CFR
              Part 402), the EPA and other federal agencies are responsible for consulting with
              the Service for any actions they fund, authorize, or carry out that may affect
              species or critical habitat listed or designated, respectively, pursuant to the ESA
              and for utilizing their authorities to further the conservation of federally-listed
              species;                                                  ·

  WHEREAS:    According to Section 404(g) of the CWA, and its implementing regulations (40
              CFR Part 233), a State can apply to assume the regulatory authority for Section
              404 and the EPA can approve such application, provided the State program is as
              stringent as the federal 404 program;

  WHEREAS:    The New Jersey Department of Environmental Protection and Energy
              (NJDEPE), for the State of New Jersey, has submitted an application to the
              EPA to assume the regulatory authority under Section 404 for freshwater
              wetlands and other State waters in New Jersey;

  WHEREAS:    According to the CWA's Section 404(bXl) Guidelines (40 CFR Part
              230.10(b)(3)), Section 404 permits cannot be issued if they would jeopardize the




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                  continued existence of a federally-listed species, or result in the adverse
                  modification of a designated critical habitat, unless an exemption from the ESA is
                  granted by the Endangered Species Committee;

   WHEREAS:       Accordingtotothe
                 According       therules
                                      rules  implementing
                                           implementing     thethe New
                                                                 New      Jersey
                                                                       Jersey    Freshwater
                                                                               Freshwater      Wetlands
                                                                                            Wetlands  Protection Act
                  Protection  Act  (NJFWPA)        (N.J.C.A  7:7A-3.5(aX2      and 3)), state freshwater
                 (NJFWPA) (N.J.A.C 7:7A-1 et. seq. and subsequent amendments). State freshwater            wetlands
                                                                                                                 wetlands
                  permits  cannot  be  issued   if they would   jeopardize    present or  documented    habitat
                 permits cannot be issued if they would destroy, jeopardize, or adversely modify a present       or or
                  the continued
                 documented      existence
                              habitat         of a species,
                                        for listed   local population   of federally
                                                             or jeopardize            listed existence
                                                                              the continued   species, or
                                                                                                        ofresult in
                                                                                                           any local
                  the destruction
                 population        or adverse
                             of a listed  species;modification
                                                     and/or will of
                                                                  notcritical
                                                                      be likely to result in the destruction or adverse
                  habitat·
                 modification  of a habitat which is determined by the Secretary of the United States
                 Department of the Interior or the Secretary of the U.S. Department of Commerce, as
                 appropriate, to be a critical habitat under the Endangered Species Act of 1973, 16 U.S.C.
                 Section 1531 et seq.;
                          '
   WHEREAS:       According to the EPA's 404 State Program Regulations (40 CFR Part 233.51), all
                  applications for Section 404 permits with reasonable potential for affecting
                  federally-listed species must be reviewed by the EPA after assumption is
                  approved;

NOW THEREFORE:                The EPA, the Service, and the NJDEPE agree, as a matter of comity, to
                              implement the following procedures regarding the protection o'f federally-
                              listed species and designated critical habitat under the State of New
                              Jersey's assumed Section 404 permit program for freshwater wetlands. The
                              procedures in this Agreement do not constiMe procedures for consultation
                              pursuant to section 7(a)(2) of the ESA. This Agreement is specific to the
                              circumstances surrounding State assumption of the Section 404 program
                              for the freshwater wetlands and other State waters of New Jersey. These
                              procedures do not create any substantive standards relating to any aspect
                              of the permit program or impose any legal obligations on the public.


 I. PARTIES AND EFFECTIVE DATES

     A This Memorandum of Agreement (MOA) is entered into by: the Regional Director, Region 5,
       for the Service, the Acting Regional Administrator, Region II, for the EPA, and the Acting
       Commissioner of the New Jersey Department of Environmental Protection and Energy.

     B.   This MOA shall be executed by the aforementioned parties in conjunction with the EPA's
          approval of the State's application for assumption of the Section 404 program. As such, this
          MOA shall become effective immediately upon the EPA's approval of the State program.

     C. This MOA shall remain in effect until modified or revoked by agreement of all parties, or upon
        the EPA withdrawing authority from the State and returning the Section 404 program to the
        Corps. Parties to the MOA may propose, in writing, revisions to the terms and procedures of
        the MOA at any time. Such requests should be submitted to all parties concurrently. If any
        party to this Agreement identifies a procedural or substantive breach of the Agreement by any
        otherparty, the Region 5



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         Regional Director for the Fish and Wildlife Service, the Region II Regional Administrator for
         the EPA, or the Commissioner of the NJDEPE mav call a meeting with the other parties within
         30 calendar days to discuss the matter ru1dagree upo-n appropriate corrective measures to be
         implemented within 60 days of the meeting.
         The corrective measures may be in the form of written guidance to field personnel or proposed
         modifications to this Agreement.


II. GENERAL

    A    Federally-listed species means those species identified as threatened or endangered pursuant to
         Section 4 of the ESA, as specified in 50 CFR Parts 17.11-17.12, and subsequent amendments
         thereto. Species proposed for federal listing, through publication of a proposed rulernaking in
         the Federal Register; shall be treated under this Agreement the same as federally-listed
         species, to the maximum extent allowed by law.

    B. Critical habitat means those areas designated as critical habitat for federally-listed species in
         50 CFR Part 17, and subsequent amendments thereto. Habitat proposed as critical, through
         publication of a proposed rulernaking in the Federal Register, shall be treated under this
         Agreement the same as designated critical habitat, to the maximum extent allowed bylaw.

    C. For the purposes of this Agreement, "effects of the action", as it relates to the evaluation
         of effects of a permit action on federally-listed species or designated critical habitat, has
         meaning as defined in 50 CFR Part 402.02.

     D. For purposes of this Agreement, the phrase "reasonable potential for affecting endangered or
        threatened species", as used in 40 CFR Part 233, is synonymous with the phrase "may affect
        listed species or critical habitat", as used in 50 CFR Part 402.

     E. "Remedial measures" specified by the Service under this Agreement must be capable of being
        implemented in a manner consistent with the intended purpose of the permitted activity and
        the scope of the permitting agencys legal authority and jurisdiction. Such measures must also
        be economically and technologically feasible.

III. PROCEDURES

   The following procedures will occur simultaneously with the NJDEPE's permit review process
   as described in N.J.A.C. 7:7A. Where required, the NJDEPE's time frames on permit
   processing are adhered to in order to avoid permit processing delays.

   A. The NJDEP staff will screen all Statewide general permit #1, #2, #4, #5, #6, #7, #10A #10B, #11,
      #13, #15, #16, #17, #17A, #18, #20, #21, #22, #23, and #25 applications in locations with the
      potential for occurrences of federally-listed species or designated critical habitat for the potential to
      adversely affect federally-listed species or designated critical habitat. New Statewide general permits
      added after the signatory date of this Agreement may be added to this screening review by mutual
      consent of the parties. Based on this screening review, NJDEP staff will take the following steps:




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       1. Projects determined to have no potential to adversely affect federally listed species or
          designated critical habitat based upon mutually agreed upon criteria will be signed-off on by
          NJDEP staff and no further federal review will be needed. Copies of each NJDEP review
          application will be forwarded to the Service if requested by the Service. The Service may
          request that the NJDEP provide a copy of any such decision within 15 calendar days of receipt
          of the application determination.

       2. Projects determined to have a potential to adversely affect federally listed species or their
          critical habitat will be forwarded to the Service for further review consistent with the process
          outlined in this Section (Section III).

A.1. The NJDEP will provide the Service with a copy of all applications for individual permits from
     locations with federally listed species and copies of Statewide general permit applications identified
    #20, in municipalities with documented occurrences of federally-listed species or designated critical
     in III.A.2. above.
    habitat.

B. Within 20 calendar days of receipt of an individual permit application, the Service may request the NJDEPE to
   provide additional information to assist its evaluation of NJDEPE the respective permit application. This request
   will describe the need for the additional information. The will obtain the requested information if available
   and, upon delivery to the Service, will provide the Service with a new response date.

C. Within 30 calendar days of receipt of an individual permit application. unless extended pursuant to paragraph
   III.B. above, or 15 calendar days of receipt of a Statewide general permit application, the Service will review
   and comment to the NJDEPE on the proposed permit action. When possible, the Service's review will include
   an inspection of the project area. If the Service cannot participate in a joint inspection with the NJDEPE or
   conduct a solo inspection, it will accept the NJDEPE 's inspection results. The Service's response to the
   NJDEPE (with a copy to the EPA) regarding the proposed permit action's potential effects on federally-listed
   species and designated critical habitat will be in one of the following forms:

       1. the proposed permit action has no potential to affect federally-listed species or designated critical
          habitat;

       2. the proposed permit has the potential to affect federally-listed species or designated critical habitat,
          unless the effects are eliminated through remedial measures (project modifications and/or permit
          conditions) recommended by the Service; or

       3. the proposed pennit action has the potential to affect federally-listed species or designated critical
          habitat.

D. Permit applications that receive a response from the Service as indicated in III.C. I. above will not require
   federal review pursuant to 40 CFR Part 233.51(b)(2).

E. Upon receipt of a response from the Service as indicated in III.C.2. above, the NJDEPE will evaluate the
   recommended remedial measures for consistency with the NJFWPA and its implementing rules and
   regulations.

       1. If the NJDEPE concurs with the remedial measures recommended by the Service, it will impose them as
          terms and conditions for the pennit. The Service and EPA will be informed of the NJDEPE 's action in
          this regard through copies of all correspondence related to the permit action. Permit applications
          addressed in this way will not require federal review pursuant to 40 CFR Part 233.51(b)(2).

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       2. If the NJDEPE does not concur (through either technical review or the appeals process defined
           in NJ .A C. 7:7A-12.7) with the remedial measures recommended by the Service, it will
           provide the Service a written explanation (with a copy to the EPA) of its position. Such permit
           applications will require federal review pursuant to 40 CFR Part 233.51(b)(2).

F. Permit applications that receive a response from the Service as indicated in III.CJ . above will
   require federal review pursuant to 40 CFR Part 233.51(b)(2).

G. When federal review is required pursuant to 40 CFR Part 233.51(b)(2), EPA shall conduct a review of
   the permit application pursuant to 40 C.F.R 233.50. In such cases, the State will provide EPA, along
   with the application, information needed for review of the application under 233.50(b), including: 1) a
   description of the action and the specific area, federally-listed species or designated critical habitat
   that may be affected; 2) a description of the manner in which the action may affect any federally listed
   species or designated critical habitat, and an analysis of any cumulative effects; and 3) relevant reports
   or other information comprising the best scientific or commercial information available or which can
   be obtained, within the available time under 40 CFR 233.50(b) regarding the affect the action may have
   on federally-listed species or designated critical habitat. This information may be developed by the
   State or obtained by the State from the permit applicant. Information already provided to the Service
   by the NJDEPE pursuant to paragraph III.B. above need not be resubmitted. Proposed and final rules
   for listing species and designating critical habitat, approved recovery·plans, status reports, and
   previous biological opinions or findings generated by the Service's New Jersey Field Office, need be
   included by reference only in the information submittal. EPA will send the application and
   accompanying information to the Service pursuant to 40 CFR Part 233.50(b).

H. Based upon its review of the information provided pursuant to paragraphs III.Band
     III.G. above, and other available information, the Service shall make one of the following
     determinations:

        1. that the proposed permit action is not likely to adversely affect federally-listed
           species or critical habitat;

        2. that the proposed permit action is likely to adversely affect federally-listed species or critical
           habitat, unless the effects are addressed through remedial measures (project modifications
           and/or permit conditions) recommended by the Service; or

        3. that the proposed permit action is likely to adversely affect federally-listed species or
           critical habitat.

I.   The
     The Service
          Servicewill
                    willprovide
                          provideitsits
                                     detennination andallallsupporting
                                        response and         supporting documentation
                                                                        documentation totoEPA
                                                                                           EPAwithin
                                                                                               withinthethe
     timeframes   established under   40  CFR Part 233.50(b).  The Service's determination
     timeframes established under 40 CFR Part 233.50(b). The Service’s determination under under paragraph
     III.H. will constitute the federal comment under 40
     paragraph III.H. will constitute the federal comment under 40 CFR Part 233.50(e) with respect to
     the likelihood of adverse effects of the proposed discharge on federally-listed species or




                                                        5


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    designated critical habitat and the conservation measures that are necessary to avoid adversely
    affecting such federally listed species or designated critical habitat. For EPA reviews that
    receive a response from the Service as indicated in III.H.2 above, the federal comments
    conveyed to the State by EPA will require the imposition of permit conditions to avoid adverse
    effects on federally-listed species or designated critical habitat. For EPA reviews that receive a
    response from the Service as indicated in III.H.3 above, the federal comments conveyed to the
    State by EPA will object to permit issuance.




  I                                                                                                                          I
J. If
   If the Service concurs
      the Service  determinesthatthat
                                  thethe  proposed
                                       proposed     activity
                                                  activity is is
                                                              notnotlikely
                                                                      likelytotoadversely
                                                                                 adverselyaffect
                                                                                           affectfederally-listed
                                                                                                   federally-listedspecies
   species
   or       or designated
       designated           critical habitat,
                   critical habitat,          no further
                                      (responds          coordination
                                                 as indicated              with
                                                                 in III.H.1.     the Service
                                                                               above),        is necessary
                                                                                       no further          with with
                                                                                                   coordination
   regard
   the     to endangered
        Service            species
                is necessary   withimpacts.
                                      regard to impacts to federally listed species or designated critical habitat.

K. Where the federal comment objects to issuance of the permit or requires the imposition of
   permit conditions to avoid adverse effects on federally-listed species or designated critical
   habitat, the State is precluded from issuing the permit unless it has taken the steps required by
   the federal comment.

L. The State will evaluate the federal comments regarding effects on federally-listed endangered
   and threatened species or designated critical habitat. If the NJDEPE agrees with the federal
   comments, it will implement them as part of its permit action. If the State disagrees with the
   assessment of such effects, the State will provide a written response within 20 days of receipt of
   the federal comment to EPA explaining its position and providing any supporting information
   or documentation. EPA will provide the State's response to the Service.

M. If the State does not agree to take actions specified by the Service to avoid adverse effects to
   federally-listed species or designated critical habitat, the Service will make a finding as to
   whether the proposed permitting action is likely to jeopardize the continued existence of the
   federally-listed species, adversely modify or destroy designated critical habitat, or result in the
   incidental take of federally-listed species. The Service may also include in its finding
   appropriate terms and conditions to minimize or avoid adverse effects to the-listed species, or
   discretionary recommendations regarding the development of information or other measures
   relating to the conservation of federally-listed species. The Service will provide a draft of the
   finding to EPA when requested.

N. The Service will issue a finding to EPA within 45 days of receipt of the State's response under
   paragraph III.L. In the event that EPA submits comments to the Service on the draft finding
   within 10 days of the deadline for issuing the finding, the Service shall be provided an
   automatic 10 day extension on the deadline. Based on consideration of the Service's finding,
   EPA's decision shall ensure that a State permit is issued only if it is not likely to jeopardize the
   continued existence of federally-listed species or result in the destruction or adverse
   modification of designated critical habitat, and if it avoids or minimizes incidental take of
   federally-listed species. In making this decision, EPA shall give the same weight to the finding
   provided by the Service under paragraph M.as an action agency would in the context of a




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   biological opinion issued by the Service under Section 7 of the ESA EPA shall notify the Service of its final
   decision on the action. EPA will reaffirm, modify or withdraw its objection to the State permit, within the time-
   frames contained in 40 C.F.R Part 233.50.

   O . In the event that the NJDEPE neither satisfies the EPA's objections or requirements for a permit condition (as
   determined under paragraph III .N.) nor denies the permit, the permit application will be transferred to the Corps
   for processing pursuant to 40 CFR Part 233.50(j).




  I                                                                                                                          I
   P. The Service’s responses under Section III.D or Section III.I, or the Service’s finding under Sections
      III.N and O, may be reconsidered if the project, as permitted by NJDEP, changes or if additional
      information on federally-listed species or designated critical habitat becomes available

IV. INTERAGENCY COORDINATION

    A Notwithstanding any other provision of this MOA, the EPA, NJDEPE, and Service may interact
      informally throughout this process. In addition, joint meetings between the EPA, the NJDEPE, the
      Service, and the applicant may be conducted in an attempt to reach agreement on a permit application
      with regard to the protection of federally-listed species or designated critical habitat if requested by
      any affected party.

   B. TheThe
   B.         current
          Service      listprovide
                    will    of municipalities
                                   to NJDEP where     federally-listed
                                               electronic files and/or species   and designated
                                                                         online information      criticalthe
                                                                                               showing     habitat
                                                                                                              rangeareof
         documented
      each              to occur
           federally-listed       is attached
                               species  in NewtoJersey
                                                 this MOA    Thedesignated
                                                        and any   list of municipalities  will be
                                                                              critical habitat. Atupdated
                                                                                                   any time, every   six
                                                                                                                project
         months based
      proponents         on information
                   (applicants             receivedapplicants)
                                 and prospective    by any of the
                                                                cansignatory   agencies, or
                                                                     obtain information   onasthe
                                                                                                new  speciesfor
                                                                                                  potential    or listed
                                                                                                                  critical
         habitat are listed  or designated,   respectively, pursuant   to Section  4 of theESA
      species to occur in their project areas via the Service’s online Information, Planning, and
      Conservation System (IPaC). The Service will periodically update the information that underpins
      IPaC based on information receive by any of the signatory agencies, or as new species or critical
      habitat are listed or designated, respectively, pursuant to Section 4 of the ESA.

   B1. Consistent with the review process outlined in Section III above, the Service and NJDEP may
       develop a mutually agreed to list of standard permit conditions or recommendations that may be
       applied by the NJDEP to permit applications in order to facilitate or comply with federal review
       requirements (e.g., timing restrictions).
    C. The Service will be responsible for notifying the EPA and the NJDEPE of any changes in status of
        federally-listed species and designated critical habitat, including proposals for listing, listings, and
        de-listings.

    D. The State or EPA, as appropriate lead enforcement action agency pursuant to the EPA/NJDEPE MOA,
       will notify the Service at the onset of an enforcement action related to any violation wider the State-
       assumed Section 404 program in municipalities where federally-listed species or designated critical
       habitat are documented to occur. Within 30 days of such notification, the Service will advise the State,
       or EPA as appropriate, of any adverse effects on federally-listed species or designated critical habitat
       resulting from the violation and provide advice on appropriate remedial measures

    E. To the extent practicable and appropriate under applicable Federal regulations, the Service and EPA
       will assist the State in implementation of the State-assumed Section 404 program, including (but not
       limited to) making appropriate personnel available for litigation assistance.




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F. A list of Standard Operating Procedures (SOPs) will be developed by the Service, EPA, and NJDEP.
   The SOPs can be updated at any time by mutual agreement of the Service, EPA, and the NJDEP
   without revision of this underlying Agreement. The SOPs are to ensure consistency and the use of
   current information in the course of implementing the procedures and other provisions set forth in
   this Agreement.
V. GENERAL PROVISIONS

    A The policy and procedures contained in this Agreement do not create any rights, either substantive
      or procedural. enforceable by any party.

    B. The signatory agencies do not waive any administrative claims, positions, or interpretations they may
         have with respect to the applicability or the enforceability of the NJFWPA, the ESA, or the CWA

    C.   Nothing in this MOA shall be construed as obligating the signatory agencies to the expenditure of
         funds in excess of appropriations authorized by law, or otherwise commit the signatory agencies to
         actions for which they lack staMory authority.

    D. All time frames may be adjusted by agreement of the parties.

     E. Nothing in this MOA authorizes any take of federally-listed threatened or endangered spec1 .

VI. SIGNATURES
    U. S.Fish
    U.S.  Fishand
               andWildlife
                   WildlifeService
                             Service


                /
               dut~       Regional Director, Region 5
                  Regional Director Region 5
                                      Date: I "2..-2.2 - 93
                             Date: I "2... - 2 2 - 1.3
           U.S. Environmental Protection Agency
    U.S. Environmental Protection Agency




                                         Date:     I   - J. 2 ' - - f 3

            New Jersey Department of Environmental Protection andEnergy
     New Jersey Department of Environmental Protection and Energy



                               Actil)g Commissioner,
                                     NJDEPEE
                   Actil)g Commissioner, NJDEPE
                        1        I
                                 Date: .fjvJ.~~
                                        Date:
                                                ~ I 'i 'l ;
                                                            8


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The following pages are the original 1993
             MOA among the
      U.S . Fish and Wildlife Service,
 U.S . Environmental Protection Agency,
    and the New Jersey Department of
  Environmental Protection and Energy
  Related to the Protection of Federally-
Listed Threatened or Endangered Species
     and Designated Critical Habitat
under a New Jersey-Assumed Section 404
                  Program




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                                 United States D~partment of the Interior
                                                                       FISH AND 'WlLDLIFE SERVICE
                                                                                 300 Westgate Center Drive
                                                                                  Hadley, MA 01035-9589

   In Reply Refer To:
   FWS/Region 5/ES.

                                                                                                         DEC 2 2 1993

· Mr. William J. Muszynski
  Acting Regional Administrator
  U.S. Environmental Protection Agency
  26 Federal Plaza
  New York. New York-- 10278-0090
        ·. -~;_. ,\ ,~ft;l:.- /{!.:. tt ~-': .. :·.;r-:•'i
                                 1                         ..- ..-· - -
  Dear Mr. Mus~yns~1::
  On1;,May 4. 1993. the Envi ronmenta-l Protecti-on Agency (EPA) requested the
· Fish and Wildlife Service (FWS) concur with the determination that EPA's
  approval of the New Jersey Department of Environ~ental Protection and·
  Energy's (NJDEPE) app.li cation to ·assume the Section 404 permit program
  pursuant to tlieJ-1.~.fill Water Act of 1977 (33 U.S.C. 1344 et seq.) (State
  assumption) is. not.J,ike·ly to adversely affect federally-listed threatened
  and ,e.ndangered:::s_pec_i'es. By FWS' 1etter 0f May 25. 1993·. we were not ·able
  to·corn:;:ur with'~Jfrat finding, based on analysis of NJDEP.E's proposed
  program. FWS·'"SBggested that an MOA outlining an adequate conservation
  program for listed!~species would. if implemented, allow FWS to concur that
 _the :·~tat~,
           .. assufl}p\
                      .. 71o~l'J ?.· ~_ot likely to adversely
                                                     .  .
                                                              affect" these spe·ci es.
  Ir(the "ensuThg·:months··. °EPA." °Fws;: and NJDEPE h~ve worked on that MOA. which
  al-1"::three parties slglied ~n-~December 22, 1993. -In light of that agreement.
  FWS ·:.c:an · now· concurYthat;•New Jersey's assumption of the Section 404 permit
  program is not likely to adverse.l y affect f edera 11 y- listed·· species .
                                                         ...
                                                       .,_



 Authority _ ': ·~'.~:~~7:'.?~·,~:·~ . :<:·:_ . .                    .            ..
 This response ts·;pro\,i'ded;·~.s~~-; nJorrna, l consultation on the subject action
 pursuant to section. l.{a)(2)"<of.tne: Endangered·Species Act of 1973 (ESA) (87
 Stat._ 884 ;· as amenc;led: 16_ ·U. s·: C-::·J:53'.l: et seq:·· Y ·and regul ati ohs (-50 CFR
 §402 .13) to ensure the pr!)tect~,:cin~of federal ly-1 i sted threatened and
 endangered speci ~s. ., . ·. .:.. /··: -·:. ~                                       ~;
 Federa 11 y-1 i             sted••'spea
                                  ~s· . -,. -· . : ·:::. '· :_ .,. ·                   ,
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                                                                                 •                 ~   :.::. ~~•: .       .
 Federal ly-1 i.sted speti es dependent on the waters and wetlands within the
 jurisdictional bpunoartes of the proposed State assumption include: swamp
 pink. (Helonias. b_µ77aJq.),. Kni eske~n ~s beaked-rush, (Rhynchospora     . ·
 knieskernii),·.anti the·0a.1ct·eagle (Haliaeetus leucephalus) .. Another
                ., .,: ...   •   1.-   .~F.,.r .:::~.:~"'f: . ~ .. ·   · ..·,,   ;i:-.~ .                             ·          ·   .

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                                        ----·· ....... ,. " -··
                                                             -·••'




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' '··
    \    Mr. William J. Muszynski                                                  2
         federally-listed species. sensitive joint-vetch (Aeschynomene virginica)
         does not appear within the jurisdictional boundaries covered by the State
         assumption, however. this species-occurs within the tidal freshwater
         wetlands immediately adjacent to the assumption boundaries and could be
         qirectly impacted by activities in St 9te-assumed wetlands and waters
         upstream of its habitat. Three other:federally-listed species. the Indiana
         bat (Myotis sodalis), American chaffseed (Schwaleba americana).and the
         small whorled pogonia (lsotria medeoloides) are not wetland species:
         however. they could be indirectly affetted by projects requiring State-
         assumed Section 404 permits in New Jersey.            ·
         Attached are the lists of municipalities in New Jersey where federally-
         listed species are documented to occur. These lists represent FWS' current
         determination of locations where any category of discharges will have•.
         reasonable potential for affecting endangered and threatened species, as
         provided in 40 CFR Part 233.51(b)(2). and thus are not subject to waiver.
         FWS will revise these lists as species are added to the federal list of
         endangered and threatened species. as species are extirpated from New
         Jersey, or as new information on listed species or potential impacts to
         those species becomes available.                                  ·
        Candidate Species
        Candidate species are species under consideration by the Service for
        possible i·nclusion on the List of Endangered and Threatened Wildlife and
        Plants (50 CFR Parts 17.11 and 17.12). Currently, there are.47 federal
        candidate species (Categories 1 and 2) in N~w Jersey, many of which are
        dependent on freshwater wetlands. FWS is mandated to continually monitor
        the status of these species to determine priorities for listing. If
        listed. these species will receive the full protection provided by ESA.
        Incidental Take
          Coordination under the MOA is designed to eliminate adverse effects to
          listed species and designated critical habitat·. When this. coordination
          process fails to eliminate take considered "incidental take" .under the ISA.
         the State and/or applicant must seek authorization for such incidental take
         of federally-listed animal species under section lO(a)(l)(B)· of the ESA
        · (the habitat conservation planning process). EPA should insure that NJDEPE
         advises permit applicants that their project has not undergone ESA section
         7 review. and therefore. the action is not entitled to protection from•
         prosecuti.on under section 9 of ESA. as no. incidental take statement has
         been issued. Take of federally-listed plants is a violation of Stgte ·1aw.
         and thus a violation of section 9 of ESA.
        Conclusions
        FWS has reviewed-the State's program and EPA's procedures for review of
        permit applications outlined in the attached document entitled "Memorandum
        of Agreement.Among the U.S. •Fish and Wildlife Service. U.S. Environmental
        Protection Agency, New
                            .  Jersey Department
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                                                  of
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                                                     Environmental
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                                                                      Protection and
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    ~-
(        \)    Mr. Willi am J. Muszynski                                                3
               Energy Related to the Protection of Federally-Listed Threatened and
               Endangered ·species and Designated Critical Habitat Under a New Jersey-
               Assumed Section 404 Program." dated December 22. 1993. The procedures
               described in that agreement CMOA procedures) do not constitute procedures
               for consultation pursuant to section 7(a)(2) of the ESA. These MOA
               procedures c1re designed to eTi mi nate adverse effects to federally-listed
               species and critical habitats through alternative coordination.
                Under MOA procedur.es. when adverse effects .,cannot be eliminated through
              . informal coordination between NJDEP~ and FWS. EPA has committed to ensuring
                that a Sti:lte permit will be i'ssued only if it is not likely to jeopardize
                the continued existence of federally-listed species or result in the
              -·destruction or adverse modification of designated critical habitat. and if
                it avoids or mi·nimizes incidental take of federally-listed species. When
                the State cannot agree with EPA's decision. the permit application will be
                transferred to the Corps of ~ngineers for processing under Section 404 of
                the Clean Water Act. Any residual incidental take must be dealt with under
                section lO(a)(l)(B) of the ESA ·if not addressed through section 7
                consultation with the Corps.
               The procedures adopted in:this consultation are ~pecific to the
               circumstances surrounding State assumption of the Section 404 program for
               the freshwater wetlands and other State waters of New Jersey. I would
               advise you for planning purposes. that future consultations on state
               assumptions will be conducted as. programmatic formal consultations.
               requiring preparation 0f all data enumerated at 50 CFR §402.14(c). the ESA
               consultation regulations.                                   .
               If changes in the State program occur or additional information on effects
               to listed or newly listed species or critical habitat becomes available.
               this determination of concurrence may need to be reconsidered, and section
               7 consultation may have to be reinitiat~d.
               Other issues
               This ESA consultation does not address all FWS concerns about the proposed
               State assumption. FWS identified many significant concerns other than·
               endangered species in pur September 2. 1993, technical comments on NJDEPE's
               assumption app,l i cation. We l oak forward to EPA' s -response pursuant to 40
               CFR 233.15(9).                                                   .
                                                      Sincerely,



                                                      Regional Director




                                                    FWS-006157
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                                 Memorandum of Agreement

                                          Among the

                             U.S. Fish and Wildlife Service
                         U.S. Environmental Protection Agency
              New Jersey Department of Environmental Protection and Energy

                       Related to the Protection of Federally-Listed
             Threatened or Endangered Species and Designated Critical Habitat
                    Under a New Jersey-Assumed Section 404 Program


  WHEREAS:   The U.S. Environmental Protection Agency (EPA) and the U.S. Army Corps of
             Engineers (Corps) are the federal agencies responsible for implementing Section
             404 of the Clean Water Act of 1977, as amended (CWA) (33 U.S.C. 1344),
             which regulates the discharge of dredged or fill material into waters of the
             United States, including the freshwater wetlands in New Jersey;

  WHEREAS:   The U.S. Fish and Wildlife Service (Service) is the primary federal agency
             responsible for ensuring that species and their critical habitat listed or
             designated, respectively, pursuant to the Endangered Species Act of 1973, as
             amended (ESA) (16 U.S.C. 1531 to 1544), tmder the Service's jurisdiction. are
             protected as mandated by federal law, and such species occur in New Jersey;

  WHEREAS:    According to Section 7 of the ESA, and its implementing regulations (50 CFR
              Part 402), the EPA and other federal agencies are responsible for consulting
              with the Service for any actions they fund, authorize, or carry out that may
              affect species or critical habitat listed or designated, respectively, pursuant to
              the ESA and for utilizing their authorities to further the conservation of
              federally-listed species;

  WHEREAS:    According to Section 404{g) of the CWA, and its implementing regulations (40
              CFR Part 233), a State can apply to assume the regulatory authority for Section
              404 and the EPA can approve such application, provided the State program is as
              stringent as the federal 404 program;

  WHEREAS:    The New Jersey Department of Environmental Protection and Energy
              (NJDEPE), for the State of New Jersey, has submitted an application to the
              EPA to assume the regulatory authority tmder Section 404 for freshwater
              wetlands and other State waters in New Jersey;

  WHEREAS:    According to the CWA's Section 404{bXl) Guidelines (40 CFR Part
              230. lO(bX3)), Section 404 permits cannot be issued if they would jeopardize the




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                 continued existence of a federally-listed species, or result in the adverse
                 modification of a designated critical habitat, unless an exemption from the ESA
                 is granted by the Endangered Species Committee;

  \VHEREAS:      According to the rules implementing the New Jersey Freshwater Wetlands
                 Protection Act (NJFWPA) (N.J.C.A 7:7A-3.5(aX2 and 3)), state freshwater
                 wetlands permits cannot be issued if they would jeopardize present or
                 documented habitat or the continued existence of a local population of federally-
                 listed species, or result in the destruction or adverse modification of critical
                 habitat·
                         '
  WHEREAS:       According to the EPA's 404 State Program Regulations (40 CFR Part 233.51),
                 all applications for Section 404 pennits with reasonable potential for affecting
                 federally-listed species must be reviewed by the EPA after assumption is
                 approved;

  NOW TI-IEREFORE:        The EPA, the Service, and the NJDEPE agree, as a matter of comity,
                          to implement the following procedures regarding the protection o'f
                          federally-listed species and designated critical habitat under the State of
                          New Jersey's assumed Section 404 pennit program for freshwater
                          wetlands. The procedures in this Agreement do not constitute
                          procedures for consultation pursuant to section 7(aX2) of the ESA
                          This Agreement is specific to the circumstances surrounding State
                          assumption of the Section 404 program for the freshwater wetlands and
                          other State Waters of New Jersey. These procedures do not create any
                          substantive standards relating to any aspect of the permit program or
                          impose any legal obligations on the public.

  I.   PARTIES AND EFFECTIVE DATES

        A This Memorandum of Agreement (MOA) is entered into by: the Regional Director,
          Region 5, for the Service, the Acting Regional Administrator, Region II, for the
          EPA, and the Acting Commissioner of the New Jersey Department of Environmental
          Protection and Energy.

        B. This MOA shall be executed by the aforementioned parties in conjunction with the
            EPA's approval of the State's application for assumption of the Section 404 program.
            As such, this MOA shall become effective immediately upon the EPA's approval of
            the State program.

        C. This MOA shall remain in effect until modified or revoked by agreement of all
           parties, or upon the EPA withdrawing authority from the State and returning the
           Section 404 program to the Corps. Parties to the MOA may propose, in writing,
           revisions to the teml.5 and procedures of the MOA at any time. Such requests should
           be submitted to all parties concurrently. If any party to this Agreement identifies a
           procedural or substantive breach of the Agreement by any other party, the Region 5


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          Regional Director for the Fish and Wildlife Service, the Region II Regional
          Administrator for the EPA, or the Commissioner of the NJDEPE mav call a meeting
          with the other parties within 30 calendar days to discuss the matter ru1d agree upon -
          appropriate corrective measures to be implemented within 60 days of the meeting.
          The corrective measures may be in the form of written guidance to field personnel or
          proposed modifications to this Agreement.


  II. GENERAL

      A Federally-listed species means those species identified as threatened or endangered
        pursuant to Section 4 of the ESA, as specified in 50 CFR Parts 17.11 - 17.12, and
        subsequent amendments thereto. Species proposed for federal listing, through
        publication of a proposed rulernaking in the Federal Re�ster, shall be treated under
        this Agreement the same as federally-listed species, to the maximum extent allowed
        by law.

      B. Critical habitat means those areas designated as critical habitat for federally-listed
         species in 50 CFR Part 17, and subsequent amendments thereto. Habitat proposed
         as critical, through publication of a proposed rulernaking in the Federal Re�ster,
         shall be treated under this Agreement the same as designated critical habitat, to the
         maximum extent allowed by law.

      C. For the purposes of this Agreement, "effects of the action", as it relates to the
         evaluation of effects of a permit action on federally-listed species or designated
         critical habitat, has meaning as defined in 50 CFR Part 402.02.

      D. For purposes of this Agreement, the phrase "reasonable potential for affecting
         endangered or threatened species", as used in 40 CFR Part 233, is synonymous with
         the phrase "may affect listed species or critical habitat", as used in 50 CFR Part 402.

      E. "Remedial measures" specified by the Service under this Agreement must be capable
         of being implemented in a manner consistent with the intended purpose of the
         permitted activity and the scope of the permitting agencys legal authority and
         jurisdiction. Such measures must also be economically and technologically feasible.


  III. PROCEDURES

     The following procedures will occur simultaneously with the NJDEPE's permit review
     process as described in NJ.AC. 7:7A Where required, the NJDEPE's time frames on
     permit processing are adhered to in order to avoid permit processing delays.

      A The NJDEPE will provide the Service with a copy of all applications for individual
        permits and Statewide general permits #2, #4, #6, #7, #10, #11, #13, #15, #18, and



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         #20, in municipalities with documented occurrences of federally-listed species or
         designated critical habitat.

     8. Within 20 calendar days of receipt of an individual permit application, the Service
        may request the NJDEPE to provide additional information to assist its evaluation of
        the respective permit application. This request will describe the need for the
        additional information. The NJDEPE will obtain the requested information if
        available and, upon delivery to the Service, will provide the Service with a new
        response date.

     C. Within 30 calendar days of receipt of an individual permit application. unless
        extended pursuant to paragraph III.B. above, or 15 calendar days of receipt of a
        Statewide general permit application, the Service will review and comment to the
        NJDEPE on the proposed permit action. When possible, the Service's review will
        include an inspection of the project area If the Service cannot participate in a joint
        inspection with the NJDEPE or conduct a solo inspection, it will accept the
        NJDEPE's inspection results. The Service's response to the NJDEPE (with a copy to
        the EPA) regarding the proposed permit action's potential effects on federally-listed
        species and designated critical habitat will be in one of the following forms:

            1. the proposed permit action has no potential to affect federally-listed species or
               designated critical habitat;
                    ..
            2. the proposed permit has the potential to affect federally-listed species or
               designated critical habitat, unless the effects are eliminated through remedial
               measures (project modifications and/or permit conditions) recommended by the
               Service; or

            3. the proposed pennit action has the potential to affect federally-listed species or
                      ..
               designated critical habitat.

     D. Pennit applications that receive a response from the Service as indicated in ill.C. l .
        above will not require federal review pursuant to 40 CFR Part 233.5l(bX2).

     E. Upon receipt of a response from the Service as indicated in ill.C.2. above, the
        NJDEPE will evaluate the recommended remedial measures for consistency with the
        NJFWPA and its implementing rules and regulations.

            1. If the NJDEPE concurs with the remedial measures recommended
                                                                          l •      by the
               Service, it will impose them as terms and conditions for the permit. The
               Service and EPA will be informed of the NJDEPE's action in this regard
               through 'copies of all correspondence related to the permit action. Pennit
               applications addressed in this way will not require federal review pursuant to 40
               CFR Part 233.51(bX2).




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             2. If the NJDEPE does not concur (through either technical review or the appeals
                process defined in NJ.AC. 7:7A-12.7) with the remedial measures
                recommended by the Service, it will provide the Service a 'Written explanation
                (with a copy to the EPA) of its position. Such permit applications will require
                federal review pursuant to 40 CFR Part 233.5l(bX2).
      F. Permit applications that receive a response from the Service as indicated in III.CJ.
         above will require federal review pursuant to 40 CFR Part 233.5l(bX2).

      G. %en federal review is required pursuant to 40 CFR Part 233.5l(bX2), EPA shall
         conduct a review of the permit application pursuant to 40 C.F.R 233.50. In such
         cases, the State will provide EPA, along with the application, information needed for
         review of the application under 233.50(b), including:
                                                           •      1) a description of the action
         and the specific area, federally-listed species or designated critical habitat that may be
         affected; 2) a description of the manner in which the action may affect any federally­
         listed species or designated critical habitat, and an analysis of any cumulativ\! effects;
         and 3) relevant reports or other information comprising the best scientific or
         commercial information available or which can be obtained, within the available time
         under 40 CFR 233.50(b), regarding the affect the action may have on federally-listed
         species or designated critical habitat. This information may be developed by the State
         or obtained by the State from the permit applicant. Information already provided to
         the Service by the NJDEPE pursuant to paragraph III.B. above need not be
         resubmitted. Proposed and final rules for listing species and designating critical
         habitat, approved recovery ·plans, status reports, and previous biological opinions or
         findings generated by the Service's New Jersey Field Office, need be included by
         reference only in the information submittal. EPA will send the application and
         accompanying information to the Service pursuant to 40 CFR Part 233.SO(b).
      H. Based upon its review of the information provided pursuant to paragraphs III.B and
         III.G. above, and other available infonnation, the Service shall make one of the
         following determinations:
              1. that the proposed permit action is not likely to adversely affect federally-listed
                 species or critical habitat;
             2. that the proposed permit action is likely to adversely affect federally-listed
                species or critical habitat, unless the effects are addressed through remedial
                measures (project modifications and/or permit conditions) recommended by the
                Service; or

             3. that the proposed permit action is likely to adversely affect federally-listed
                species or critical habitat.
                                          I


      I.   The Service will provide its detennination and all supporting documentation to EPA
           within the timeframes established under 40 CFR Part 233.50(b). The Service's
           determination under paragraph III.H. will constitute the federal comment under 40

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           CFR Part 233.SO(e) with respect to the likelihood of adverse effects of the proposed
           discharge on federally-listed species or designated critical habitat and the remedial
           mea5\JreS that are necessary to avoid adversely affecting such federally-listed species
           or designated critical habitat. Based upon the Service's determination, the federal
           comments conveyed to the State by EPA �ill object to permit issuance or require the
           imposition of permit conditions to avoid adverse effects on federally-listed species or
           designated critical habitat.
      J.   If the Service determines that the proposed activity is not likely to adversely affect
           federally-listed species or designated critical habitat, no further coordination with the
           Service is necessary with regard to endangered species impacts.

      K Where the federal comment objects to issuance of the permit or requires the
        imposition of pennit conditions to avoid adverse effects on federally-listed species or
        designated critical habitat, the State is precluded from issuing the permit unless it has
        taken the steps required by the federal comment.

      L. The State \\'ill evaluate the federal comments regarding effects on federally-listed
         endangered and threatened species or designated critical habitat. If the NJDEPE
         agrees with the federal comments, it will implement them as part of its permit action.
         If the State disagrees with the assessment of such effects, the State will provide a
         \Vritten response within 20 days of receipt of the federal comment to EPA explaining
         its position and providing any supporting information or documentation. EPA will
         provide the State's response to the Service.
      M If the State does not agree to take actions specified by the Service to avoid adverse
        effects to federally-listed species or designated critical habitat, the Service will make a
        finding as to whether the proposed permitting action is likely to jeopardize the
        continued existence of the federally-listed species, adversely modify or destroy
        designated critical habitat, or result in the incidental take of federally-listed species.
        The Service may also include in its finding appropriate terms and conditions to
        minimize or avoid adverse effects to the listed species, or discretionary
        recommendations regarding the development of information or other measures relating
        to the conservation of federally-listed species. The Service will provide a draft of the
        finding to EPA when requested.
      N. The Service will issue a finding to EPA within 45 days of receipt of the State's
         respome under paragraph lli.L.. In the event that EPA submits comments to the
         Service on the draft finding within 10 days of the deadline for issuing the finding, the
         Service shall be provided an automatic 10 day extension on the deadline. Based on
         consideration of the Service's finding, EPA's decision shall ensure that a State permit
         is issued only if it is not likely to jeopardize the continued
                                                                    •   existence of federally-listed
         species or result in the destruction or adverse modification of designated critical
         habitat, and if it avoids or minimizes incidental take of federally-listed species. ln
         making this decision, EPA shall give the same weight to the finding provided by the
         Service under paragraph III.M as an action agency would in the context of a


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          biological opinion issued by the Service under Section 7 of the ESA EPA shall
          notify the Service of its final decision on the action. EPA will reaffmn, modify or
          withdraw its objection to the State permit, within the time-frames contained in 40
          C.F.R Part 233.50.
     0.   [n the event that the NJDEPE neither satisfies the EPA's objections or requirements
          for a permit condition (as determined under paragraph III.N.) nor denies the permit,
                                                              L


          the permit application will be transferred to the Corps for processing pursuant to 40
          CFR Part 233.SO(j).

                    ..
 IV. INfERAGENCY COORDINATION

     A Notwithstanding any other provision of this MOA, the EPA, NJDEPE, and Service
       may interact informally throughout this process. In addition, joint meetings between
       the EPA, the NJDEPE, the Service, and the applicant
                                                       I         may be conducted in an attempt
       to reach agreement on a permit application with regard to the protection of
       federally-listed species or designated critical habitat if requested by any affected party.

     8. The ClllTent list of municipalities where federally-listed species and designated critical
        habitat are documented to occur is attached to this MOA The list of municipalities
        will be updated every six months based on information received by any of the
        signatory agencies, or as new species or critical habitat are listed or designated,
        respectively, pursuant to Section 4 of the ESA
     C. The Service will be responsible for notifying the EPA and the NJDEPE of any
        changes in status of federally-listed species and designated critical habitat, including
        proposals for listing, listings, and de-listings.
     D. The State or EPA, as appropriate lead enforcement action agency pursuant to the
        EPA/NJDEPE MOA, Will notify the Service at the onset of an enforcement action
        related to any violation under the State-assumed
                                                 >.        Section 404 program in municipalities
        where federally-listed species or designated critical habitat are documented to occur.
                                        .... the Service will advise the State, or EPA as
        Within 30 days of such notification,
                                                                                . -. critical
        appropriate, of any adverse effects on federally-listed species or designated
              ..
        habitat resulting from the violation and provide advice on appropriate remedial
                                         A   k

           ._
        measures.
     E. To the extent practicable and appropriate under applicable Federal regulations, the
        Service and EPA will assist the State in implementation of the State-assumed Section
        404 program, including (but not limited to) making appropriate personnel available for
        litigation assistance.




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  V. GENERAL PROVISIONS

      A The policy and procedures contained in this Agreement do not create any rights,
        either substantive or procedural, enforceable by any party.

      B. The signatory agencies do not waive any administrative claims, positions. or
         interpretations they may have \\1th respect to the applicability or the enforceability
         of the NJFWPA, the ESA, or the CWA

      C. Nothing in this MOA shall be construed as obligating the signatory agencies to the
         expenditure of funds in excess of appropriations authorized by law, or otherwise
         commit the signatory agencies to actions for \\hich they lack statutory authority.

      D. All time frames may be adjusted by agreement of the parties.

       E. Nothing in this MOA authorizes any take of federally-listed threatened or endangered
          spec1�.

  VI. SIGNATIJRES

      U.S. Fish and Wildlife Service



                ~~   Regional Director, Region 5

                                 Date:         I -Z.. - 2. 2 - 9 3
      U.S. Environmental Protection Agency




                                 Date:          I� - J. 2;.-- f 3

      New Jersey Department of Environmental Protection and Energy




                    Actir)g Commissioner, NJDEPE
                         I               . •




                                 Date:,fjJJ.J.~J.i\ ~ I q '1 °)
                         1
                                Date:


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From:           Rauschenberger, Heath
To:             Tawes, Robert
Cc:             Herrington, Jay; Williams, Larry O
Subject:        Fw: State 404 Program Notices of Proposed Rule published
Date:           Wednesday, February 19, 2020 12:01:15 PM
Attachments:    image001.png


FYI - we had a good meeting yesterday with FWC, FDEP, EPA, and FDEP's consultants -GHD. I
was there in-person and Jay was on the phone. They went through the draft BA but I was not
given a copy. The draft BA follows the 316b BE as expected. We provided some suggestions
like "be careful of using words like consultation when you really mean coordination and
technical assistance".

We should receive a draft BA (BA 1.0) around Feb 24. They are good with a 30-day
turnaround. I can compile the comments from our agency. They will reconcile our comments
with EPA's, etc and produce a revised draft BA (BA 2.0) asap afterward. I expect we'd all meet
to go over any major edits.

I've already started writing parts of the BO by adapting generic standard language from the
316b BO where appropriate. I also have JZ's revised BO template he sent out right before he
retired that reflects the October changes to our interagency consultation regs.

FWC (Jen Goff) was there in person. She provided good feedback to DEP and after the meeting
expressed that she felt much more comfortable about how the program would be
implemented and coordinated amongst FDEP, FWC, and FWS.
To further that coordination effort, FWC, FDEP, and FWS will meet separately to compare
notes on how we analyze individual projects and go over our respective list of BMPs aka
minimization measures to see where we already have common ground and how we can
standardize any differences. This will make the entire process more consistent and efficient.
We already have identical definitions of take.

Based on the estimated timeline, we think it may be about a year before FDEP would actually
begin issuing 404 permits, which gives us time to improve FWS-FWC processes that would
provide technical assistance to FDEP.

Please let me know if you have any questions.
Thanks
Heath

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North Florida Ecological Services Office

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“There is no end to the good you can do if you don’t care who gets the credit” Colin Powell



From: Mason, Heather <Heather.Mason@FloridaDEP.gov>
Sent: Wednesday, February 19, 2020 11:21 AM
To: Herrington, Jay <jay_herrington@fws.gov>; Rauschenberger, Heath
<heath_rauschenberger@fws.gov>; Dziergowski, Annie <annie_dziergowski@fws.gov>; Goff,
Jennifer <jennifer.goff@MyFWC.com>; Hight, Jason <Jason.Hight@MyFWC.com>; Williams, Larry O
<larry_williams@fws.gov>
Cc: Duncan, Mary J <Mary.J.Duncan@FloridaDEP.gov>
Subject: [EXTERNAL] State 404 Program Notices of Proposed Rule published

Hi FWC and FWS folks,

Our Notices of Proposed Rule were published today. The information is below. Please let me know if
you have any questions.

The Department has published Notices of Proposed Rule for the State 404 Program. This rule is just
one step in the process for the State to assume authority to administer the dredge and fill permitting
program under Section 404 of the Clean Water Act. Rulemaking will not give the Department
authority to administer the 404 program. The rules will be submitted as part of the assumption
application package to the Environmental Protection Agency (EPA) once finalized.

This rulemaking includes the addition of minor changes in the state’s Environmental Resource
Permitting (ERP) rule, Chapter 62-330, F.A.C., to provide for consistency between programs, and the
creation of a new rule, Chapter 62-331, F.A.C. to implement the State 404 Program and to include
federal regulations that are not currently covered under the ERP program. These rules will become
effective some time after approval of the assumption application package by EPA.

The Notices can be viewed via the following:
      62-330 Notice
      62-331 Notice

The draft forms and handbooks can be viewed on the Division of Water Resource Management's
rule development website.




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